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DISTRICT COURT, PITKIN COUNTY, COLORADO                   DATE FILED: July 20, 2021 11:30 PM
                                                          FILING ID: 9067C2771209A
Pitkin County Courthouse                                  CASE NUMBER: 2021CV30074
530 E. Main St.
Aspen, CO 81611

Plaintiffs:
ANDREW L. QUIAT AND JANE KEENER-QUIAT, as their
interests may appear,

   v.

Defendants:
DIRECT MARKETING GROUP, LLC, a Nevada limited
liability company, d/b/a AUTO RENEWAL CENTER LLC;
VEHICLE PROTECTION SPECIALISTS, LLC, a Nevada
limited liability company, d/b/a/ and a/k/a Vehicle Services
and/or Vehicle Service Center; CARGUARD
ADMINISTRATION, INC., an Arizona corporation; DANIEL
M. LAURENT, individually; TREVOR S. SMITH,
individually; CECI HARRIS, individually; VASHTI
SALAZAR, individually; JOHN DOE CORPOREAL
ENTITIES #1-10; and JOHN DOES #1-10.                           ▲ COURT USE ONLY ▲
Attorney for Plaintiffs:
Andrew L. Quiat, Atty. Reg. #1286                              Case Number:
The Law Offices of Andrew L. Quiat, P.C.
P.O. Box 2900
Aspen, CO 81612
Phone: 303.549.9534                                            Div.:           Ctrm.:
E-Mail: aquiat@quiatlegal.com


                                       COMPLAINT


    COMES NOW, the Plaintiffs Andrew L. Quiat and Jane Keener-Quiat, as their interests
may appear, by and through their attorneys, The Law Offices of Andrew L. Quiat, P.C., and
as their Complaint, allege as follows:

   1.    The Plaintiffs seek injunctive relief, statutory damages, actual damages, treble
damages, pre-judgment interest, pre-judgment and post-judgment attorney’s fees, and
additional statutory relief arising from unlawful prerecorded, autodialed and spoofed
commercial telemarketing calls in violation of the federal Telephone Consumer Protection
Act of 1991 (“TCPA”), as well as two Colorado criminal statutes governing prerecorded
messages and/or marketing telephone calls and/or deceptive trade practices which constitute



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violations of the Colorado Consumer Protection Act (“CCPA”), and the Colorado Organized
Crime Control Act (“COCCA”).

                            I.     JURISDICTION AND VENUE

   2.    Jurisdiction is proper in this Court pursuant to the Colorado Constitution, Art. VI, §
9 and 47 U.S.C. § 227(b)(3).

    3.    Jurisdiction is proper in this Court as to the Defendants pursuant to C.R.S. §§ 13-1-
124(1)(a); 13-1-124(1)(b)(1963), as amended, because the unsolicited prerecorded and/or
autodialed calls sent by the Defendants to the Plaintiffs represents: (1) separate and distinct
transactions of business in interstate and/or intrastate commerce via telephone lines into and
within the state of Colorado; (2) the commission of tortious acts within the state of Colorado
under the TCPA, the CCPA, and COCCA; and (3) the causes of action arise directly from the
consequences and effects of the transmission of each autodialed, prerecorded commercial
telemarketing phone calls into and within the state of Colorado.

    4.   Independent of the commission by the Defendants of one or more tortious acts
within the state of Colorado, jurisdiction is proper in this Court as to the Defendants because
the transmission of the autodialed, prerecorded commercial telemarketing phone call(s) of
the Defendants constitute transaction of business within the state of Colorado.

   5.   Venue is proper in this Court pursuant to C.R.C.P. Rule 98(c)(1) as to the
Defendants because venue is proper in the county designated in the Complaint.

                                        II.    PARTIES

    6.   Plaintiffs Andrew L. Quiat (“ALQ”) and Jane Keener-Quiat (“JKQ”) are
individuals who are citizens of and reside in unincorporated Garfield County, Colorado.

    7.    Defendant Direct Marketing Group LLC (“Direct Marketing”) is a for-profit
Nevada limited liability company, formed on July 23, 2013 by Daniel Laurent (“Laurent”),
with a principal office and mailing address of 6789 Quail Hill Parkway, Suite 605, Irvine,
California, 92603. It is authorized to do business in Colorado and is registered to do business
in various other states across the United States.

    8.    Defendant Auto Renewal Center LLC (“Auto Renewal”) is an alternate name used
by Direct Marketing in Florida and in North Carolina, due to the unavailability of the name
Direct Marketing in those states. It is registered as a foreign entity to transact business in the
states of Florida and North Carolina, with a principal office and mailing address of 6789
Quail Hill Parkway, Suite 605, Irvine, California, 92603. Auto Renewal registered as a
foreign entity in the State of Florida on May 28, 2019 and in the State of North Carolina on
June 3, 2019 by Laurent.

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    9.     Defendant Vehicle Protection Specialists, LLC (“VPS”) is a Nevada limited
liability company with a principal office and mailing address of 6789 Quail Hill Parkway,
Suite 605, Irvine, California, 92603. Vehicle Protection Specialists, LLC is a for-profit,
limited liability company that was formed by Laurent on December 30, 2013 and is
registered to do business in various states across the United States.

   10. Defendant Vehicle Protection Specialists, LLC, is in the business of providing
“extended auto warranties” to consumers. Vehicle Services and/or Vehicle Service Center is
each a potential d/b/a or a/k/a of Vehicle Protection Specialists, based on the fact that there is
no corporate registry for Vehicle Services and because the website for Vehicle Services is
vehicleprotectionspecialist.com.

   11. Defendant CarGuard Administration, Inc. (“CarGuard”), is a for-profit Arizona
corporation, with its principal place of business at 6991 E. Camelback Rd. Suite C309,
Scottsdale, AZ 85251; and its principal office mailing address at 1776 N. Scottsdale Rd. Unit
2827, Scottsdale, AZ 85252. It maintains places of business located at 4901 W. 136th Street,
Leawood, KS 66224 and an additional place of business at 4742 N. 24th Street, Suite 300,
Phoenix, AZ 895016. It is authorized to do business in Colorado.

   12. Defendant CarGuard is in the business of providing “auto warranty services” to
consumers and serves as the administrator of contracts for extended “auto warranty
coverage.”

    13. Defendant Daniel M. Laurent (“Laurent”), individually, is a citizen and resident of
the state of California with, upon information and belief, an address of 9 MacArthur Place,
Unit 2202, Santa Ana, CA 92707. According to corporate registries, Laurent owns and
manages Direct Marketing Group LLC, Vehicle Protection Specialists LLC, and Auto
Renewal Center LLC.

    14. Defendant Trevor S. Smith (“Smith”), individually, is, upon information and belief,
a citizen and resident of Arizona. His current personal address is unknown at this time, but
his business address is listed as 4742 N. 24th Street, Suite 300, Phoenix, AZ 85016. Smith at
times relevant hereto is or was the principal officer and CEO of Defendant CarGuard
Administration Inc.

    15. Defendant Vashti Salazar (“Salazar”), individually, is a citizen and resident of the
state of California with, upon information and belief, an address of 130 Adams Avenue, Apt.
29C, Costa Mesa, CA 92626. She has been, at times relevant hereto, a “selling agent” and/or
a “senior coverage specialist” and/or a “protection specialist” with CarGuard Administration
Inc.

   16. Defendant CeCi Harris (“Harris”), individually, is a citizen and resident of the state
of Kansas with, upon information and belief, a business address of 4901 W. 136th Street,

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Leawood, Kansas 66224 and at times relevant hereto is or was the Chief Operations Officer
and/or Claims Manager of CarGuard Administration, Inc.

    17. John Doe Corporeal Entities #1-10 and John Does #1-10 refer to presently unknown
persons or entities who may be agents of Defendants Direct Marketing Group, LLC;
CarGuard Administration, Inc.; Auto Renewal Center LLC; Vehicle Protection Specialists
LLC; and/or individuals who personally performed, directed, authorized, and/or failed to halt
the unlawful acts described herein, and therefore may also be liable under the TCPA and/or
CCPA and/or Colorado Revised Statutes. John Doe Corporeal Entities #1-10 and John Does
#1-10 may also be one or more as of yet unidentified call centers, or employees or agents
thereof, who effectuated, and otherwise participated in, an autodialed, prerecorded campaign
of robo calls which includes calls discussed herein to the Plaintiffs. Each of the foregoing is,
upon information and belief, a part of the racketeering enterprise hereinafter described.

    18. Defendant John Doe #1 is a live hand-off specialist in a recorded robocall between
Plaintiff JKQ and Auto Renewal Center. This call was initially transferred to a live operator
identifying herself as “Molly Wright” (spelling uncertain). This operator’s job was to make a
preliminary determination of qualification of JKQ for the services offered by the ultimate
beneficiary at the end of the illegal robocall enterprise. The true identity of John Doe #1, and
anyone with whom she is or may be affiliated, is yet to be determined, but the existence is
known by virtue of a recording of the subject phone call, hereinafter referenced as Call #1.

                                      III.   THE TCPA

   19. The TCPA makes it unlawful “to make any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using an
automatic telephone dialing system or an artificial or prerecorded voice…to any telephone
number assigned to a…cellular telephone service….” See 47 U.S.C. § 227 (b)(1)(A)(iii).

    20. According to findings by the Federal Communication Commission (“FCC”), the
agency Congress vested with authority to issue regulations implementing the TCPA, such
calls are prohibited because, as Congress found, automated or prerecorded telephone calls are
a greater nuisance and invasion of privacy than live solicitation calls, and such calls can be
costly and inconvenient.

    21. While “prior express consent” is required for all automated and prerecorded calls,
in 2013, the FCC required “prior express written consent” for all such telemarketing calls to
wireless numbers and residential lines. Specifically, it ordered that:

       [A] consumer’s written consent to receive telemarketing robocalls must be
       signed and be sufficient to show that the consumer: (1) received “clear and
       conspicuous disclosure” of the consequences of providing the requested
       consent, i.e., that the consumer will receive future calls that deliver
       prerecorded messages by or on behalf of a specific seller; and (2) having
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       received this information, agrees unambiguously to receive such calls at a
       telephone number the consumer designates. In addition, the written agreement
       must be obtained “without requiring, directly or indirectly, that the agreement
       must be executed as a condition of purchasing any good or service.”

In the Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991,
27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).

    22. “Telemarketing” is defined as “the initiation of a telephone call or message for the
purpose of encouraging the purchase or rental of, or investment in, property, goods, or
services, which is transmitted to any person.” See 47 C.F.R. § 64.1200(f)(12).

   23. When Congress enacted the TCPA in 1991, it found that telemarketers call more
than 18 million Americans every day. See 105 Stat. 2394 at § 2(3).

   24. By 2003, due to more powerful autodialing technology, telemarketers were calling
104 million Americans every day. See Rules and Regulations Implementing the Telephone
Consumer Protection Act of 1991, 18 F.C.C. Rcd. 14014, ¶¶ 2, 8 (2003).

    25. The numbers dialed by those calling with illegal calls are generally made, upon
information and belief, with the use of one or more autodialers that have the capacity to use a
random or sequential number generator to either store or produce phone numbers to be
called. (See holding of Facebook v. Druig, 592 U.S. ____(2021)). This is in addition to each
of such calls utilizing artificial or prerecorded voice(s) as prohibited by 47 U.S.C. §§
227(b)(1)(A). Upon Information and belief, autodialed calls often give indicia thereof, inter
alia, by pauses and transfers. This is further indicated by multiple calls to and from various
numbers as well as hang-up calls designed to test numbers which, in the industry, are
autodialed, combined with the sheer volume of calls. Allegations of information and belief
throughout this Complaint shall be further developed by discovery.

   26. The problems Congress identified when it enacted the TCPA have only grown
exponentially worse in recent years.

   27. Industry data shows that the number of robocalls made each month increased from
831 million in September 2015 to 4.7 billion in December 2018 – a 466% increase in three
years.

   28. According to online robocall tracking service “YouMail,” 5.2 billion robocalls were
placed in March 2019 alone, at a rate of 168.8 million per day. YouMail estimated that in
2019 robocall totals would exceed 60 billion.

    29. The FCC also has received an increasing number of complaints about unwanted
calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints
in 2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data .
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    30. “Robocalls and telemarketing calls are currently the number one source of
consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),
statement of FCC chairman. a

   31. “The FTC receives more complaints about unwanted calls than all other complaints
combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In the
Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of
1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016). b

   32. Each of the calls at issue in this case is symptomatic of and part of a nationwide
epidemic of “robocalls” which are of continuing concern to the U.S. Congress, as evidenced
by Exhibits 1 to 4 hereto consisting of the following:

          a. Exhibit 1, FTC prepared statement to U.S. Senate Committee;
          b. Exhibit 2, Attorney General Shapiro prepared statement to U.S. Senate
             Committee;
          c. Exhibit 3, Kevin Rupy of USTelecom prepared statement to U.S. Senate
             Committee;
          d. Exhibit 4, Genie Barton of the Better Business Bureau prepared statement to the
             U.S. Senate Committee.
    The Court is requested to judicially notice the foregoing, introduced as part of the record
to a U.S. Senate Special Committee on Ageing hearing held on October 4, 2017, as well as
the hearing itself, found at https://www.aging.senate.gov/hearings/still-ringing-off-the-hook-
an-update-on-efforts-to-combat-robocalls

      IV.      INTRODUCTION TO DANIEL LAURENT AND LAURENT’S
                   EXTENDED CAR WARRANTY ENTITITES

    33.     Plaintiffs incorporate prior paragraphs 1 - 32 herein by reference as though fully set
forth.

    34. Auto Renewal, Vehicle Services and VPS provide consumers with a so-called
extended “car warranty” that provides repair coverage for a vehicle after the manufacturer’s
car warranty has expired.




a
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
b
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
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    35. Both Vehicle Services c and Auto Renewal d have a principal office address of 6789
Quail Hill Parkway, Suite 605, Irvine, CA 92603 listed on their respective websites. Upon
information and belief, this address is a PO Box located inside a store called AIM Mail
Center. e

    36. Upon information and belief, Laurent is directly involved in the illegal
telemarketing for which his companies are responsible and directs his employees to sell
“extended car warranty” plans to consumers who are solicited using prerecorded and/or
autodialed telemarketing calls.

   37. To date, Laurent and his extended car warranty companies, affiliates, and agents
have been in numerous TCPA-related lawsuits which include:




   38. Despite these lawsuits, Laurent continues to either direct his agents to place
prerecorded and/or autodialed solicitation calls to consumers, or Laurent partners with one or
more companies that places the prerecorded and/or autodialed solicitation calls on his behalf.

   39. Auto Renewal and Vehicle Services, or an agency working on behalf of these
companies, place prerecorded and/or autodialed telemarketing calls to consumers.

   40. These calls are being placed regardless of whether Auto Renewal and/or Vehicle
Services have the consent necessary to place prerecorded and/ or autodialed solicitation calls.



c
  https://vehicleprotectionspecialist.com/
d
  https://www.autorenewalcenter.com/
e
  https://www.aimmailcenters.com/location/irvine/88
                                                      7



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    41. To make matters worse, consumers are receiving unsolicited calls despite having
their phone numbers registered on the national “Do Not Call” registry and/or even despite the
requests for the calls to stop. Such persons include the Plaintiffs herein.


                     V.     GENERAL FACTS AND ALLEGATIONS

   42. The events described herein relate to unlawful prerecorded, autodialed, and spoofed
commercial telemarketing calls to Plaintiffs’ cell phones. ALQ has a cell phone number that
he has held for seventeen (17) years (since August 13, 2003). JKQ has a cell phone that she
has held for nine years (since May 1, 2012).

    43. The unlawful prerecorded, and/or autodialed, and spoofed commercial
telemarketing call(s) were received by Plaintiffs ALQ and JKQ within the State of Colorado.

    44. Plaintiffs ALQ and JKQ’s respective cell phone numbers have each always been a
cellular telephone number, and neither has never been ported from a “landline” number.
Publicly available telephone exchange databases clearly identify the area code and prefix of
each as being assigned to a cellular carrier.

   45. Plaintiff ALQ’s cell phone number has been continuously registered on the federal
“Do Not Call” registry since October 9, 2017. Plaintiff ALQ has been on the Colorado state
No-Call List since October 8, 2017.

   46. Plaintiff JKQ’s cell phone number has been continuously registered on the federal
“Do Not Call” registry since August 1, 2015. Plaintiff JKQ has been on the Colorado state
No-Call List since September 30, 2015.

    47. Call #1: On September 4, 2020, Plaintiff JKQ received one, as yet to be fully
identified, prerecorded, autodialed, two-step live transfer, commercial telemarketing cellular
phone call. Plaintiff JKQ was, in stages, live transferred to, upon information and belief,
agents, employees, or members of one of the ultimate vendors, Defendant CarGuard. This
method of marketing is illegal and violates multiple federal and state statutes. Plaintiffs have
an audio recording of the entire proceeding.

    48. The prerecorded message portion of the telemarketing message was in a woman’s
voice, referred to as “Angela”. During the prerecorded message, Plaintiff JKQ also spoke
periodically and sometimes simultaneously. The captured prerecorded robocall (identified as
“RC”) and Plaintiff JKQ’s comments are transcribed as follows:

       Phone ringing and is answered by JKQ.

       JKQ: Hello?

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       RC: Hi! How are you? This is Angela from the warranty department. The
       reason I’m calling is to remind you that we sent you a final warning …

       JQK: (speaking at the same time) This is a prerecorded robocall.

       RC: …in the mail and to let you know that the warranty on your vehicle has
       expired. And this is the final call for you to renew before we close the file. So,
       would you like to hear your options about getting back under coverage?

       JKQ: Yes.

       RC: Ok, great. Well, I just need to ask you a few questions to see if we can
       still get you qualified. Do you have less than 150,000 miles on the car?

       JKQ: Yes.

       RC: Well, that’s excellent to hear because it is always great to have peace of
       mind with a warranty for your vehicle. So, may I transfer you over to a
       specialist so they can go over those options with you?

       JKQ: Ok.

       RC: Thank you. Please hold.

       (Long pause while call was transferred to a live person.)

   49. An agent named Molly Wright then came on the line to qualify Plaintiff JKQ’s
extended car warranty needs.

   50. Once she was qualified, Ms. Wright transferred Plaintiff JKQ to a “Chevrolet
Specialist” later identified as Vashti Salazar.

    51. For the sole purpose of identifying the source of the anonymous and unlawful
call(s), JKQ investigated by choosing to respond to indicate interest in the proffered offer
and was then passed on by live transfers to live voices, as herein otherwise described. JKQ
thereby feigned interest and ultimately made a purchase of the proffered auto warranty on her
credit card in the amount of $3,775.00. Plaintiff JKQ did this in order to obtain a policy that
could be cancelled in order to determine from both the policy and the funds flow via the
credit card, the identity and source of the party(ies) making the illegal calls. At that time, the
selling agent gave her name as Vashi Salazar and a contact phone number of (844) 273-9727.

   52. The number of (844) 273-9727 is the phone number for Auto Renewal Center and is
answered as “Auto Warranty Protection Services”.

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     53. As per Auto Renewal’s website (www.autorenewalcenter.com), their customer
 service phone number is (844) 273-9727.

     54. A copy of the credit card charge of $3,775.00 is attached hereto as Exhibit 5. Upon
 information and belief, the credit card description of “Vehicle Warranty” with Reference
 number 24141660250017039385960 is for Vehicle Protection Specialists LLC, as that is how
 the referenced phone number on the credit card charge, (800) 372-4420, is sometimes
 answered. Other times it is answered “Warranty Services Overflow” or “Warranty Services
 Answering Service.”

     55. The recording, which contains personal identifying information in the form of
 Plaintiff JKQ’s credit card number, is available subject to entry of a protective order herein.

     56. On September 4, 2020, Vashti Salazar sent an email from “Quotes and
 Confirmations noreply@pomdriving.com” to JKQ. A copy is attached as Exhibit 6. Attached
 to the email is a description of JKQ’s 2014 Chevrolet Volt and its mileage of 94,877 and
 VIN ending in 133310, as well as a link stating to “Click Here to View Terms and
 Conditions.” Below that is stated “Auto Renewal Center 6789 Quail Hill Pkwy Suite 605
 Irvine, CA 92618 844.273.9727”. Upon clicking the link, a document opens that is a form of
 the policy, other than the declarations page and Colorado specific provisions, and it is
 attached as Exhibit 7. Also see the hyperlink http://www.pomdriving.com/tc/TCGDPLTX10-
 sp.pdf.

    57. On September 8, 2020, a package was mailed to JKQ. It was duly received. It was
 from “193-DMGL2-CARGURD- -CGLTD – 7, Auto Renewal Center, 6789 Quail Hill
 Parkway, Suite 605, Irvine, CA 92618.”

    58. The package contained the complete Service Contract and an initial letter from
 Vashti Salazar, designated therein as a “Protection Specialist.” The document gave
 “Important Contact Numbers: Claims: (888) 907-0870 and Roadside: (844) 286-4577.”

    59. These numbers, upon information and belief, go to other participants in the robocall
 food chain. A copy of the entire document is attached hereto as Exhibit 8.

     60. On or about September 29, 2020, efforts commenced to cancel the policy in
 accordance with both its terms and as provided by Colorado law. Plaintiff JKQ provided
 Notice of Cancellation (a) by voicemail to the number previously provided by Vashti
 Salazar, and (b) also by email to the address indicated by the CarGuard Website as of
 September 29, 2020. A copy of the email with the Subject of “Notice of Cancellation of
 Contract #CGC24413034” is attached hereto as Exhibit 9. The email address, however,
 blocked receipt of the Notice. A copy of the notice that the recipient address was rejected is
 attached hereto as Exhibit 10. A recording of the phone call requesting cancellation was
 made and is available. The person on the other end of the call ended up by hanging up on
 JKQ rather than providing additional information.
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     61. A transcript of the call is attached hereto as Exhibit 11. The transcript discloses,
 amongst other things, that to reach CarGuard it is necessary to go through Vehicle Protection
 Services, a/k/a Vehicle Service Center. The calls reflect upon the manner in which the
 enterprise is conducted. No response of any kind has ever been received, despite assurances
 that JKQ would be contacted. Cancellation efforts included calls to Vehicle Protection
 Services, CarGuard, Vehicle Service Center, and Vehicle Protection Services.

     62. Not receiving any form of acknowledgement of the cancellation, certified letters,
 return receipt requested, were thereafter sent on or about September 30, 2020 to Car Guard
 Administration, Inc., at both of its address, in Leawood, Kansas and Phoenix, AZ. A copy of
 those mailings is attached hereto respectively as Exhibits 12 and 13.

    63. The signed return receipts for the certified mailings, one undated and the other
 dated October 6, 2020 are attached hereto as Exhibit 14.

    64. Plaintiffs JKQ and ALQ have never consented to receiving solicitation calls from
 any of the Defendants.

    65. Plaintiffs JKQ and ALQ were not looking to solicit the services of any extended
 “car warranty” companies.

     66. The unauthorized telephone calls made by and on behalf of the Defendants, alleged
 herein, have harmed Plaintiff JKQ and ALQ, as their interests may appear, in the form of
 annoyance, nuisance, and invasion of privacy, and disturbed the use and enjoyment of their
 respective phones, in addition to the wear and tear on the phones’ hardware (including the
 phone’s battery) and the consumption of memory on the phone. Plaintiffs have suffered
 actual damage to their respective personal, property, and businesses interests. Plaintiff JKQ
 works in a hospital in the Chaplaincy and provides care and palliative care to patients often
 over matters of life and death and the dying process. She must have her cell phone with her
 and often received robocalls, including from Defendants, when working and at inappropriate
 and inopportune times. Plaintiff ALQ is a trial lawyer with cases in both federal and state
 courts. Much of his work is done via cell phone or Zoom calls, or similar platforms. Such
 work includes court appearances and/or conferences with judges and/or multiple lawyers.
 Incoming robocalls during such times, and during preparation, therefore, are particularly
 disruptive, damaging and break up concentration, analysis, presence to proceedings and
 disrupts the creative process in an irreparable manner. Defendants’ unlawful robocalls
 wrongfully created a nuisance for Plaintiffs JKQ and ALQ by ringing their respective cell phones
 which are intended for legitimate calls from family, friends, employees, business partners, and
 clients.

     67. Over time a number of other robocalls for Auto Warranty have been received by
 Plaintiffs and continue to be received. These calls are detailed in the following paragraphs.
 The violations occurring within these calls are detailed on the violation charts attached
 hereto as Exhibit 15. Many of the calls also have cell phone screenshots showing the times,
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 dates, and phone numbers used by Auto Warranty to make robocalls to Plaintiffs. These
 screenshots are compiled and attached hereto as Exhibit 16.

     68. Call #2: On September 4, 2020, JKQ received an autodialed, prerecorded robocall
 to her cell phone at approximately 10:30 a.m. from caller ID identified as “(949) 538-5912,
 San Juan Capistrano, CA.” Screenshots are attached, Exhibit 16. The call disconnected
 without leaving a voicemail. Upon returning the call the same day, it was answered by a live
 person as “Auto Warranty – Overflow Department.” Upon further investigation, dialing this
 number still leads to a live person who answers the call as “Auto Warranty – Overflow
 Department.”

     69. Call #3: On September 4, 2020, ALQ received a prerecorded robocall at 2:24 p.m.
 from phone number (303) 649-9978 which upon answering stated it was Auto Warranty.
 Upon information and belief, it was autodialed and ALQ hung up upon hearing the recording.
 A screenshot is attached, Exhibit 16. Upon dialing, the number leads to a Verizon number
 that is disconnected; in other words, a spoofed number.

     70. Call #4: On September 8, 2020, ALQ received an autodialed, prerecorded robocall
 from Auto Warranty Services at approximately 11:00 a.m. on his cell phone. The call
 disconnected without leaving a voicemail when ALQ did not answer. ALQ then returned the
 call from the number on his caller ID. This call was recorded, and the transcript is as follows.

        RC: (prerecorded answer) (beginning cut off)…Auto Warranty Services to opt
        out from our calling list, please press one.
        ALQ: This was a dialed call 11:00 to 11:10 a.m., September 8, 2020 to my
        cell phone.
        RC: (prerecorded answer) We have not received a valid response. Please try
        again.
        ALQ: They called and hung-up.

     71. Call #5: On September 25, 2020, at 10:30 a.m., ALQ received an autodialed,
 prerecorded robocall from phone number (303) 353-0879 on his cell phone. The call
 disconnected when ALQ did not answer, and no voicemail was left. ALQ then returned the
 call from the phone number left on his caller ID. A screenshot is attached, Exhibit 16. The
 call was recorded, and the transcript of the call is as follows.

        RC: (prerecorded answer) (beginning cut off)…calling Auto Warranty
        Services. To opt out from our calling list, please press one.
        ALQ: This is a call I had that hung up when I did not answer it. I dialed the
        number; this was the recording. 303-35…(trails off)
        RC: (prerecorded answer) We have not received a valid response. Please try
        again.


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    Upon further investigation, when phone number (303) 353-0879 is dialed it leads to an
 automated message from Verizon stating that the “call cannot be completed as dialed.” It is a
 spoofed number.

     72. Call #6: On September 28, 2020, ALQ received an autodialed, prerecorded robocall
 from “(910) 407-8590, North Carolina” on his cell phone. The call disconnected when he did
 not answer, and no voicemail was left. A screenshot is attached, Exhibit 16. Below is a
 transcript of ALQ’s recorded return call to that number.

        RC: (beginning cut off)…calling auto warranty services. To opt out from our
        calling list, please press 1.
        ALQ: Call back on a hang up call (910) 407-8590 September 28, 2020 at 9:50
        a.m.
        RC: We have not received a valid response, please try again.

     Upon further investigation, when phone number (910) 407-8590 is dialed, it leads to an
 automated voicemail for “Affordable Health Plans”. In other words, it is a spoofed number.

    73. Call #7: On October 12, 2020, ALQ received an autodialed, prerecorded voicemail
 from “Susie” with the “Vehicle Service Department” from phone number (719) 295-5539
 about renewing his auto warranty before they “close the file”. The voicemail (“VM”) was
 recorded and transcribed below.

        ALQ VM: Next message sent Monday, October 12 at 4:14 PM from 719-295-
        5539 Duration: 1 min 26 sec

        RC: (beginning cuts off)…file. If you’re interested in renewing your auto
        warranty now, please press 5 now. Or press 9 to be removed from our list.
        (long pause)

        RC: Hi, this is Susie calling with the vehicle service department. We’re
        calling about your vehicle’s manufacturer’s warranty. We sent you several
        notices in the mail that you have yet to extend your warranty past the factory
        cut off. And this is a courtesy call to renew your warranty before we close the
        file. If you are interested in renewing your auto warranty now, please press 5
        now. Or press 9 to be removed from our list.
        (pause)
        (message repeats)

        RC: Hi, this is Susie calling with the vehicle service department. We’re
        calling about your vehicle’s manufacturer’s warranty. We sent you several
        notices in the mail that you have yet to extend your warranty past the factory
        cut off. And this is a courtesy call to renew your warranty before we close the
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        file. If you are interested in renewing your auto warranty now, please press 5
        now. Or press 9 to be removed from our list.
        Call rejected.
        ALQ VM: End of message.

     Upon further investigation, when dialed the phone number (719) 295-5539 is answered
 by an automated message from Verizon stating, “the call cannot be completed as dialed.” It
 is a spoofed number.

    74. Call #8: On October 22, 2020, ALQ received an autodialed, prerecorded robocall
 from phone number (725) 600-6129 on his cell phone. The call disconnected when he did not
 answer, and no voicemail was left. A screenshot is attached, Exhibit 16. Below is a transcript
 of ALQ’s recorded return call to that number.

        Prerecorded Answer: Thank you for calling Auto Warranty Services. To opt
        out of our calling list, please press one.
        ALQ: Return of a robocall hang up on October 22, 2020 at about 11:10/11:15,
        725-600-6129.
        Prerecorded Answer: We have not received a valid response. Please try
        again.
        (end of call)

    Upon further investigation, when phone number (725) 600-6129 is dialed it leads to an
 automated recording stating that, “The number you have called is not configured correctly
 and cannot receive calls.” It is a spoofed number.

    75. Call #9: On November 16, 2020, ALQ received an autodialed, prerecorded
 voicemail on his cell phone regarding renewing his auto warranty. This voicemail was
 recorded and transcribed below:

        ALQ VM: Next message sent Monday, November 16 at 3:19 p.m. from 970-557-
        2675, duration 14 sec.
        RC: (automated message)(beginning cuts off) …close the file. If you are
        interested in renewing your auto warranty now, please press 5 now. Or press 9 to
        be removed from our list.

     Upon further investigation, when phone number (970) 557-2675 is dialed, it leads to an
 automated message from Verizon stating, “Your call cannot be completed as dialed.” It is a
 spoofed number.

    76. Call #10: On November 25, 2020, ALQ received a prerecorded message to his
 voicemail on his cell phone regarding renewing his auto warranty. This voicemail was recorded
 and transcribed below.
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        ALQ VM: Sent Wednesday November 25th at 2:19 pm from 970-832-0388
        duration 1 minute, 26 seconds. [2 minutes, 5 seconds into voicemails]
        RC: (automated message)(beginning cut off): …file if you are interested in
        renewing your auto warranty now, please press 5 now. Or press 9 to be removed
        from our list.
        (long pause)

        RC: Hi, this is Susie calling with the vehicle service department. We are calling
        about your vehicle’s manufactures warranty. We sent you several notices in the
        mail that you have yet to extend your warranty past the factory cut off. And this is
        a courtesy call to renew your warranty before we close the file. If you are
        interested in renewing your auto warranty now, please press 5 now. Or press 9 to
        be removed from our list.
        (long pause, message repeats itself)

        RC: Hi, this is Susie calling with the vehicle service department. We are calling
        about your vehicle’s manufactures warranty. We sent you several notices in the
        mail that you have yet to extend your warranty past the factory cut off. And this is
        a courtesy call to renew your warranty before we close the file. If you are
        interested in renewing your auto warranty now, please press 5 now. Or press 9 to
        be removed from our list.
        RC: (automated message): Call rejected.
        ALQ VM: End of message.

     Upon further investigation, when phone number (970) 832-0388 is dialed it leads to a realty
 office in Durango, Colorado. It is a spoofed number.

     77. Call #11: On December 8, 2020, ALQ received an autodialed, prerecorded robocall
 from (475) 212-4746 on his cell phone. The call was disconnected when ALQ did not
 answer, and no voicemail was left. A screenshot is attached, Exhibit 16. Below is a
 transcript of ALQ’s recorded return call to that number.

        Auto Warranty VM: Thank you for calling Auto Warranty Services. To opt
        out from our calling list, please press one.
        ALQ: ATDS autodial pre-record hang up 8:55 a.m., December 8, 2020.
        Screenshot taken.
        Auto Warranty VM: We have not received a valid response. Please try again.
        (end of call)




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     Upon further investigation, when phone number (475) 212-4746 is dialed, it comes back
 with a “User Busy” message. After re-dialing, the call goes to a message of “Call Failed.” It
 is a spoofed number.

     78. Call #12: On December 16, 2020, ALQ received an autodialed, prerecorded
 robocall from phone number (520) 463-7091 on his cell phone. The call disconnected when
 ALQ did not answer, and no voicemail was left. A screenshot is attached, Exhibit 16. Below
 is a transcript of ALQ’s recorded return call to that number.

        Auto Warranty VM: …calling Auto Warranty Services. To opt out of our
        calling list, please press one.
        ALQ: Auto warranty hang up robocall just after nine o’clock, uh…December
        16, 2020, Wednesday just after nine…(cut off)
        Auto Warranty VM: We have not received a valid response. Please try again.
        (end of call)

     Upon further investigation, when the phone number (520) 463-7091 is dialed it shows a
 “User Busy” message. Subsequent calls to the phone number show the message, “Call
 Failed.” It is a spoofed number.

    79. Calls #13 and #14: On January 8, 2021, ALQ received two autodialed, prerecorded
 robocalls from phone number (585) 479-3752 on his cell phone. Both calls disconnected
 when he did not answer, and no voicemail was left for either call. Screenshots were taken
 and are attached, Exhibit 16. Below is a transcript of ALQ’s return call to that number.

        RC: (automated answer) Thank you for calling Auto Warranty Services. To
        opt out from our calling list, please press one.
        ALQ: January 8, 2021 returning two robocall hang-ups from Auto Warranty
        from number 585-479-3752
        RC: (automated answer) We have not received a valid response. Please try
        again.
        (end of call)


     80. Call #15: On January 21, 2021, ALQ received a voicemail on his cell phone from
 phone number (719) 364-0844 regarding renewing his auto warranty. The voicemail is
 transcribed as follows.

        ALQ VM: Next message sent Thursday, January 21st at 2:20 p.m. from 719-
        364-0844. Duration 1 minute, 26 seconds.[2 minutes, 26 seconds into
        voicemails]



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        RC: (beginning cut off)…the file. If you are interested in renewing your auto
        warranty now, please press five now. Or press 9 to be removed from our list.
        (long pause)

        RC: Hi, this is Susie calling with the vehicle service department. We are
        calling about your vehicle’s manufacturer’s warranty. We sent you several
        notices in the mail that you have yet to extend your warranty past the factory
        cut off and this is a curtesy call to renew your warranty before we close the
        file. If you’re interested in renewing your auto warranty now, please press five
        now. Or press 9 to be removed from our list.
        (pause)
        (message repeats again)
        (long pause)

        RC: Call rejected.
        ALQ VM: End of message.

      Upon further investigation, when the phone number (719) 364-0844 is dialed it leads to
 an automated message from Verizon stating that, “Your call cannot be completed as dialed.”
 It is a spoofed number.

     81. Call #16: On January 28, 2021, ALQ received a voicemail on his cell phone from
 phone number (303) 605-7518 regarding renewing his auto warranty. The voicemail is
 transcribed as follows.

        ALQ VM: Next message sent Thursday, January 28th at 11:59 a.m. from 303-
        605-7518, duration 13 seconds. [4 minutes, 17 seconds into voicemails]

        RC: (beginning cut off)…close the file. If you’re interested in renewing your
        auto warranty now, please press five now. Or press nine to be removed from
        our list.

        ALQ VM: End of message.

    Upon further investigation, when the phone number (303) 605-7518 is dialed it goes to a
 personal voicemail. It is a spoofed number.

     82. Call #17: On February 17, 2021, ALQ received a voicemail on his cell phone from
 phone number (303) 446-0461 regarding renewing his auto warranty. A screenshot is
 attached, Exhibit 16. The voicemail is transcribed as follows.

        ALQ VM: First saved voice message…sent Wednesday February 17th at 8:56
        a.m. from 303-446-0461, duration 1 minute, 30 seconds.
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        RC: …the warranty before we close the file. If you are interested in renewing
        your auto warranty now, please press five now. Or press 9 to be removed from
        our list.
        (long pause)

        RC: Hi, this is Susie calling with the vehicle service department. We are
        calling about your vehicle’s manufacturer’s warranty. We sent you several
        notices in the mail that you have yet to extend your warranty past the factory
        cut off and this is a curtesy call to renew your warranty before we close the
        file. If you’re interested in renewing your auto warranty now, please press five
        now. Or press 9 to be removed from our list.
        (pause)
        (message repeats)

        RC: Call rejected.
        ALQ VM: End of message.

     Upon further investigation, when the phone number (303) 446-0461 is dialed, it leads to
 an automated message from Verizon stating, “Your call cannot be completed as dialed.” It is
 a spoofed number.


     83. Call #18: On February 25, 2021, ALQ received a voicemail on his cell phone from
 phone number (303) 869-5768 regarding renewing his auto warranty. The voicemail is
 transcribed as follows.

        ALQ VM: Next message. Sent Thursday February 25th at 2:38 p.m. from 303-
        869-5768 duration 13 seconds.[2 minutes, 16 seconds into voicemail]

        RC: (beginning cut off)…the file. If you are interested in renewing your auto
        warranty now, please press five now. Or press 9 to be removed from our list.
        (pause)

      Upon further investigation, the phone number (303) 869-5768 leads to a message that
 says “Call Failed” when dialed. Subsequent calls to this number result in the same message.
 It is a spoofed number.

    84. Call #19: On March 10, 2021, ALQ received an autodialed, prerecorded robocall
 from phone number (914) 529-8139 on his cell phone. The call disconnected when he did not
 answer, and no voicemail was left. A screenshot is attached, Exhibit 16. Below is a transcript
 of ALQ’s recorded return call to that number.

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        ALQ: (recording cut off at beginning): 14-529-8139
        RC: (automated answer): Thank you for calling Auto Warranty Services. To
        opt out, please press one.
        ALQ: Autodialed robocall 914-529-8139 March 10, 2021
        RC: (automated answer): We have not received a valid response, please try
        again.
        ALQ: Autodial pre…(cut off at end).

     85. Call #20: On April 2, 2021, ALQ received a voicemail on his cell phone from
 phone number (303) 769-3056 regarding renewing his auto warranty. This voicemail is
 transcribed below.

        ALQ VM: Next message. Sent Friday April 2nd at 10:33 a.m. from (303) 769-
        3056. Duration 13 seconds. [7 minutes, 21 second into voicemails]

        RC: (beginning cut off)…the file. If you are interested in renewing your auto
        warranty now, please press five now. Or press nine to be removed from our
        list.

    Upon dialing, a Verizon Wireless recording states the number you have called has been
 “changed, discontinued, or no longer in service”. In other words, it is a spoofed number.

    86. Call #21: On April 7, 2021, ALQ received a voicemail on his cell phone from
 phone number (303) 344-3572 regarding renewing his auto warranty. Screenshot is attached,
 Exhibit 16. The voicemail is transcribed below.

        ALQ VM: Next message. Sent Wed April 7th at 1:07 p.m. from 303-344-3572
        Duration 13 seconds. [9 minutes, 56 seconds into voicemails]

        RC: beginning cut off)…the file. If you are interested in renewing your auto
        warranty now, please press five now. Or press nine to be removed from our
        list.

     Upon dialing, a recording states “Your call cannot be completed as dialed. Please check
 the number and dial again.” In other words, this is a spoofed call.

    87. Call #22: On April 12, 2021, ALQ received a voicemail on his cell phone from
 phone number (970) 859-4670 regarding renewing his auto warranty. Screenshot is attached,
 Exhibit 16. The voicemail is transcribed below.

        ALQ VM: Next message. Sent yesterday, Monday, April 12th at 10:27 a.m.
        from 970-859-4670. Duration 13 seconds.[13 minutes, 20 seconds into
        voicemails]
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        RC: (beginning cut off)…the file. If you are interested in renewing your auto
        warranty now, please press five now. Or press nine to be removed from our
        list.

     Upon dialing, a Verizon Wireless recording states, “Your call cannot be completed as
 dialed. Please check the number and dial again.” In other words, this is a spoofed call.

     88. Calls #23 and #24: On April 13, 2020, ALQ received two autodialed, prerecorded
 robocalls on his cell phone from phone number (478) 394-8844. Call #23 was at 1:04 p.m.
 and Call #24 was at 1:45 p.m. Screenshots are attached, Exhibit 16. The calls both
 disconnected when ALQ did not answer, and no voicemail was left either time. Below is a
 transcript of ALQ’s recorded return call to that number.

        a. Call #23:
           RC: (automated answer) Thank you for calling auto warranty services.
           To opt out from our calling list, please press one.
           ALQ: This is a return of an autodialed prerecorded call to (478) 394-
           8844 on 13th of April at just after 5 o’clock.
           RC: (automated answer) We have not received a valid response. Please
           try again.

        b. Call #24:
           RC: (automated answer) Thank you for calling Auto Warranty
           Services. To opt out from our calling list, please press one.
           ALQ: 478-394-8844 returning autodialed prerecorded call April 13,
           2021.
           RC: (automated answer) We have not received a valid response, please
           try again.

    Upon further investigation, the phone number (478) 394-8844 leads to a message of
 “User Busy.” Subsequent calls to this number lead to the same message.

     89. Call #25: On April 15, 2020, ALQ received an autodialed, prerecorded robocall on
 his cell phone from phone number (884) 273-9727. The call disconnected when he did not
 answer, and no voicemail was left. Screenshots were made and are attached, Exhibit 16.
 Below is a transcript of ALQ’s recorded return call to that number.

        ALQ: Calling 884-273-9727
        Auto Warranty Company: (live person) Warranty Protection Services…you
        reached the overflow department.
        ALQ: I’m sorry I couldn’t understand you. Would you please you say that
        again?
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        Auto Warranty Company: Yes, you called Warranty Protection Services, but
        you reached the overflow department.
        ALQ: Oh. (clears throat) oh ok.
        Auto Warranty Company: ….trying to speak to everyone who is currently on
        the line.
        ALQ: Ok. I’ll well I’ll just…
        Auto Warranty Company: Um…Do you mind if I just gather some of your
        information?
        ALQ: I’ll…I’ll just try back later.
        Auto Warranty Company: (intelligible)
        ALQ: I’ll…I’ll try back later, thank you.
        (end of call)

     Upon further investigation, the phone number (884) 273-9727 when dialed leads to an
 automated message from Verizon that states, “Your call cannot be completed as dialed.” It is
 a spoofed number.

     90. Call #26: On April 29, 2021, ALQ received a prerecorded, autodialed voicemail on
 his cell phone from phone number (970) 512-7284 regarding renewing his auto warranty.
 Screenshots are attached as Exhibit 16. Below is a transcript of that voicemail.

        RC: (beginning is cut off)…file. If you are interested in renewing your auto
        warranty now, please press five now. Or press nine to be removed from our
        list.

     When ALQ returned the call to the number that had appeared on his caller ID and it, upon
 information and belief, went to a fax machine. The robocall had used a spoofed number to
 leave their voicemail. Below is a transcript of the recorded return call.

        (fax tone noise throughout recording)
        ALQ: (speaking over fax tone noise) Call to 970-512-7284 returning a
        robocall from auto warranty. April 29, 2021 9:59 a.m. Appears to go to a fax
        tone; a spoofed number. Calling 970…970-512-7284…returning auto warranty
        robocall…returning auto warranty robocall goes…
        (end of recording)

     91. Call #27: On May 28, 2021, ALQ received an autodialed, prerecorded phone call from
 (970) 718-3681 on his cell phone. The call disconnected when he did not answer, and no
 voicemail was left. A screenshot was made and is attached as Exhibit 16. Below is a transcript of
 ALQ’s recorded return call to that number.

        RC: (automated answer) (beginning cut off)…warranty services. To opt out from
        our calling list, please press 1.
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          ALQ: Returning hang up auto warranty robocall from 970-718-3681, Friday May
          28th 2021, 10:10 a.m.
          RC: (automated answer) We have not received a valid response, please try again.

           VI.     CARGUARD’S LIABILITY FOR THE CALLS AT ISSUE

    92.     CarGuard is a vehicle service contract administrator.

     93. CarGuard fulfills the extended “car warranty plans” that companies such as those
 owned by Laurent, including Auto Renewal Center and Auto Services, sell to consumers, as
 per Plaintiffs’ experience.

     94. For twenty-five years the FCC has explained that its “rules generally establish that
 the party on whose behalf a solicitation is made bears the ultimate responsibility for any
 violations.” In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90,
 Memorandum Opinion and Order, 10 FCC Rcd 12391, 12397 (¶ 13) (1995).

    95. On May 9, 2013, the FCC released a declaratory ruling holding that a corporation or
 other entity that contracts out its telephone marketing “may be held vicariously liable under
 federal common law principles of agency for violations of either section 227(b) or section
 227(c) that are committed by third-party telemarketers.”

     96. In that ruling, the FCC instructed those sellers, such as CarGuard, may not avoid
 liability by outsourcing the telemarketing:

          [A]llowing the seller to avoid potential liability by outsourcing its
          telemarketing activities to unsupervised third parties would leave consumers in
          many cases without an effective remedy for telemarketing intrusions. This
          would particularly be so if the telemarketers were judgment proof,
          unidentifiable, or located outside the United States, as is often the case. Even
          where third-party telemarketers are identifiable, solvent, and amenable to
          judgment limiting liability to the telemarketer that physically places the call
          would make enforcement in many cases substantially more expensive and less
          efficient, since consumers (or law enforcement agencies) would be required to
          sue each marketer separately in order to obtain effective relief. As the FTC
          noted, because “[s]ellers may have thousands of ‘independent’ marketers,
          suing one or a few of them is unlikely to make a substantive difference for
          consumer privacy.”

 May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

     97. The May 2013 FCC Ruling held that, even absent evidence of a formal contractual
 relationship between the seller and the telemarketer, a seller is liable for telemarketing calls

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 if the telemarketer “has apparent (if not actual) authority” to make the calls. 28 FCC Rcd at
 6586 (¶ 34).

      98. CarGuard is very much aware of the illegal telemarketing practices that are used by
 its third-party sales vendors to sell extended warranty plans.

     99. CarGuard is paid a fee for the services it provides to third-party sellers, such as
 Daniel Laurent, and/or any of his entities. This means CarGuard profits from the unlawful
 telemarketing its third-party sellers engage in to generate business.

    100. Upon information and belief, Auto Renewal Center was contractually required to
 promote CarGuard products on their telemarketing calls to potentially generate new
 customers, and do so, as they did with the Plaintiffs.

    101. In fact, CarGuard continued its relationship with Auto Renewal Center despite
 previously being sued for their violations of the TCPA.

     102. CarGuard was knowingly and actively accepting the business that originated
 through the illegal telemarketing calls through the issuance of vehicle service contracts.

    103. Moreover, upon information and belief, CarGuard maintained interim control over
 Auto Renewal Center’s actions.

     104. For example, CarGuard had absolute control over whether, and under what
 circumstances, it would accept a customer.

    105. Furthermore, CarGuard, upon information and belief, had day-to-day control over
 Auto Renewal Center’s actions, including the ability to prohibit it from using prerecorded
 and autodialed methodologies to contact potential customers of CarGuard.

     106. CarGuard failed to make or issue such instructions to Auto Renewal Center and as a
 result, is liable for Auto Renewal Center’s conduct.

    107. Upon information and belief, CarGuard also gave interim instructions to Auto
 Renewal Center by providing the volume of calling and leads it would purchase.

    108. Upon information and belief, CarGuard gave further interim instructions to Auto
 Renewal Center by providing the states that those companies were allowed to make calls into
 and restricting other states that they could not.

     109. CarGuard has, by its actions and inactions, ratified the illegal acts of Laurent and
 all other Defendants. Laurent, by his actions, has ratified the illegal acts of all other
 Defendants.


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     110. Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence
 of these kinds of relationships…through discovery, if they are not independently privy to
 such information.” Id. at 6592-6593 (¶ 46). Evidence of circumstances pointing to apparent
 authority on behalf of the telemarketer “should be sufficient to place upon the seller the
 burden of demonstrating that a reasonable consumer would not sensibly assume that the
 telemarketer was acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).

                                 VII.    CLAIMS FOR RELIEF

                                       COUNT I
 Violations Of The Telephone Consumer Protection Act ("TCPA"), Restrictions On Use
               Of Automated Telephone Equipment, 47 U.S.C. § 227(b)(3)
         Initiating Automatically Dialed Or Prerecorded Calls To A Cell Phone

    111. The allegations of paragraphs 1 through 110 are incorporated herein by reference.

     112. Defendants’ robocalls described herein were (1) initiated with an automatic dialer
 to Plaintiffs’ cellular telephone service and/or (2) delivered a prerecorded message without
 Plaintiffs’ prior written express consents, and therefore constitutes two (2) violations of CFR
 § 64.1200(a)(1)(iii) as promulgated under 47 U.S.C.§ 227(b) for each of the 27 calls to date,
 herein described.

     113. Plaintiffs are entitled as a matter of law to obtain a statutory injunction pursuant to
 47 U.S.C. § 227(b)(3)(A) prohibiting Defendant(s), their officers, successors, and assigns, and
 all persons or entities in active concert or participation with the Defendants, from engaging in the
 unlawful transmission of autodialed, prerecorded telemarketing cellular phone calls, and from
 committing further violations of 47 CFR § 64.1200(a)(1 )(iii).

    114. Plaintiffs are entitled to the recovery of the greater of actual damages or
 $500.00 for each of the two (2) violations for each of the 27 calls herein described to date
 and as described in ¶112 as prescribed under 47 U.S.C.§ 227(b)(3).

    115. The robocalls to Plaintiffs’ cell phone numbers, and the acts and omissions as to
 those calls described herein were deliberate, intentional, and conscious acts or omissions.

    116. The robocalls to Plaintiffs’ cell phone numbers were willful or knowing as those
 terms are defined in the Communications Act of 1934 and administered by the FCC.
 Therefore, it is within the Court's discretion to award Plaintiffs JKQ and ALQ up to three
 times the available statutory damages as prescribed under 47 U.S.C. § 227(b)(3).




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                                      COUNT II
  Violations Of The Telephone Consumer Protection Act ("TCPA"), Restrictions on Use
                     of Telephone Equipment, 47 U.S.C. § 227(e)(1):
                  Lacking Or Failure To Transmit Accurate Caller ID

    117. The allegations of paragraphs 1 through 116 are incorporated herein by reference.

     118. Many of Defendant(s)' robocalls described herein were initiated with a spoofed
 caller ID, and therefore constitutes for each such call one or more violations of 47 CFR
 64.1601(e) as promulgated under 47 U.S.C. §227(c), and as reflected on Exhibit 15. 47 CFR
 64.1601(e) requires a telemarketer to transmit caller identification information that must
 include (a) a calling party number and (b) the name of the telemarketer or (c) the name of the
 seller on behalf of which the telemarketing call is placed and (d) the seller’s customer service
 telephone number; (e) the telephone number so provided must permit any individual to make
 a do-not-call request during regular business hours; and finally, and as a separate violation,
 (f) any person or entity that engages in telemarketing is prohibited from blocking the
 transmission of caller identification information. Misleading caller identification numbers,
 such as arise by using a prepaid phone and allowing its active service to terminate and the
 number being capable of being reassigned, but the telemarketer continuing to use the number
 in caller identification, is also actionable according to the FCC. See Forfeiture Order, FRN
 0027881093, File No.: EB-TCD-17-00024974, FCC 20-149, October 28, 2020.

     119. A "spoofed caller ID" is a false or inaccurate number from which the call in fact
 was not made, or which otherwise fails to comply with these requirements. Spoofing
 technology is commonplace and often used by those engaging in the course of conduct
 described herein.

     120. The spoofed caller ID number showed various caller IDs. Attached as Exhibit 15 is
 a violation chart detailing the nature and number of spoofed calls and the number of
 associated violations as described in the within the Complaint.

     121. Plaintiffs ALQ and JKQ are entitled, as a matter of law, to obtain a statutory
 injunction pursuant to 47 U.S.C. § 227(b)(3)(A) prohibiting Defendants, their officers,
 successors, and assigns, and all persons or entities in active concert or participation with the
 Defendants, from engaging in the unlawful transmission of autodialed, prerecorded
 telemarketing cellular phone calls, and from committing further violations of 47 CFR §
 64.1601(e) and the recovery of the greater of actual damages or $500.00 for each of the
 violations for each of the 27 spoofed calls described herein to date proscribed by 47 U.S.C. §
 227(c)(5).

    122. The robocalls with spoofed Caller ID, and the acts or omissions as to those calls
 described herein, were deliberate, intentional, and conscious acts or omissions.

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     123. The robocalls with spoofed Caller ID were willful or knowing as those terms are
 defined in the Communications Act of 1934 and administered by the FCC.

     124. Therefore, it is within the Court's discretion to award Plaintiffs JKQ and ALQ up to
 three times the available statutory damages as prescribed under 47 U.S.C. §227(c)(3).

                                        COUNT III
      Violations of the Telephone Consumer Protection Act (“TCPA”), Protection of
                        Subscriber Privacy Rights, 47 U.S.C. § 227(c):
    Initiating a Call for Telemarketing Purposes to a Telephone Number Listed on the
                               National Do-Not-Call Registry

    125. The allegations of paragraphs 1 through 124 are incorporated herein by reference.

     126. Defendants’ initiation of each of the telemarketing calls to Plaintiffs JKQ and ALQ
 respective cell phone numbers listed on the national do-not-call registry since August 1, 2015
 and October 9, 2017, respectively, constitute one (1) violation of 47 CFR § 64.1200(c)(2) as
 promulgated under 47 U.S.C. § 227(c), for each call initiated.

     127. Plaintiffs JKQ and ALQ are each entitled as a matter of law to obtain a statutory
 injunction pursuant to 47 U.S.C. § 227(b)(3)(A) prohibiting Defendants, their officers,
 successors, and assigns, and all persons or entities in active concert or participation with the
 Defendants, from engaging in the unlawful transmission of autodialed, prerecorded
 telemarketing cellular phone calls, and from committing further violations of 47 CFR §
 64.1200(c)(2), and the recovery of the greater of actual damages or $500.00 for each of the
 violations of calls to numbers listed on the national Do-Not-Call Registry as proscribed
 under 47 U.S.C. § 227(c)(5).

     128. Defendants’ failure to comply with 47 CFR § 64.1200(c)(2), were willful or
 knowing as those terms are defined in the Communications Act of 1934 and administered by
 the FCC. Therefore, it is within the Court’s discretion to award Plaintiffs JKQ and ALQ up
 to three times the available statutory damages as prescribed under U.S.C. §227(c)(5)(C).

                                       COUNT IV
      Violations of the Telephone Consumer Protection Act (“TCPA”), Protection of
                       Subscriber Privacy Rights, 47 U.S.C § 227(c):
    Initiating a Call For Telemarketing Purposes Without an Effective Written Policy
                               Meeting Minimum Standards

    129. The allegations of paragraphs 1 through 128 are incorporated herein by reference.




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     130. No verbal identification of any kind, specifically a company name and an address or
 telephone number, was provided during the course of the robocall and is a violation for each
 call.

     131. Further, upon information and belief, personnel engaged in telemarketing have not
 been informed or trained in the existence and use of the do-not-call list. This is a separate
 violation for each call.

   132. The robocalls were initiated for telemarketing purposes as that term is defined at 47
 CFR § 64.1200(f)(12).

     133. The violations include (a) lack of proper identification disclosures including
 company name and a mailing address or telephone number which are among the minimum
 standards enumerated under 47 CFR § 64.1200(d); (b) each robocall was initiated without
 Defendants, upon information and belief, having first implemented an effective written
 policy meeting the required minimum standards; (c) and without the required training of
 personnel in the existence and use of the do-not-call list. This constitutes two (2) violations
 of 47 CFR § 64.1200(d) as promulgated under 47 U.S.C. § 227(c) for each call initiated.

     134. Plaintiffs ALQ and JKQ are entitled as a matter of law to obtain a statutory
 injunction pursuant to 47 U.S.C. § 227(b)(3)(A) prohibiting Defendants, their officers,
 successors, and assigns, and all persons or entities in active concert or participation with the
 Defendants, from engaging in the unlawful transmission of autodialed, prerecorded
 telemarketing cellular phone calls, and from committing further violations of 47 CFR §
 64.1200(d), and the recovery of the greater of actual damages or $500.00 for each of the two
 (2) violations for each call initiated enumerated in paragraph 133 as proscribed under 47
 U.S.C. §227(c)(5).

     135. Defendants’ multiple failures to comply with 47 CFR § 64.1200(d), were willful or
 knowing as those terms are defined in the Communications Act of 1934 and administered by
 the FCC. Therefore, it is within the Court’s discretion to award Plaintiffs JKQ and ALQ up
 to three times the available statutory damages as prescribed under §227(c)(5)(C).

                                          COUNT V
     Violations Of The Telephone Consumer Protection Act ("TCPA"), Protection Of
                 Subscriber Privacy Rights, 47 U.S.C. § 227 (c)(1) and (2):
  Initiating An Artificial Or Prerecorded Voice Telephone Message Without (1) Proper
   Identification Of Caller Identity, (2) Phone Number Of Initiator Of The Call, Or (3)
                           Providing Proper Opt-Out Mechanism

    136. The allegations of paragraphs 1 through 135 are incorporated herein by reference.


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     137. No verbal identification of any kind was made, specifically stating clearly at the
 beginning of each message the identity of the business, individual, or other entity that is
 responsible for initiating the respective calls, in violation of 47. C.F.R. § 64.1200 (b)(1).

     138. During or after each call, no statement was made clearly identifying the telephone
 number (other than that of the alleged autodialer or prerecorded message player that placed
 the call) of the business, other entity, or individual responsible for initiating each respective
 call, in violation of 47 C.F.R. § 64.1200(b)(2).

     139. Each of the autodialed or prerecorded voice telephone messages constitute
 telemarketing and failed to provide an automated, interactive voice and/or key press-
 activated opt-out mechanism for Plaintiffs ALQ and JKQ to make a do-not-call request,
 including required instructions within two (2) seconds of providing the identification
 information required in paragraph (b)(2), in violation of 47 C.F.R. 64.1200 (b)(3).

     140. Plaintiffs ALQ and JKQ are entitled as a matter of law to obtain a statutory
 injunction pursuant to 47 U.S.C. § 227(b)(3)(A) prohibiting Defendants, their officers,
 successors, and assigns, and all persons or entities in active concert or participation with the
 Defendants, from engaging in the unlawful transmission of autodialed, prerecorded
 telemarketing cellular phone calls, and from committing further violations of 47 CFR §
 64.1200(b ), and the recovery of the greater of actual damages or $500.00 for the three (3)
 violations with respect to each of the autodialed or prerecorded calls to date, as enumerated
 in the three (3) paragraphs above, and as proscribed under 47 U.S.C. §227(b)(3).

     141. Defendants' failures to comply with 47 CFR § 64.1200(b), were willful or knowing
 as those terms are defined in the Communications Act of 1934 and administered by the FCC.
 Therefore, it is within the Court's discretion to award Plaintiffs ALQ and JKQ up to three
 times the available statutory damages as prescribed under §227b)(3)(A).

                                     COUNT VI
    Violations Of The Colorado Consumer Protection Act ("CCPA"), Prevention Of
   Telemarketing Fraud, C.R.S. § 6-1-304, C.R.S § 6-1-303, C.R.S § 6-1-302 Unlawful
                Telemarketing Practices, and C.R.S. §6-1-305 Penalties

    142. The allegations of paragraphs 1 through 141 are incorporated herein by reference.

     143. Defendants are in multiple violations of C.R.S § 6-1-304 as the Defendants engaged
 in an unlawful telemarketing practice when they (a) failed to register with the Colorado
 attorney general (C.R.S. § 6-1-303) as a commercial telephone seller; and/or (b) engaged in
 other deceptive trade practiced(s) defined in C.R.S. § 6-1-105 or part 7 of Article 1 of Title
 6, i.e., the Colorado Consumer Protection Act.


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     144. Accordingly, under Count VI, the Defendants are liable for a total of at least two
 (2) violations for each respective call, a total of 27 calls, under the CCPA private right of
 action for the foregoing pursuant to C.R.S. § 6-1-113 in the amount of $500 for each
 violation.

     145. Pursuant to C.R.S. § 6-1-305(1)(c), Plaintiffs are, in addition to the above damages
 under C.R.S. 6-1-113, liable for consequential damages, court costs attorney fees, and a
 penalty in the amount of at least three hundred dollars and not more than five hundred dollars
 for the first offense, and at least five hundred dollars and not more than one thousand dollars
 a for a second or subsequent offense. At least two offenses are detailed above with respect to
 each of the illegal telemarketing calls. The variable dollar amount of the penalty is reflected
 in the Violation Chart for Count VI attached hereto as Exhibit 15.

     146. In addition, Defendants are liable for treble damages for bad faith conduct pursuant
 to C.R.S. § 6-1-113 (2)(a)(III).

    147. In addition, Defendants are liable for Plaintiff's attorney’s fees pursuant to C.R.S. §
 6-1-113(2)(b). The Defendants are additionally liable for attorney’s fees under C.R.S.§ 6-1-
 305(1)(c).

                                      COUNT VII
             Violations Of The Colorado Consumer Protection Act ("CCPA")
                        Deceptive Trade Practices, C.R.S § 6-1-105

    148. The allegations of paragraphs 1 through 143 are incorporated herein by reference.

     149. By using spoofed phone numbers with misleading caller identification names and/or
 numbers tied to various persons, which were not the actual callers, and used to intentionally
 deceive the Plaintiffs, and conceal the true callers' identity, Defendants engaged repeatedly,
 with each call, in deceptive trade practices when Defendants (1) knowingly passed off goods,
 services, or property as those of another; and (2) knowingly made a false representation as to
 the source, sponsorship, approval or certification of goods, services, or property; and (3)
 knowingly made a false representation as to its affiliation, connection, or association with or
 certification by another; and 4) used deceptive representations or designations of geographic
 origin in connection with goods or services in multiple violations of C.R.S §6-1-105(1)(d).

     150. Further, by engaging in commercial telephone solicitations, each of which
 constitutes an unlawful telemarketing practice, as defined in C.R.S. §6-1-304, the Defendants
 have separately and independently repeatedly engaged in a deceptive trade practice pursuant
 to C.R.S. §6-1-105 (1)(cc).

     151. Accordingly, under Count V, the Defendants are liable for a total of five (5)
 violations for each such robocall call, a total of 27, under the CCPA pursuant to the CCPA
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 private right of action for the foregoing pursuant to C.R.S. §6-1-113 in the amount of $500
 for each violation.

     152. In addition, Defendants are liable for treble damages for bad faith conduct pursuant
 to C.R.S. §6-1-113 (2)(a)(III).

    153. In addition, Defendants are liable for Plaintiffs’ attorney’s fees pursuant to C.R.S.
 §6-1-113(2)(b).

                                        COUNT VIII
                                    Conspiracy to Defraud

    154. Paragraphs 1 through 153 are incorporated herein by reference as if fully set forth.

     155. Defendants, members of an enterprise, acted in agreement to accomplish their
 ongoing course of conduct resulting in (a) an artifice or scheme to defraud by keeping people
 in continuing receipt of illegal autodialed or prerecorded robocalls resulting in repetitious
 illegal presentations of enticements to purchase and the ensuing cash flows derived
 therefrom; (b) concealments and omissions to disclose required source information, contact
 information, and opt-out information, resulting in the robocalls continuing to be received and
 enabling the sales program of so-called “auto warranties” to continue; and (c) hindering,
 delaying, or defrauding multiple creditors.

     156. In furtherance of their course of action, defendants engaged in one or more
 unlawful acts performed to accomplish their goal(s) or performed one or more lawful acts to
 accomplish an unlawful goal or goals as referenced in the paragraph above and throughout
 the Complaint.

     157. Plaintiff has been damaged as a proximate result of such conduct, causing
 Plaintiffs’ actual damages including Plaintiffs’ attorney’s fees as part of actual damages as
 provided by Colorado case law.


                                      COUNT IX
    Violations of the Colorado Organized Crime Control Act (COCCA), Wire Fraud,
                                C.R.S. § 18-17-103(5)(A)

    158. The allegations of paragraphs 1 through 157 are incorporated herein by reference.

    159. Based upon the recordings of the calls, and the multiple live transfers during the
 phone call resulting in the actual purchase of an auto warranty contract, and the continuing
 and ongoing course of conduct set forth herein, the Defendants are engaged in a racketeering

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 enterprise and a conspiracy to engage in a racketeering enterprise. As such, each is liable for
 the conduct of the other.

     160. Actionable Violations of the Colorado Organized Crime Control Act include, but
 are not limited to:

        a. Certain violations of the federal Racketeering Influenced and Corrupt
           Organizations Act as provided at C.R.S. § 18-17-103(5)(a). Each and every of the
           named Defendants to this action, individually and/or collectively, have committed
           three or more acts of (1) wire and/or (2) mail fraud pursuant to 18 U.S.C. § 1341
           and § 1343 which constitutes a pattern of racketeering activity, each of which
           occurred within ten (10) years of one another, and the first of which occurred after
           the effective date of the Colorado Organized Crime Control Act and was used to
           generate revenues, cash flow, or profits for the enterprise hereinabove described
           for each of the Defendants to the Plaintiffs’ detriment, and/or;

        b. The Defendants have, through a pattern of racketeering activity, knowingly
           acquired or maintained, directly or indirectly, interests in and control of the
           enterprise herein described, in violation of C.R.S. § 18-17-104(2), and/or;

        c. The Defendants have knowingly received proceeds derived, directly or indirectly,
           from a pattern of racketeering activity and used or invested, directly or indirectly,
           some part of such proceeds or the proceeds derived from the investment or use
           thereof in the acquisition of title to, or some right, interest, or equity in, real
           property or in the establishment or operation of an enterprise, in violation of
           C.R.S. § 18-17-104(1)(a), and/or;

        d. The Defendants have knowingly conducted or participated, directly or indirectly,
           in such enterprise through a pattern of racketeering activity, in violation of C.R.S.
           §18-17-104(1)(a).

     161. The referenced acts of wire and/or mail fraud constituting a pattern of racketeering
 activity include without limitation having devised or intending to devise any scheme or
 artifice to defraud, or for obtaining money or property by means of false or fraudulent
 pretenses, representations, or promises, transmitting or causing to be transmitted by means of
 wire, radio, or television communication in interstate or foreign commerce, any writings,
 signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice.

     162. This is evidenced by the fraudulent representations, misrepresentations, and
 conduct described in paragraphs 1- 157 above and the remaining paragraphs below, including
 but not limited to illegal, autodialed, prerecorded commercial telemarketing calls to cellular
 phones, as well as perpetuation of the enterprise through the use of these illegal, autodialed,
 prerecorded commercial telemarketing calls to cellular phones, coupled with multi-step live
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 hand off services, each designed and intended to aid in concealment and the creation of
 plausible deniability with respect to both the scheme, the enterprise, and the entire illegal
 marketing structure. Fraudulent statements and/or fraudulent conduct in perpetuation and
 pursuit of the enterprise were undertaken by and through the use of the telephones, internet,
 email, and involve wire fraud and/or mail fraud as defined by statute.

     163. As part of the enterprise, consumers have been approached, solicited,
 communicated with by the enterprise or its members, in violation of statute. In addition,
 innocent consumers have, upon information and belief, been harassed, contacted, and
 inconvenienced by the spoof call practices pursued by Defendants, and as previously found
 to be objectionable violative practices by the FCC. These innocent consumers each have one
 or more potential choses in action or claims against Defendants, making each a present or
 future creditor of Defendants under state law. All of this was and is part of the criminal
 enterprise and course of racketeering conduct. Use of robocalls, cell phones, and attendant
 emails or online processing of credit card payments in this fashion constitutes multiple forms
 of wire fraud. The interstate wire network is used to make robocalls and to process online
 financial transactions in furtherance of the scheme. Robocalls, the internet, and e-mails have
 been used as a matter of course to further the scheme of the enterprise.

     164. The above referenced acts and other related acts constituted a continuous pattern of
 fraud, concealment, and misrepresentation with the purpose of procuring cash flow,
 revenues, or advances or profits for each of the Defendants and the enterprise and were
 related to each other, as each was for the purposes of, inter alia, (a) hindering, delaying or
 defrauding present or future creditors of theirs to whom they were creating liability by their
 actions; and/or (b) improperly obtaining or retaining and using for themselves monies or
 services for the enterprise controlled by the Defendants for the benefit of the Defendants and
 at the expense of creditors including the Plaintiffs. Each act had a similar purpose, involved
 the same or similar participants, and had similar results in affecting Plaintiffs and others.
 Each and every Defendant was able to engage in this pattern by virtue of their position in or
 control of the enterprise. Each and every of the Defendants controlled, conducted and/or
 participated in the management and/or affairs of the enterprise.

    165. The enterprise consists of an association of individuals and corporate and/or other
 defendants including without limitation all Defendants named in this action, and all
 defendants whose names are not currently known. The purpose of the enterprise was to
 promote and derive revenues, cash flow, or profits from illegally making autodialed and
 prerecorded calls to vulnerable persons perceived to need “protection” and “peace of mind”
 with respect to future automobile repairs.

    166. There is nothing wrong with providing in proper form, and pursuant to statute and
 regulation, services involving contracts to pay for automobile repairs, as such. What is
 objectionable is the illegal robocalling.

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     167. There is a clear threat of future use of the mails and wires of the interstate
 telecommunication system, constituting criminal conduct as defined in the Colorado
 Organized Crime Control Act as referenced to and by 18 U.S.C. §1341 in an illegal manner,
 which is related to the Defendants' criminal conduct. Future use of the mail or wires of the
 interstate telecommunication system in a prohibited manner as defined by statute will occur
 to support and maintain the Defendants' repeated and/or ongoing schemes. This will occur
 simply on the basis of Defendants' continued making of autodialed and prerecorded calls to
 the Plaintiffs or other consumers to sell defendants’ so-called “auto warranty” protection. It
 will also occur in the future promotion of additional businesses or activities the enterprise
 seeks to either undertake and/or conceal.

     168. The (a) proceeds/monies received by Defendants, regardless of by whom paid,
 whether by any consumer, debtor or creditor, or by a financial institution financing the
 contract payments for the proffered “extended auto warranty” over a period of time when not
 paid for in a lump sum, which results from the ongoing wire and/or mail fraud; and (b)
 payments received by any Defendant or any entity affiliated with Defendants with regard to
 related or similar transactions; or (c) the securing of the advancement of monies from others
 similarly situated, amount to a closed period of repeated conduct which shows a series of
 related predicates extending over a substantial period of time.

     169. As a proximate result of the Defendants’ racketeering enterprise and pattern of
 racketeering activity, Plaintiffs have suffered substantial actual damages to property or their
 business interests in an amount to be determined at trial but believed to be in excess of
 $200,000, plus continuing accruals of interest, costs, and the costs of collection. Plaintiffs are
 also entitled to recover treble damages against defendants and their costs of suit including
 attorney's fees, as well as all other relief granted by the federal and state racketeering
 statutes.

    170. Defendants have violated the civil provisions of the Colorado Organized Crime
 Control Act ("COCCA"), C.R.S. 18-17-101, et seq., including but not limited to prohibitions
 found at 18 U.S.C. §§1961 (1)(A), (1)(B), (1)(C) and (1)(D).

    171. Plaintiffs expressly reserve the right to amend this Complaint and further plead
 racketeering based upon the federal Racketeering Influences and Corrupt Organizations Act
 (“RICO”).
                                          COUNT X
                                         (Civil Theft)

    172. The allegations of paragraphs 1 through 172 are incorporated herein by reference.

    173. The FCC has determined that spoofing constitutes intent to:



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        …wrongfully obtain anything of value. The items of value include, but are not
        limited to, …(1) increased sales, (2) avoidance of detection by law enforcement,
        and (3) escape from potential consumer litigation…[T]he misdirection
        [Defendants] created by [Defendants] by using misleading or inaccurate caller ID
        numbers (some of which [upon information and belief, Defendants] had no valid
        right to use at all) allowed [D]efendants to also hide from potential civil actions
        brought by aggrieved individuals. The Commission has previously found that the
        avoidance of culpability, whether involving government enforcement actions or
        private lawsuits, is a benefit that qualifies as a thing of value – one with an
        ascertainable dollar value. Relevant valuation includes penalty amounts of up to
        $20,489 per unlawful telemarketing call made in violation of the Commission’s Do
        Not Call rules, and up to $43,280 in civil penalties for each violation of the
        Telemarketing Sales Rule….

    Forfeiture Order, supra at ¶¶ 53 and 54.

     174. Further, [Defendants’ ] actions deprived consumers of their right to determine a caller’s
 identity before answering [Defendants’] telemarketing call. Moreover, as a result of [their]
 intentional acts, [Defendants] stood to gain by expanding [their] potential customer base while
 also evading detection by law enforcement or plaintiffs pursuing civil suits. Id. at ¶ 55.

      175. The FCC is in a unique position by virtue of The Hobbs Act, 28 U.S.C. § 2342,
 which leaves one in the position where the FCC’s pronouncements are absolutely binding on
 all trial courts. The only recourse is a jurisdictional issue involving appeal to the United
 States Courts of Appeals. This can be and should generally be preceded by a petition to the
 FCC itself internally. Thus, it becomes a jurisdictional issue for the trial courts.

     176. Actual damages occur by interference with Plaintiffs’ rights and by hindering,
 delaying, and defrauding Plaintiffs and, in the words of the FCC, “Innocent Consumers,” who
 become part of the pool of actual and future creditors being hindered, delayed, and defrauded by
 Defendants.

     177. Defendants knowingly obtained, and exercised control over “anything of value” of
 Plaintiffs without authorization and by deception, intending to deprive Plaintiffs permanently of
 the use or benefit of the thing of value.

     178. Defendants knowingly intended to deprive Plaintiffs permanently of the use or benefit
 of the thing of value.

     179. Defendants knowingly concealed the thing of value in such a manner as to deprive
 Plaintiffs permanently of its use or benefit.

    180. Defendants used and concealed the things of value intending that such concealment
 deprive Plaintiffs permanently of their use or benefit.
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     181. Plaintiffs have a possessory and/or proprietary interest in (a) the wrongful deprivation
 of Plaintiffs’ rights of privacy and ability to identify calls before answering them; (b) the right to
 pursue consumer litigation to vindicate the violation of their rights and to put a stop to such
 practices by Defendants, including Plaintiffs’ choses in action; and (c) the monetary and other
 relief available to them on account of Defendants illegal actions and course of continuing
 conduct.

    182. Defendants have intended and intend to permanently deprive Plaintiffs of the use
 and benefit of said possessory, proprietary, and property interests.

     183. Defendants concealed, exercised control over and retained said possessory,
 proprietary, and property interests in such a manner as to permanently deprive Plaintiffs of
 the use and benefit of those possessory, proprietary, and property interests.

     184. Defendants actions have caused and will cause damages to Plaintiffs as set forth on
 the Violation Charts attached hereto Exhibit 15 as provided by C.R.S. §18-4-405 and the
 annotations thereto.

     185. Further, Defendants’ actions were and are attended by circumstances of bad faith,
 fraud, malice, or willful and wanton conduct, entitling Plaintiffs to an additional award of
 treble damages, costs, and attorney’s fees, to be further pleaded and claimed pursuant to
 C.R.S. §13-21-102.

                                     COUNT XI
                                  (Personal Liability)
  Personal Liability As To Defendants Daniel Laurent, Trevor Smith, CeCi Harris, and
                                    Vashti Salazar

    186. The allegations of paragraphs 1 through 185 are incorporated herein by reference.

     187. Pursuant to 47 U.S.C. § 217 (1934), the act, omission, or failure of any officer,
 agent, or other person acting for or employed by the Defendants and acting within the scope
 of their employment constitutes the act, omission, or failure of the Defendants as well as the
 officer, agent, or other person.

     188. Defendants Laurent, Smith, Harris, and Salazar’s respective acts, omissions, or
 failure to act in connection with Defendants Direct Marketing Groups LLC, Vehicle
 Protection Specialists, and CarGuard Administration, Inc’s illegal, autodialed, prerecorded
 commercial telemarketing calls to cellular phones resulted in the commission of multiple
 tortuous acts in the state of Colorado for which they are jointly and severally liable.

     189. Defendants Laurent, Smith, Harris, and Salazar’s personal involvement in the
 illegal, autodialed, prerecorded commercial telemarketing calls to cellular phones resulted in
 the commission of multiple tortuous acts in the state of Colorado.
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    190. Defendants Laurent, Smith, Harris, and Salazar’s and other officers, employees,
 agents, or other persons participated personally and directly in the transmission of the illegal,
 autodialed, prerecorded commercial telemarketing calls to cellular phones; and/or

     191. Defendants Laurent, Smith, Harris, and Salazar’s authorized and/or ratified the
 transmission of the illegal, autodialed, prerecorded commercial telemarketing calls to cellular
 phones; and/or

     192. Defendants Laurent, Smith, Harris, and Salazar sanctioned and/or ratified the
 transmission of the illegal, autodialed, prerecorded commercial telemarketing calls to cellular
 phones; and/or

     193. Defendants Laurent, Smith, Harris, and Salazar had prior notice that the
 transmission of the illegal, autodialed, prerecorded commercial telemarketing calls to cellular
 phones was unlawful and Defendants Laurent, Smith, Harris, and Salazar’s failed to take
 affirmative steps to prevent the unlawful conduct; and/or

     194. Defendants Laurent, Smith, Harris, and Salazar were personally involved in the
 implementation of the marketing and advertising strategies of Defendants Direct Marketing
 Groups LLC, Vehicle Protection Specialists, and CarGuard Administration, Inc’s to promote
 the sale of their goods or services and said marketing and advertising strategies included the
 unlawful transmission of illegal, autodialed, prerecorded commercial telemarketing calls to
 cellular phones in violation of the TCPA and CCPA.

     195. Pursuant to C.R.S. § 7-108-402 (1998), because Defendants Laurent, Smith, Harris,
 and Salazar were personally involved in the implementation of the marketing and advertising
 strategies of Defendants Direct Marketing Groups LLC, Vehicle Protection Specialists, and
 CarGuard Administration, Inc’s to promote the sale of its/their goods or services, and said
 marketing and advertising strategies included the transmission of illegal, autodialed,
 prerecorded commercial telemarketing calls to cellular phones in violation of the TCPA and
 CCPA, Laurent, Smith, Harris, and Salazar are each personally liable, jointly and severally,
 for any and all damages attributed to Defendants Direct Marketing Groups LLC, Vehicle
 Protection Specialists, and CarGuard Administration, Inc’ under at least Counts I-V of the
 Complaint.

     196. Defendants Laurent, Smith, Harris, and Salazar are further personally liable by
 participating in a conspiracy to defraud, as well as violations of the Colorado Organized
 Crime Control Act, under Counts VI through IX.




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                                     PRAYER FOR RELIEF

 WHEREFORE, the Plaintiffs respectfully requests that the Court enter judgment in their
 favor and against the Defendants. The Plaintiffs pray for the following relief:

    A.     Pursuant to Count I:

         i. As provided for under 47 U.S.C. § 227(b)(3)(A), and 47 C.F.R. §1200(a)(1)(iii),
            grant an injunction enjoining the Defendants, their officers, successors, and
            assigns, and all persons or entities in active concert or participation with the
            Defendants, from engaging in the unlawful transmission of autodialed or
            prerecorded telemarketing cellular phone calls.

         ii. As provided for under 47 U.S.C. §227(b)(3)(B), award the Plaintiffs statutory
             damages of $500.00 for each of the two (2) violations in each call under 47
             U.S.C.§227(b)(3), for each automatically dialed, and each prerecorded phone call
             to a cellular phone, without Plaintiffs’ express written consent.

         iii. As provided for under 47 U.S.C. §227 (b)(3), Plaintiffs are entitled, in the Court's
              discretion, to treble damages on this Count I.

    B.     Pursuant to Count II:

         i. As provided for under 47 U.S.C. § 227(b)(3)(A), and 47 C.F.R. §1200(a)(1 )(iii),
            grant an injunction enjoining the Defendants, their officers, successors, and
            assigns, and all persons or entities in active concert or participation with the
            Defendants, from engaging in the unlawful failure to provide accurate caller
            identification information.

         ii. As provided for under 47 U.S.C. § 227(b)(3), award the Plaintiffs statutory
             damages of $500.00 for each of the violations as set forth in Exhibit 15 for each
             call lacking an accurate and otherwise compliant caller ID under 47 U.S.C. §
             227(c)(5), and 47 C.F.R. 64.1601(e) for Defendants failure to transmit an accurate
             caller ID and using a spoofed caller ID instead.

         iii. As provided for under 47 U.S.C. § 227 (b)(3), Plaintiffs are entitled, in the court's
              discretion, to treble damages on this Count II.

    C.     Pursuant to Count III:

         i. As provided for under 47 U.S.C. § 227 (c)(5) and 47 C.F.R. § 64.1200 (c)(2)
            award the Plaintiffs statutory damages of $500.00 for each of the robocalls as
            violative of the National Do-Not-Call Registry.

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    D.     Pursuant to Count IV:

         i. As provided for under 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d), award the
            Plaintiffs statutory damages for each of the two (2) violations in each robocall
            involving lack of required identification disclosures, effective written policy
            meeting minimum standards, and failure to inform and train personnel in the
            existent use of the do-not-call list.

    E.     Pursuant to Count V:

         i. As provided for under 47 U.S.C. § 227(b)(3)(A), and 47 C.F.R. §1200(a)(1)(iii),
            grant an injunction enjoining the Defendants, their officers, successors, and
            assigns, and all persons or entities in active concert or participation with the
            Defendants, from engaging in the unlawful initiating of a prerecorded voice
            telephone message without (1) proper identification of caller identity, (2) phone
            number of the initiator of the call, and (3) providing proper opt-out mechanism.

         ii. As provided for under 47 U.S.C. §227(b)(1)(A)(iii), award the Plaintiffs statutory
             damages of $500.00 for each of the three (3) violation(s) contained in each call
             under 47 U.S.C. §227(b)(3), for initiating a prerecorded voice telephone message
             without (1) proper identification of caller identity, (2) phone number of the
             initiator of the call, and (3) providing proper opt-out mechanism.

         iii. As provided for under 47 U.S.C. §227(b)(3), Plaintiffs are entitled, in the Court's
              discretion, to treble damages on this Count II.

    F.     Pursuant to Count VI:

         i. as provided under C.R.S.§ 6-1-113, award the Plaintiffs statutory damages of
            $500.00 for each of the two (2) violations in each call under C.R.S. 6-1-304 for
            unlawful telemarketing practices.

         ii. Pursuant to C.R.S. §6-1-305(1)(c), Defendants are, in addition to the above
             damages under C.R.S. §6-1-113, liable for consequential damages, court costs,
             attorney fees, and a penalty in the amount of at least three hundred dollars and not
             more than five hundred dollars for the first offense, and at least five hundred
             dollars and not more than one thousand dollars a for a second or subsequent
             offense. At least two offenses are detailed above with respect to each of the 27
             robocalls.

         iii. In addition, Defendants are liable for treble damages for bad faith conduct
              pursuant to C.R.S. §6-1-113 (2)(a)(III).



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         iv. In addition, Defendants are liable for Plaintiffs’ attorney’s fees pursuant to C.R.S.
             §6-1-113(2)(b). The Defendants are additionally explicitly liable for attorney’s
             fees under C.R.S. §6-1-305(1)(c).

    G.     Pursuant to Count VII:

         i. As provided under C.R.S. §6-1-113, award the Plaintiffs statutory damages of
            $500.00 for each of the four (4) violations in each of the robocalls under C.R.S.
            §6-1-105(1)(d) plus the one (1) violation in each of the 27 robocalls under C.R.S.
            §6-1-105(1)(cc). for deceptive trade practices, for a total of five (5) violations per
            call.

         ii. In addition, Defendants are liable for treble damages for bad faith conduct
             pursuant to C.R.S. §6-1-113 (2)(a)(III).

         iii. In addition, Defendants are liable for Plaintiffs’ attorney’s fees pursuant to C.R.S.
              §6-1-113(2)(b). The Defendants are additionally explicitly liable for attorney’s
              fees under C.R.S. §6-1-305(1)(c).

    H.     Pursuant to Count VIII:

         i. As provided under C.R.S. § 18-17-103(5)(a), award the Plaintiffs statutory treble
            damages in an amount to be determined at trial, plus pre-judgment interest, costs,
            and attorney’s fees.

    I.     Pursuant to Count IX, entry of:

         i. A monetary judgment for treble damages, costs, pre-judgment and post-judgment
            interest, and pre-judgment and post-judgment attorney’s fees in favor of Plaintiffs
            and against each defendant jointly and severally,

         ii. A judgment ordering divestment of any interest in any enterprise, including real
             property,

         iii. A judgment imposing restrictions upon the future activities and/or investments of
              each Defendant, including, but not limited to, prohibiting any Defendant from
              engaging in the same type of endeavor as the enterprise in which he, she, or it has
              engaged in violation of COCCA,

         iv. A judgment ordering the dissolution or reorganization of the enterprise,

         v. A judgment ordering the suspension or revocation of any license, permit, or prior
            approval granted to any enterprise by any agency of the state,


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          vi. A judgment ordering the forfeiture of any charter of a corporation organized under
              the laws of this state or the revocation of any certificate authorizing a foreign
              corporation to conduct business within the state,

          vii. A judgment ordering civil forfeiture to the state of all property, real or personal,
               including money, used in the course of, intended for use in the course of, derived
               from, or realized through conduct in violation of the provisions of COCCA, as
               provided by statute,

          viii. As to any real property, entry of a judgment of permanent order of abatement,
                directing the sheriff to sell such property and the ground upon which it is situated,
                as provided by statute,

          ix. Entry of judgment applying proceeds of civil forfeiture for benefit of Plaintiffs as
              provided by C.R.S. §18-17-106.

     J.      Pursuant to Count X:

          i. All damages occasioned by violation of Plaintiffs’ rights as set forth on all
             violation charts attached hereto.

          ii. Treble damages for civil theft.

          iii. Treble damages for exemplary damages, as provided by statute.

          iv. Attorney’s fees and costs, pre-judgment, and post-judgment interest according to
              Colorado law, including consideration of moratory interest.

     K.      Pursuant to Count XI:

          i. As provided under 47 U.S.C. § 217 (1934), entry of judgment against individual
             Defendants personally liable, jointly and severally, for any damages attributed to
             Defendants Direct Marketing Groups LLC, Vehicle Protection Specialists, and
             CarGuard Administration, Inc. under Counts 1-V of the Complaint.

     L.      Pre-judgment interest as damages as provided by statute;

     M.      Post-judgment interest as provided by state statute and costs; and

     N. Grant such further relief as the Court finds just and equitable under the
 circumstances.

                                            JURY DEMAND

 Plaintiffs request a jury trial.
                                                   40



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 Respectfully submitted this 20th of July, 2021.

                                            Signed Original on File at Office of Plaintiffs’
                                            Attorney

                                            By: /s/ Andrew L. Quiat
                                               Andrew L. Quiat, #1286




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                                                       CASE NUMBER: 2021CV30074




                                Prepared Statement of
                            The Federal Trade Commission

                                       Before the
                                 United States Senate
                              Special Committee on Aging

                                          on

          Still Ringing off the Hook: An Update on Efforts to Combat Robocalls

                                   Washington, DC
                                   October 4, 2017




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         Chairman Collins, Ranking Member Casey, and members of the Committee, I am Lois

 Greisman, Associate Director of the Division of Marketing Practices, Bureau of Consumer

 Protection at the Federal Trade Commission (“Commission” or “FTC”). 1 I appreciate the

 opportunity to appear before you today to discuss the Commission’s initiatives to fight illegal

 robocalls, including those that target seniors. 2

         In 2003, the FTC responded to enormous public frustration with unsolicited sales calls

 and amended the Telemarketing Sales Rule (“TSR”) to create a national Do Not Call Registry. 3

 The Registry, which includes more than 226 million active telephone numbers, 4 has been

 tremendously successful in protecting consumers’ privacy from the unwanted calls of tens of

         1
                 The views expressed in this statement represent the views of the Commission. My oral
 presentation and responses to questions are my own and do not necessarily reflect the views of the
 Commission or any individual Commissioner.
         2
                  See, e.g., FTC v. Life Management Services of Orange County, LLC, 6:16-CV-982-Orl
 (M.D. Fla. June 8, 2016) (FTC alleged defendants bombarded consumers with illegal prerecorded calls
 fraudulently pitching interest rate reduction and debt elimination schemes, in some instances targeting
 seniors), available at https://www.ftc.gov/enforcement/cases-proceedings/152-3216/life-management;
 FTC v. Lifewatch Inc., 1:15-cv-05781 (N.D. Ill. June 20, 2015) (FTC and Florida Attorney General
 alleged defendants used blatantly illegal and fraudulent prerecorded calls to trick older consumers into
 signing up for medical alert systems with monthly monitoring fees), available at
 https://www.ftc.gov/enforcement/cases-proceedings/142-3123/lifewatch-inc; FTC v. All Us Marketing
 LLC, 6:15CV1016-0RL-28GJK (M.D. Fla. June 29, 2015) (FTC and Florida Attorney General alleged
 defendants engaged in massive prerecorded call campaigns designed to defraud consumers, often seniors,
 into paying significant up-front fees for worthless credit card interest rate reduction programs), available
 at https://www.ftc.gov/enforcement/cases-proceedings/142-3256/all-us-marketing-llc-formerly-known-
 payless-solutions-llc.
         3
                  68 Fed. Reg. 4580 (Jan. 29, 2003); 16 C.F.R. Part 310. The FTC issued the TSR
 pursuant to the Telemarketing and Consumer Fraud and Abuse Prevention Act, 15 U.S.C. §§ 6101-6108.
 See generally The Telemarketing Sales Rule, 16 C.F.R. Part 310.
         4
                 See National Do Not Call Registry Active Registrations and Complaint Figures. National
 Do Not Call Registry Data Book FY 2016 at 4 (Dec. 2016), available at
 https://www.ftc.gov/reports/national-do-not-call-registry-data-book-fiscal-year-2016.




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 thousands of legitimate telemarketers who subscribe to the Registry each year. 5 More recently,

 changes in technology led to a new source of immense frustration – the blasting of prerecorded

 messages that primarily rely on Voice over Internet Protocol (“VoIP”) technology. 6 In 2008, the

 Commission responded by amending the TSR to prohibit the vast majority of prerecorded sales

 calls. 7

            Illegal robocalls remain a significant consumer protection problem because they

 repeatedly disturb consumers’ privacy and frequently use fraud and deception to pitch goods and

 services, leading to significant economic harm. Illegal robocalls are also frequently used by

 criminal impostors posing as trusted officials or companies. Consumers are justifiably

 frustrated—in 2016 the FTC received more than 3.4 million robocall complaints and in 2017 the

 FTC received more than 3.5 million robocall complaints just between January and August. 8 The

 FTC is using every tool at its disposal to fight these illegal calls. 9 This testimony describes the

 Commission’s efforts to stop telemarketer violations, including our aggressive law enforcement,

 initiatives to spur technological solutions, and robust consumer and business outreach.




            5
                 For example, in fiscal year 2016, more than 17,000 telemarketers accessed the Do Not
 Call Registry. National Do Not Call Registry Data Book FY 2016 at 8 (Dec. 2016), available at
 https://www.ftc.gov/reports/national-do-not-call-registry-data-book-fiscal-year-2016.
            6
                   See Section II(A), infra.
            7
                   73 Fed. Reg. 51164 (Aug. 29, 2008); 16 C.F.R. § 310.4(b)(1)(v).
            8
                  Total unwanted-call complaints for the first eight months of 2017, including both
 robocall complaints and complaints from consumers whose phone numbers are registered on the Do Not
 Call Registry, exceed 5.5 million. On average, over 400,000 of these complaints each month are about
 robocalls.
            9
                   See FTC Robocall Initiatives, http://www.ftc.gov/robocalls.



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 I.      Law Enforcement

         Since establishing the Do Not Call Registry in 2003, 10 the Commission has fought

 vigorously to protect consumers’ privacy from unwanted calls. Indeed, since the Commission

 began enforcing the Do Not Call provisions of the TSR in 2004, the Commission has brought

 131 enforcement actions seeking civil penalties, 11 restitution for victims of telemarketing scams,

 and disgorgement of ill-gotten gains against 429 corporations and 345 individuals. From the 124

 cases that have been resolved thus far, the Commission has collected over $120 million in

 equitable monetary relief and civil penalties.

         A.      Robocall Law Enforcement

         On September 1, 2009, TSR provisions went into effect prohibiting the vast majority of

 robocalls selling a good or service. 12 The robocall provisions cover prerecorded calls to all

         10
                  In 2003, two different district courts issued rulings enjoining the Do Not Call Registry.
 See Press Release, FTC Files Motion to Stay Pending Appeal in Oklahoma DNC Ruling (Mar. 24, 2003),
 available at https://www.ftc.gov/news-events/press-releases/2003/09/ftc-files-motion-stay-pending-
 appeal-oklahoma-dnc-ruling; Press Release, Statement of FTC Chairman Timothy J. Muris (Sept. 26,
 2003), available at https://www.ftc.gov/news-events/press-releases/2003/09/statement-ftc-chairman-
 timothy-j-muris. Congress addressed the first decision in summary fashion by enacting HR 3161 in one
 day. See “HR 3161 (108th) Do-Not-Call-Registry bill,”
 http://www.govtrack.us/congress/bills/108/hr3161; Press Release, Statement of FTC Chairman Timothy
 J. Muris (Sept. 25, 2003), available at https://www.ftc.gov/news-events/press-releases/2003/09/statement-
 ftc-chairman-timothy-j-muris-0. The 10th Circuit reversed the second district court decision on February
 17, 2004. See Press Release, Appeals Court Upholds Constitutionality of National Do Not Call Registry
 (Feb. 17, 2004), available at https://www.ftc.gov/news-events/press-releases/2004/02/appeals-court-
 upholds-constitutionality-national-do-not-call.
         11
                   As is true of all TSR violations, telemarketers who violate the Do Not Call provisions are
 subject to civil penalties of up to $40,000 per violation. 15 U.S.C. § 45(m)(1)(A); 16 C.F.R. § 1.98(d).
         12
                   Like the other provisions of the TSR, the robocall provisions do not apply to non-sales
 calls, such as calls placed by charities to its members and prior donors or those calls that are purely
 political, informational, or survey calls. See generally “Complying with the Telemarketing Sales Rule”
 (June 2016), available at https://www.ftc.gov/tips-advice/business-center/guidance/complying-
 telemarketing-sales-rule. Limited exceptions exist for calls that deliver a healthcare message made by an
 entity covered by the Health Insurance Portability and Accountability Act, 16 C.F.R. § 310.4(b)(1)(v)(D),
 and for certain calls placed by telemarketers who solicit charitable contributions, 16 C.F.R. §
 310.4(b)(1)(v)(B).


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 consumers, including those who have not registered their phone number on the Do Not Call

 Registry. The Commission has been aggressive in enforcing prohibitions against robocalls,

 filing 45 cases against 163 companies and 121 individuals responsible for billions of illegal

 robocalls. 13 From the 41 cases that have concluded thus far, the Commission has collected more

 than $29 million in civil penalties, redress, or disgorgement. Set forth below are details

 regarding several of our enforcement actions in this area.

              1. Historic Victory in Dish Network

         The FTC and our law enforcement partners recently achieved an historic win in the fight

 against unwanted calls and robocalls. On June 5, 2017, a federal district court in Illinois issued

 an order imposing the largest penalty ever issued in a Do Not Call case: $280 million against

 Dish Network. 14 The Dish litigation began in 2009 when the Department of Justice brought an

 action on behalf of the FTC with the states of California, Illinois, North Carolina, and Ohio

 alleging millions of violations of the Telemarketing Sales Rule, the Telephone Consumer

 Protection Act (“TCPA”) and various state Do Not Call laws. 15 The litigation centered on

 allegations that Dish and its telemarketers made tens of millions of calls—often robocalls 16—to


         13
                 The FTC filed 12 of the 45 cases before the rule change went into effect on September 1,
 2009.
         14
                 See U.S. v. Dish Network, LLC, No. 3:09-cv-03073 (C.D. Ill. June 6, 2017) available at
 https://www.ftc.gov/news-events/press-releases/2017/06/ftc-doj-case-results-historic-decision-awarding-
 280-million-civil.
         15
                 U.S. v. Dish Network, LLC, No. 3:09-cv-03073 (C.D. Ill. Mar. 25, 2009), available at
 https://www.ftc.gov/news-events/press-releases/2009/03/ftc-charges-dish-network-formerly-known-
 echostar-multiple-do-not.
         16
                   When the Dish case was filed in March of 2009, the robocall provision of the TSR was
 not yet in effect, thus the complaint reached Dish’s unlawful use of robocalls through a count alleging
 violations of the TSR’s abandoned call provisions. Since October 1, 2003, telemarketers have been
 prohibited from abandoning an outbound telephone call, and sellers are prohibited from causing a
 telemarketer to do so in violation of the TSR. 16 C.F.R. § 310.4(b)(1)(iv). An outbound telephone call is


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 telephone numbers on the Do Not Call Registry and called consumers who previously asked

 Dish and its telemarketers to stop calling. 17 In January 2015, the Court found that Dish and its

 telemarketers had engaged in more than 66 million violations of the TSR and that Dish was

 responsible for calls made by its retailers. 18 The $280 million penalty against Dish includes

 $168 million to the United States for violations of the TSR and $112 million to the states for

 violations of the TCPA and various state laws. The order also imposed strong injunctive relief

 that, among other provisions, requires Dish to hire a monitor to ensure that Dish and its retailers

 comply with telemarketing laws. 19 The tireless efforts of DOJ and our state co-plaintiffs were

 invaluable in securing an outcome that takes a strong stand against companies who invade a

 consumer’s privacy through unwanted calls and robocalls.

              2. Strategic Targeting of Robocall Violators

         In response to growing consumer complaints about illegal robocalls, the FTC engages in

 strategic targeting to maximize impact, prioritizing targets that are causing the most harm to

 consumers. For example, in January 2017, the Commission filed two lawsuits, FTC v. Justin

 Ramsey and FTC v. Aaron Michael Jones, that shut down operations responsible for billions of


 abandoned if a person answers it and the telemarketer does not connect the call to a sales representative
 within two (2) seconds of the person’s completed greeting. 16 C.F.R. § 310.4(b)(1)(iv). The use of
 robocalls, where a sales pitch to a live consumer begins with or is made entirely by a pre-recorded
 message, violates the TSR’s abandoned call prohibition because the telemarketer is not connecting the
 call to a sales representative within two (2) seconds of the person’s completed greeting.
         17
                 Id.
         18
                 U.S. v. Dish Network, LLC, No. 3:09-cv-03073 (C.D. Ill. Jan. 21, 2015), available at
 https://www.ftc.gov/news-events/press-releases/2015/01/court-grants-partial-summary-judgment-ftc-case-
 against-dish.
         19
                 See U.S. v. Dish Network, LLC, No. 3:09-cv-03073 (C.D. Ill. June 6, 2017) available at
 https://www.ftc.gov/news-events/press-releases/2017/06/ftc-doj-case-results-historic-decision-awarding-
 280-million-civil.



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 illegal robocalls. The Ramsey and Jones defendants bombarded consumers with pitches for

 home security systems and extended auto warranties and compounded their illegal robocalls by

 dialing more that 70 million phone numbers that were registered on the Do Not Call Registry. 20

        In June 2016, as part of the FTC’s work targeting telemarketers that use robocalls to

 defraud consumers, the FTC and the Florida Attorney General brought an action to shut down a

 company that allegedly blasted consumers with illegal robocalls touting bogus credit-card

 interest rate reduction and debt relief services. 21 The FTC alleged that this scheme bilked

 consumers out of more than $23 million since 2013. 22 In some instances, the defendants

 allegedly tailored their debt elimination pitch to consumers over age 60. 23

        Over the past two years the FTC, often in conjunction with its law enforcement partners,

 initiated nine new actions targeting defendants we alleged are responsible for billions of illegal

 robocalls hawking home security systems, free vacations, medical alert devices, energy savings,

 and credit card interest rate reductions. 24 Many of the defendants in these cases are now banned


        20
                  FTC v. Justin Ramsey, 9:17-cv-80032-KAM (S.D. Fl. Jan. 13, 2017), available at
 https://www.ftc.gov/enforcement/cases-proceedings/132-3254/justin-ramsey; FTC v. Michael Aaron
 Jones, 8:17-cv-00058 (M.D. Fla. Jan. 13, 2017), available at https://www.ftc.gov/enforcement/cases-
 proceedings/152-3152/allorey-inc. Evidence reviewed by FTC staff in connection with the Ramsey case
 indicated that a portion of the unlawful telemarketing calls targeted “distressed seniors.”
        21
                  See FTC v. Life Management Services of Orange County, LLC, 6:16-CV-982-Orl (M.D.
 Fla. June 8, 2016), https://www.ftc.gov/enforcement/cases-proceedings/152-3216/life-management. We
 alleged that the defendants used fake company names that deceived consumers into thinking that the
 defendants had a relationship or affiliation with the consumers’ credit-card issuers.
        22
                See FTC v. Life Management Services of Orange County, LLC, 6:16-CV-982-Orl (M.D.
 Fla. May 1, 2017), D.E. #163.
        23
                 For example, one consumer stated that the telemarketer claimed to be offering “a
 program to help senior citizens eliminate their debt.” FTC v. Life Management Services of Orange
 County, LLC, 6:16-CV-982-Orl, Plaintiff’s Exhibit 7 (M.D. Fla. June 8, 2016).
        24
                 FTC v. Justin Ramsey, 9:17-cv-80032-KAM (S.D. Fla. Jan. 13, 2017), available at
 https://www.ftc.gov/enforcement/cases-proceedings/132-3254/justin-ramsey; FTC v. Michael Aaron


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 from robocalling or telemarketing. 25

              3. Reaching Violators Attempting to Avoid Detection

         Increasingly, the perpetrators behind these abusive and often fraudulent calls take steps to

 avoid detection, either by operating through a web of related entities, “spoofing” their Caller ID

 information, or hiding overseas. The FTC uses every investigative and litigation tool at its

 disposal to cut through these deceptions. For example, the defendants in the Jones and Ramsey

 cases operated through a tangle of related individuals and entities to avoid detection by law



 Jones, 8:17-cv-00058 (M.D. Fla. Jan. 13, 2017), available at https://www.ftc.gov/enforcement/cases-
 proceedings/152-3152/allorey-inc; U.S. v. Consumer Education.info, Inc., 1:16-cv-02692 (D. Col. Nov. 1,
 2016), available at https://www.ftc.gov/enforcement/cases-proceedings/152-3081/consumer-
 educationinfo-inc; FTC v. Life Management Services of Orange County, LLC, 6:16-CV-982-Orl (M.D.
 Fla. June 8, 2016), available at https://www.ftc.gov/enforcement/cases-proceedings/152-3216/life-
 management; U.S. v. Lilly Management and Marketing, LLC, 6:16-cv-485-Orl (M.D. Fla. Mar. 17, 2016),
 available at https://www.ftc.gov/enforcement/cases-proceedings/152-3115/usa-vacation-station; U.S. v.
 KFJ Marketing Inc., 2:16-cv-01643 (C.D. Cal. Mar. 10, 2016), available at
 https://www.ftc.gov/enforcement/cases-proceedings/152-3166/kfj-marketing-llc; FTC v. Lifewatch Inc.,
 1:15-cv-05781 (N.D. Ill. June 20, 2015), available at https://www.ftc.gov/enforcement/cases-
 proceedings/142-3123/lifewatch-inc; FTC v. All Us Marketing LLC, 6:15CV1016-0RL-28GJK (M.D. Fla.
 June 29, 2015), available at https://www.ftc.gov/enforcement/cases-proceedings/142-3256/all-us-
 marketing-llc-formerly-known-payless-solutions-llc; FTC v. Caribbean Cruise Line, Inc., 0:15-cv-60423
 (S.D. Fla. Mar. 4, 2015), available at https://www.ftc.gov/enforcement/cases-proceedings/122-3196-
 x150028/caribbean-cruise-line-inc.
         25
                  See, e.g., FTC v. Michael Aaron Jones, 8:17-cv-00058 (M.D. Fla. May 31, 2017),
 available at https://www.ftc.gov/enforcement/cases-proceedings/152-3152/allorey-inc (final orders
 permanently banning Jones and related companies from all telemarketing activities, including initiating
 robocalls, calling numbers on the Do Not Call Registry, and selling data lists containing consumers’
 phone numbers and other information); FTC v. All Us Marketing LLC, 6:15CV1016-0RL-28GJK (M.D.
 Fla. May 22, 2017, June 8, 2016 and Nov. 1, 2016), available at https://www.ftc.gov/enforcement/cases-
 proceedings/142-3256/all-us-marketing-llc-formerly-known-payless-solutions-llc (multiple final orders
 permanently banning most defendants from robocalling, telemarketing, and providing debt relief
 services); FTC v. Justin Ramsey, 9:17-cv-80032-KAM (S.D. Fla. Apr. 11, 2017), available at
 https://www.ftc.gov/enforcement/cases-proceedings/132-3254/justin-ramsey (stipulated order banning
 Ramsey and his company from placing robocalls to individuals to sell goods or services, initiating sales
 calls to numbers listed on the Do Not Call Registry, and selling data lists containing phone numbers listed
 on the Registry); FTC v. Caribbean Cruise Line, Inc., 0:15-cv-60423 (S.D. Fla. Feb. 17, 2017), available
 at https://www.ftc.gov/enforcement/cases-proceedings/122-3196-x150028/caribbean-cruise-line-inc (final
 stipulated order banning the Pacific Telecom defendants from robocalling and illegal telemarketing, as
 well as helping anyone else make such calls).



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 enforcement. In addition, defendants in four of our recent robocall cases routinely hid their true

 name or phone number to deceive consumers and evade detection by law enforcement and the

 Commission included counts in its suits targeting this unlawful Caller ID spoofing. 26

         The perpetrators behind many unlawful calls also seek to evade law enforcement by

 operating overseas. When consumers are victimized by fraudulent calls from international call

 centers, the Commission finds ways to stymie the scammers by cracking down on their U.S.

 enablers. In one recent case, the Commission filed suit against individuals and entities in the

 U.S. who were collecting money on behalf of telemarketers at India-based call centers operating

 government impostor scams that conned consumers into paying hundreds or thousands of dollars

 for taxes they did not owe, or fees for services they did not receive. 27 In another recent case, the

 Commission brought suit against the U.S. operators of a scam that relied on Peruvian call centers

 and sophisticated Caller ID spoofing to pressure Spanish speaking U.S. consumers into

 purchasing English-language learning materials of little value—and then posing as government

 officials to threaten and harass uninterested consumers into “purchasing” their products. 28


         26
                 See U.S. v. KFJ Marketing Inc., 2:16-cv-01643 (C.D. Cal. Mar. 10, 2016), available at
 https://www.ftc.gov/enforcement/cases-proceedings/152-3166/kfj-marketing-llc; FTC v. Lifewatch Inc.,
 1:15-cv-05781 (N.D. Ill. June 20, 2015), available at https://www.ftc.gov/enforcement/cases-
 proceedings/142-3123/lifewatch-inc; FTC v. All Us Marketing LLC, 6:15CV1016-0RL-28GJK (M.D. Fla.
 June 29, 2015), available at https://www.ftc.gov/enforcement/cases-proceedings/142-3256/all-us-
 marketing-llc-formerly-known-payless-solutions-llc; FTC v. Caribbean Cruise Line, Inc., 0:15-cv-60423
 (S.D. Fla. Mar. 4, 2015), available at https://www.ftc.gov/enforcement/cases-proceedings/122-3196-
 x150028/caribbean-cruise-line-inc. In each case, the FTC alleged that defendants failed to transmit
 complete and accurate Caller ID information in violation of 16 C.F.R. § 310.4(a)(8). In addition, the
 complaint in FTC v. Jones, alleged that the defendants assisted and facilitated others engaged in illegal
 spoofing. FTC v. Michael Aaron Jones, 8:17-cv-00058 (M.D. Fla. Jan. 13, 2017), available at
 https://www.ftc.gov/enforcement/cases-proceedings/152-3152/allorey-inc.
         27
                  FTC v. PHLG Enterprises LLC, 8:17-cv-00220-RAL-AEP (M.D. Fla. Jan. 27, 2017),
 available at https://www.ftc.gov/enforcement/cases-proceedings/152-3245-x170019/phlg-enterprises-llc.
         28
                 FTC v. ABC Hispana Inc., 5:17-cv-00252-JGB-DTB (C.D. Cal. Apr. 19, 2017), available
 at https://www.ftc.gov/enforcement/cases-proceedings/152-3108/abc-hispana-inc-et-al.


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         B.      Coordination with Law Enforcement Partners

         As the law enforcement challenges associated with illegal telemarketing have increased,

 the FTC’s relationships with other agencies have become increasingly important. The

 Commission has robust, collaborative relationships with state law enforcers, including through

 the National Association of Attorneys General Do Not Call working group. In addition, the FTC

 regularly works with the Federal Communications Commission (“FCC”), the Department of

 Justice, the Internal Revenue Service (“IRS”), the U.S. Treasury Inspector General for Tax

 Administration (“TIGTA”), the U.S. Postal Inspection Service, and U.S. Attorneys’ Offices

 across the country. The Commission also coordinates with its counterparts in other countries on

 particular cases and broader strategic matters such as Caller ID spoofing. The FTC’s

 collaboration with its partners takes many forms, including sharing information and targets,

 assisting with investigations, and working collaboratively on long-term policy initiatives.

         The Commission also coordinates with various partners to bring law enforcement actions.

 Seven of the nine most recent robocall enforcement actions the FTC has led involved

 collaboration with the Department of Justice or our state partners. 29 The FTC also leads

 robocall law enforcement “sweeps”—coordinated, simultaneous law enforcement actions—in

 conjunction with state and federal partners. 30 Most recently, the FTC led a multinational

 robocall sweep announced in June 2016 that took action against operations estimated to be




         29
                 See supra n. 24.
         30
                 See, e.g., Press Release, FTC Leads Joint Law Enforcement Effort Against Companies
 that Allegedly Made Deceptive “Cardholder Services” Robocalls (Nov. 1, 2012), available at
 https://www.ftc.gov/news-events/press-releases/2012/11/ftc-leads-joint-law-enforcement-effort-against-
 companies.



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 responsible for billions of illegal robocalls. 31 The June 2016 sweep included thirty-nine actions

 taken by the FTC, the Canadian Radio-television and Telecommunications Commission (CRTC),

 the United Kingdom’s Information Commissioner’s Office (ICO), as well as DOJ, the FCC and

 the attorney generals’ offices of Colorado, Florida, Indiana, Kansas, Mississippi, Missouri, North

 Carolina, Ohio, and Washington State, and the Tennessee Regulatory Authority.

 II.     Policy and Market Stimulation Initiatives

         Despite the 2009 prohibition of unauthorized robocalls and the Commission’s vigorous

 enforcement efforts, technological advances have permitted law-breakers to make more robocalls

 for less money with a greater ability to hide their identity. For example, at the end of 2009, the

 FTC received approximately 63,000 complaints about illegal robocalls each month. 32 That

 number has now more than quadrupled—so far in 2017 the FTC has received an average of

 400,000 robocall complaints per month. 33

         A.      Understanding the Landscape of the Robocall Problem

         Recognizing that law enforcement, while critical, is not enough to solve the problem,

 FTC staff has aggressively sought new strategies in ongoing discussions with academic experts,

 telecommunications carriers, industry coordinating bodies, technology and security companies,


         31
                  See Press Release, FTC, Florida Attorney General Take Action Against Illegal Robocall
 Operation (June 14, 2016), available at https://www.ftc.gov/news-events/press-releases/2016/06/ftc-
 florida-attorney-general-take-action-against-illegal-robocall and
 https://www.ftc.gov/system/files/attachments/press-releases/ftc-florida-attorney-general-take-action-
 against-illegal-robocall-operation/160614robocallenforcementactions.pdf (listing actions comprising the
 coordinated enforcement crackdown).
         32
                 National Do Not Call Registry Data Book FY 2010 at 5 (Nov. 2010), available at
 https://www.ftc.gov/reports/national-do-not-call-registry-data-book-fiscal-year-2010. Since that time, the
 FTC began separately tracking Do Not Call complaints and robocall complaints based on information
 provided by the consumer.
         33
                 See supra n. 8.



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 consumers, and counterparts at federal, state, and foreign government agencies. The

 Commission ramped up these efforts in October 2012, when the Commission hosted a public

 summit on robocalls to explore these issues (the “Robocall Summit”). 34 Since then, as discussed

 below, the Commission has spurred the creation of specific groups of experts and industry

 members to work together and with international law enforcers to tackle this vexing consumer

 protection issue.

        Speakers at the Robocall Summit made clear that convergence between the legacy

 telephone system and the Internet has allowed robocallers to engage, at very little cost, in

 massive, unlawful robocall campaigns that cross international borders and hide behind spoofed

 Caller ID information. As a result, it is not only much cheaper to blast out robocalls; it is also

 easier to hide one’s identity when doing so.

                1.      New Technologies Have Made Robocalls Extremely Inexpensive

        Until relatively recently, telemarketing required significant capital investment in

 specialized hardware and labor. 35 Now, robocallers benefit from automated dialing technology,

 inexpensive international and long distance calling rates, and the ability to move internationally

 and employ cheap labor. 36 The only necessary equipment is a computer connected to the

 Internet. 37 The result: law-breaking telemarketers can place robocalls for a fraction of one cent


        34
                 See generally FTC Workshop, Robocalls: All the Rage (Oct. 18, 2012), available at
 https://www.ftc.gov/news-events/events-calendar/2012/10/robocalls-all-rage-ftc-summit. A transcript of
 the workshop (hereinafter “Tr.”) is available at
 https://www.ftc.gov/sites/default/files/documents/public_events/robocalls-all-rage-ftc-
 summit/robocallsummittranscript.pdf.
        35
                Herrmann, Tr. at 58-59; Schulzrinne, Tr. at 24.
        36
                Schulzrinne, Tr. at 24.
        37
                Herrmann, Tr. at 59-61.



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 per minute. In addition, the cheap, widely available technology has resulted in a proliferation of

 entities available to perform any portion of the telemarketing process, including generating leads,

 placing automated calls, gathering consumers’ personal information, or selling products. 38

 Because of the dramatic decrease in upfront capital investment and marginal cost, robocallers—

 like email spammers—can make a profit even if their contact rate is very low. 39

                2.      New Technologies Have Made It Easier for Robocallers to Hide

        Technological changes have also affected the marketplace by enabling telemarketers to

 conceal their identities when they place calls. First, direct connections do not exist between

 every pair of carriers, so intermediate carriers are necessary to connect many calls. Thus, the

 typical call now takes a complex path, traversing the networks of multiple VoIP and legacy

 carriers before reaching the end user. 40 Such a path makes it cumbersome to trace back to a

 call’s inception. 41 All too often, this process to trace the call fails completely because one of the

 carriers in the chain has not retained the records necessary for a law enforcement investigation. 42

        Second, new technologies allow callers to easily manipulate the Caller ID information

 that appears with an incoming phone call. 43 While “Caller ID spoofing” has some beneficial

 uses, 44 it also allows telemarketers to deceive consumers by pretending to be an entity with a

        38
                Schulzrinne, Tr. at 20-21; Maxson, Tr. at 95-98.
        39
                Schulzrinne, Tr. at 21; Bellovin, Tr. at 16-17.
        40
                Panagia, Tr. at 130-32; Bellovin, Tr. at 17.
        41
                Schulzrinne, Tr. at 24-25; Maxson, Tr. at 100; Bash, Tr. at 104.
        42
                Panagia, Tr. at 160-61; see also id. at 132-133; Schulzrinne, Tr. at 21.
        43
                Schulzrinne, Tr. at 24-26.
        44
                 See, e.g., Panagia, Tr. at 129 (AT&T allows the third party that performs AT&T’s
 customer service to “spoof” AT&T’s customer service line).


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 local phone number or a trusted institution such as a bank or government agency. 45 In addition,

 telemarketers can change their phone numbers frequently in an attempt to avoid detection. 46

         Finally, new technologies allow robocallers to operate outside of jurisdictions where they

 are most likely to face prosecution. 47 Indeed, the entities involved in the path of a robocall can

 be located in different countries, making investigations even more challenging.

              B. Need to Stimulate Technological Solutions

                 1. Robocall Contests

         Recognizing the need to spur the marketplace into developing technical solutions that

 protect American consumers from illegal robocalls, the FTC led four public challenges to help

 tackle the unlawful robocalls that plague consumers. In 2012-2013, the FTC conducted its first

 Robocall Challenge 48, and called upon the public to develop a consumer-facing solution that

 blocks illegal robocalls, applies to landlines and mobile phones, and operates on proprietary and

 non-proprietary platforms. In response, we received 798 submissions and partnered with experts

 in the field to judge the entries. One of the winners, “NomoRobo,” was on the market and

 available to consumers by October 2013—just 6 months after being named one of the winners.


         45
                 Schulzrinne, Tr. at 21-22.
         46
                   Id. at 24-26; Maxson, Tr. at 97; Bash, Tr. at 103. Under the Truth in Caller ID Act, it is
 generally illegal to transmit misleading or inaccurate Caller ID information with intent to defraud. See
 Truth in Caller ID Act, 47 U.S.C.§ 227(e); cf. 16 C.F.R. § 310.4(a)(8) (the Telemarketing Sales Rule
 requires that sellers and telemarketers transmit or cause to be transmitted the telephone number and, when
 made available by the telemarketer’s carrier, the name of the telemarketer, to any caller identification
 service in use by a recipient of a telemarketing call, or transmit the customer service number of the seller
 on whose behalf the call is made and, when made available by the telemarketer’s seller, the name of the
 seller. Under this provision, it is not necessary to prove intent to defraud.).
         47
                 Schulzrinne, Tr. at 21; Bellovin, Tr. at 16-17.
         48
                 For more information on the first FTC Robocall Challenge, see
 https://www.ftc.gov/news-events/press-releases/2013/04/ftc-announces-robocall-challenge-winners.



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 To date, “NomoRobo,” which reports blocking over 279 million calls, is being offered directly to

 consumers by a number of telecommunications providers and is now available as an app on

 iPhones. 49

         The following year the FTC launched its second challenge—Zapping Rachel 50—which

 called upon information security experts to help create a robust robocall honeypot. Sixty teams

 and individuals signed up for one or more phase, and FTC staff obtained new insights that

 improved current robocall honeypot designs and connected new partners and stakeholders.

         In June 2015, the FTC sponsored its third challenge, DectectaRobo 51, in which it called

 upon the public to analyze call data to create algorithms that could predict which calls were

 likely robocalls. Nineteen teams from all over the U.S. participated. Later in 2015, the FTC

 challenged information security experts to create tools people could use to block and forward

 robocalls automatically to a honeypot as part of the Robocalls: Humanity Strikes Back

 challenge. 52 Contestants built and submitted robocall solutions to the judges and finalists, then

 competed to “seed” their solutions and collect the highest number of robocalls.

         Each of the four challenges provided the Commission with an opportunity to promote

 industry dialogue and innovation in combatting illegal robocalls, develop industry partnerships,


         49
                 See https://www.nomorobo.com/ (last visited Sept. 22, 2017) and Robocall Strike Force,
 Robocall Strike Force Report at 17-18 (April 28, 2017), https://www.fcc.gov/file/12311/download
 (“Strike Force Report II”) at 17-18.
         50
                 A robocall honeypot is an information system designed to attract robocallers and help
 investigators and academics understand and combat illegal calls. For more information on the Zapping
 Rachel challenge see https://www.ftc.gov/news-events/contests/zapping-rachel.
         51
                 For more information on the Detectarobo challenge see https://www.ftc.gov/news-
 events/contests/detectarobo.
         52
                 For more information on the Robocalls: Humanity Strikes Back challenge, see
 https://www.ftc.gov/news-events/contests/robocalls-humanity-strikes-back.



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 and refine its understanding of the robocall problem and potential solutions. More importantly,

 the challenges contributed to a shift in the development and availability of technological

 solutions in this area, particularly call-blocking and call-filtering products. A number of voice

 service providers now offer call-blocking or call-filtering products to some or all of their

 customers. 53 In addition, there are a growing number of free or low-cost apps available for

 download on wireless devices that offer call-blocking and call-filtering solutions. 54

                 2. Coordinating with Technical Experts, Industry, and Other Stakeholders

         The FTC provided input to support the industry-led Robocall Strike Force, which is also

 working to deliver comprehensive solutions to prevent, detect, and filter unwanted robocalls. 55

 In tandem with this effort, the FTC worked with a major carrier and federal law enforcement

 partners to help block IRS scam calls that were spoofing well-known IRS telephone numbers.

         53
                   For example, in late 2016 AT&T launched “Call Protect”, which is a product available to
 many AT&T wireless customers that blocks fraud calls and flags others as potential “spam.” See
 http://about.att.com/story/att_call_protect.html. T-Mobile offers its wireless customers two free
 products, “Scam ID” and “Scam Block”, that flag and block unwanted calls. See http://explore.t-
 mobile.com/callprotection (last visited Sept. 22, 2017). Verizon offers a product called “Caller Name ID”
 to its wireless customers that also attempts to flag and block unwanted calls. See
 https://www.verizonwireless.com/solutions-and-services/caller-name-id/. In addition, a number of
 carriers make Nomorobo available to their VoIP or cable line customers. See, e.g.,
 https://www.fcc.gov/consumers/guides/stop-unwanted-calls-texts-and-faxes (listing available call
 blocking resources from a number of wireline providers) (last visited Sept. 22, 2017).
         54
                  The Cellular Telecommunications Industry Association (CTIA) maintains a list of some
 of the available call blocking apps, both for iOS devices: https://www.ctia.org/consumer-
 tips/robocalls/ios-robocall-blocking and for Android devices: https://www.ctia.org/consumer-
 tips/robocalls/android-robocall-blocking (last visited Sept. 22, 2017).
         55
                  The Robocall Strike Force developed in response to a call from the FCC to make better
 call blocking solutions available to consumers, quickly, and free of charge. See Robocall Strike Force,
 Robocall Strike Force Report at 1 (2016), https://transition.fcc.gov/cgb/Robocall-Strike-Force-Final-
 Report.pdf. The FTC has long been a proponent of call blocking services as a critical tool to reduce
 unwanted calls and robocalls and strongly supports the Strike Force’s efforts. See e.g., FTC Staff,
 Comments Before the Federal Communications Commission on Public Notice DA 14-1700 Regarding
 Call Blocking, CG Docket No. 02-278; WC Docket No. 07-135 (Jan. 23, 2015), available at
 https://www.ftc.gov/policy/policy-actions/advocacy-filings/2015/01/ftc-staff-comment-federal-
 communications-commission.



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 The Strike Force expanded this effort and it contributed to a drop in IRS scam calls at the end of

 2016. 56

            The Strike Force also found that, while several providers and third parties offered call-

 blocking products, there was no widespread call-blocking solution spanning the networks. In

 order to provide proactive call-blocking services to customers, the Strike Force sought

 clarification from the FCC that “blocking presumptively illegal calls is one of the tools carriers

 are permitted to use to provide consumers additional relief.” 57 In response, this spring the FCC

 issued a Notice of Proposed Rule Making and Notice of Inquiry that seeks to expand the

 categories of calls that voice service providers are authorized to block and invites comment on

 what types of standards should govern providers engaged in call blocking. 58 The FTC filed a

 comment in response, supporting the NPRM’s efforts to expand the categories of calls that voice

 service providers are authorized to block and encouraging the FCC to allow for some provider

 flexibility when considering standards to govern provider-based blocking of presumptively-

 illegal calls. 59


            56
                   See Robocall Strike Force, Robocall Strike Force Report at 32-33 (2016),
 https://transition.fcc.gov/cgb/Robocall-Strike-Force-Final-Report.pdf.
            57
                     See id. at 40.
            58
                 Specifically, the FCC’s NPRM sought input on rulemaking proposals that would
 authorize two categories of provider-based call blocking: 1) when the subscriber to a particular telephone
 number requests that telecommunications providers block calls originating from that number; and 2)
 when the originating number is invalid, unallocated, or unassigned. See Advanced Methods to Target and
 Eliminate Unlawful Robocalls, Notice of Proposed Rulemaking and Notice of Inquiry, CG Docket No.
 17-59, FCC 17-23 (released Mar. 23, 2017), published in 82 Fed. Reg. 22625 (May 17, 2017).
            59
                 See Comment of the FTC to the Federal Communications Commission, Advanced
 Methods to Target and Eliminate Unlawful Robocalls, Notice of Proposed Rulemaking and Notice of
 Inquiry, CG Docket No. 17-59, FCC 17-23 (July 3, 2017), available at
 https://www.ftc.gov/system/files/documents/advocacy_documents/ftc-staff-comment-federal-
 communications-commission-supporting-fccs-proposed-expansion-
 provider/ftc_comment_to_fcc_re_nprm_noi_call_blocking_07032017.pdf. As call-blocking technology


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         The FTC also has engaged with technical experts, academics, and others through industry

 groups, such as the Messaging, Malware and Mobile Anti-Abuse Working Group (“M3AAWG”).

 M3AAWG is a consortium of industry, regulators, and academics focused on developing

 solutions to mitigate various forms of messaging abuse such as email spam. 60 After discussions

 with the FTC and others, M3AAWG leadership formed the Voice and Telephony Abuse Special

 Interest Group (“VTA SIG”) in 2014, a subgroup formed to apply M3AAWG’s expertise on

 messaging abuse to voice spam, such as robocalls. 61

         Through the VTA SIG, the FTC coordinates with experts working on industry standards

 that will combat Caller ID spoofing by enabling the authentication of VoIP calls, such as the

 Internet Engineering Task Force’s working group called “STIR”—Secure Telephone Identity

 Revisited. 62 The FTC further promotes technical advancements by collaborating with its

 counterparts in other countries, through its leadership in the Unsolicited Communications

 Enforcement Network (“UCENet”) an international syndicate of government agencies and

 private sector representatives focused on international spam enforcement cooperation. 63




 gains momentum, the FTC is mindful about concerns that bad actors may place telemarketing calls while
 spoofing an innocent consumer’s telephone number as the outbound caller ID number in an effort to
 evade detection or that the inadvertent blocking of legitimate calls may occur. These concerns were also
 raised by the FCC and addressed in the FTC’s Comment.
         60
                 See M3AAWG, Activities, https://www.m3aawg.org/ (last visited Sept. 22, 2017).
         61
               See M3AAWG, Voice and Telephony Abuse Special Interest Group,
 https://www.m3aawg.org/voice-and-telephony-abuse-sig (last visited Sept. 22, 2017).
         62
                  See Internet Eng’g Task Force, Secure Telephone Identity Revisited (STIR),
 https://datatracker.ietf.org/wg/stir/charter/ (last visited Sept. 22, 2017).
         63
                 See https://www.ucenet.org/ (last visited Sept. 22, 2017).



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                             3. Data Initiatives

         The Commission also engages in information sharing to help facilitate technological

 solutions such as call blocking and has taken steps to increase the quality and quantity of shared

 information. To that end, on September 28, 2016, the FTC updated its Do Not Call complaint

 intake process to provide a drop-down list of possible call categories for consumers to choose

 from to make it easier for consumers to report the subject of the call and to help the Commission

 identify trends. The top six categories selected to date by consumers are the same for Do Not

 Call complaints and robocall complaints:

         Reducing your debt (credit cards, mortgage, student loans)

         Dropped call or no message

         Vacation & timeshares

         Warranties & protection plans

         Calls pretending to be government, businesses, or family and friends

         Medical & prescriptions

         In addition to refining our complaint intake process, the FTC recently began a new

 initiative to help facilitate industry call-blocking solutions by increasing the amount and

 frequency of consumer complaint data that we make publicly available. 64 Beginning in August

 of this year, when consumers report Do Not Call or robocall violations to the FTC, the phone

 numbers consumers report are released each business day. The FTC is also releasing the

 following consumer-reported data: the date and time the unwanted call was received, the general

 subject matter of the call (such as debt reduction, energy, warranties, home security, etc.), and

         64
                  See https://www.ftc.gov/news-events/press-releases/2017/08/ftc-escalates-fight-against-
 illegal-robocalls-using-consumer. The complaint data is available at: https://www.ftc.gov/site-
 information/open-government/data-sets/do-not-call-data.



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 whether the call was a robocall. 65 By making our available data more up-to-date and more

 robust, the FTC seeks to help telecommunications carriers and other industry partners that are

 implementing call-blocking solutions for consumers that choose to use a call-blocking service or

 feature.

            The Commission is committed to continuing to work with industry and government

 partners to improve information sharing to combat illegal calls.

     III.        Consumer Education

            Public education is also an essential tool in the FTC’s consumer protection and fraud

 prevention work. The Commission’s education and outreach program reaches tens of millions of

 people a year through our website, the media, and partner organizations that disseminate

 consumer information on the FTC’s behalf.

            The FTC delivers practical, plain language information on numerous issues in English

 and in Spanish. The Commission also uses law enforcement announcements as opportunities to

 remind consumers how to recognize a similar situation and report it to the FTC. In the case of

 robocalls, the FTC’s message to consumers is simple: if you answer a call and hear an unwanted

 recorded sales message—hang up. Period. Other key messages to consumers include how to

 place a phone number on the Do Not Call Registry, how and where to report illegal robocalls, 66

 available call blocking solutions, 67 and how to identify common scams. 68       The FTC


            65
                In the past, the Commission released a bi-weekly report that published only the telephone
 numbers that consumers complained about in their Do Not Call and robocall complaints.
            66
                 See, e.g., National Do Not Call Registry, http://www.consumer.ftc.gov/articles/0108-
 national-do-not-call-registry.
            67
                See, e.g., FTC Consumer Information Blocking Unwanted Calls
 https://www.consumer.ftc.gov/articles/0548-blocking-unwanted-calls.



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 disseminates these tips through articles, 69 blog posts, 70 social media, 71 infographics, 72 videos, 73

 audio, 74 and campaigns such as “Pass It On”—an innovative means of arming older consumers

 with information about scams that they can “pass on” to their friends and family members. 75

     IV.        Next Steps and Conclusion

           The Do Not Call Registry continues to help protect consumers against unsolicited calls

 from legitimate telemarketers. But, as technology continues to develop and fraudsters exploit

 those developments, we must remain agile and creative. The Commission will continue its

 multifaceted efforts to fight illegal robocalls, including the following actions:

     •     Continue Aggressive Law Enforcement

                o We will maintain our enforcement efforts, in coordination with state, federal, and
                  international partners, to target high-volume offenders and pursue robocall
                  gatekeepers in order to stop the largest number of illegal calls.



           68
                   See, e.g., FTC Consumer Information Scam Alerts, https://www.consumer.ftc.gov/scam-
 alerts.
           69
                   See, e.g., FTC Robocall Microsite, http://www.consumer.ftc.gov/features/feature-0025-
 robocalls.
           70
                See, e.g., FTC Consumer Information Blog, Looking to Block Unwanted Calls?
 https://www.consumer.ftc.gov/blog/looking-block-unwanted-calls.
           71
                 See, e.g., FTC Robocalls Facebook Q&A Transcript (Oct. 25, 2012),
 https://www.ftc.gov/sites/default/files/attachments/ftc-facebook-chats/1210robocallschallenge-fb.pdf.
           72
                 See, e.g., FTC Robocalls Infographic,
 https://www.ftc.gov/sites/default/files/documents/public_events/robocalls-all-rage-ftc-summit/pdf-0113-
 robocalls-infographic.pdf.
           73
                   See, e.g., FTC Video and Media, http://www.consumer.ftc.gov/media.
           74
                See, e.g., FTC Consumer Information Audio, “Hang Up on Robocalls,”
 http://www.consumer.ftc.gov/media/audio-0045-hang-robocalls.
           75
                   See Pass It On, http://www.consumer.ftc.gov/features/feature-0030-pass-it-on#identity-
 theft.



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            o We will work with the telecommunications industry, encouraging carriers to be
              proactive in monitoring for illegal robocalls, blocking illegal calls, and securing
              the information necessary for prosecutions.

    •   Spur Innovation

            o We will work with industry leaders and other experts to further stimulate the
              development of technological solutions to protect consumers from illegal
              robocalls.

            o We will continue to encourage industry-wide coordination to create and deploy
              VoIP standards that incorporate robust authentication capabilities. Such
              coordination is the only way to ensure a future phone system with accurate and
              truthful calling information.

    •   Engage in Ongoing Consumer Education

            o We will continue our broad outreach to consumers regarding the Do Not Call
              Registry as well as illegal robocalls and how best to fight them.

 Thank you for the opportunity to share some of the highlights regarding the FTC’s battle against

 illegal robocalls. We look forward to working with you on this important issue.




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                                                       FILING ID: C3D9F8F684EAD
                                                       CASE NUMBER: 2021CV30074




                     Pennsylvania Attorney General Josh Shapiro

          Testimony before the United States Senate Special Committee on Aging

                                    October 4, 2017




                                                                                 Exhibit
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    Introduction

            Chairman Collins, Ranking Member Casey, and members of the Committee, I am
    Josh Shapiro, Attorney General for the Commonwealth of Pennsylvania. Thank you for
    inviting me to speak with you today about what my office is doing to keep senior citizens
    safe from scam artists and financial predators and what steps the Federal government can
    take to further protect the elderly from financial exploitation.

            The well-being of our nation’s 47 million seniors is an important issue. As an
    elected official from Pennsylvania, it is particularly important to me. Pennsylvania has
    one of the highest populations of seniors over the age of 65 in the country: there are 2.2
    million seniors in Pennsylvania—the fifth highest number in the U.S.—accounting for
    over 17 percent of our total population. And our population of seniors is only expected to
    grow, increasing by 25 percent by 2020.

           As the chief law enforcement officer of the Commonwealth of Pennsylvania, I am
    responsible for protecting all Pennsylvanians in their roles as consumers. My
    responsibilities range from antitrust to home improvement contractors, from civil rights
    to managing our state’s Do Not Call list. Protecting vulnerable seniors from unscrupulous
    scammers is one of my most important duties.

             In my testimony today, I would like to cover three main topics: (1) seniors’
    vulnerability to scams and the impact scams have on them; (2) IRS impersonation scams;
    and (3) Pennsylvania’s Do Not Call registry, which complements the federal system, and
    its effect on robocalls.

    Seniors’ vulnerability to scams

           Senior citizens are specifically targeted for fraud and scams more than any other
    age group. Many of the most common scams are tailor-made for their specific life
    circumstances, including those involving Medicare, prescription drugs, funerals, anti-
    aging products, and grandparent scams. Understanding why seniors are vulnerable, and
    why they’re being targeted, is necessary to developing solutions to better protect them.

    Why seniors are more vulnerable

            Seniors are now easier to reach than ever: according to a recent study from Pew
    Research Center, 67 percent of seniors have some form of internet access; 74 percent live
    in homes with computers; 51 percent access the internet through high-speed connections;
    and 34 percent of seniors who use the internet use social media (such as Facebook),
    making them even easier for scammers to locate and contact. Compounding this is
    seniors’ comfort with conducting financial transactions online. Whereas 15 years ago,
    online financial transactions were relatively rare and viewed by the general public with
    skepticism, a recent study indicates that today 41 percent of seniors bank online, 26
    percent pay their bills online, and 21 percent file their taxes online.

           This is also the wealthiest generation of seniors perhaps ever. According to
    Nielsen, they have a median net worth of $241,333. That’s 34 percent more than the

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    “War Babies” generation (born 1936 -1945) and 39 percent more than “Depression
    Babies” (born 1926-1935). In the words of the AARP, a scammer would “have to be an
    idiot to turn [their] back on this humongous market.”

    Impact

            The combination of scammers’ greed and seniors’ vulnerability has resulted in
    significant financial losses for America’s elderly. Over a third of seniors have
    experienced some form of financial abuse, including scams. Victims lose an average of
    $36,000. While it is difficult to calculate, our best estimates indicate that American
    seniors lose over $3 billion each year to scams and abuse. Two-thirds of seniors report
    having been victimized online: 38 percent have been targeted for online scams, and 28
    percent have mistakenly downloaded a virus.

            Discussing the impact of these scams in terms of billions of dollars or percentages
    of victims obscures the real impact on individuals. The loss of even a few thousand
    dollars can be devastating to a senior citizen. Nearly a million seniors in the United States
    have been forced to skip meals because they lost money to a scammer.

    NAAG focus

            Protecting seniors from scams and fraud is an important issue in every state, and
    attorneys general are making it a top priority. In August, the new president of the
    National Association of Attorneys General (NAAG), Kansas Attorney General Derek
    Schmidt, announced that NAAG will spend the next year focusing on “strengthening
    efforts nationwide to combat elder abuse.” To quote Attorney General Schmidt, “There is
    no partisan divide on the commitment of state attorneys general to protecting seniors and
    combating elder abuse in all its forms.”

    OAG’s efforts

            The Pennsylvania Office of Attorney General (OAG) dedicates significant
    resources to consumer protection. Of our nearly 20,000 complaints from consumers each
    year, one third come from seniors in our Commonwealth. OAG receives and investigates
    complaints from seniors regarding:

               •    Purchase of goods and services (e.g. automobiles, pets, and insurance)
               •    Deceptive trade practices (e.g. false advertising or odometer tampering)
               •    Health care (e.g. health insurance service denials)
               •    Home improvement contractor scams
               •    Identity theft
           In addition to this reactive work, OAG conducts proactive educational outreach to
    prevent seniors from becoming victimized in the first place. We have a dedicated Office
    of Public Engagement that manages this programming. Examples of some of our
    presentations most of interest to seniors are:

               •    Scams, fraud and identity theft education

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               •   Senior Crime Prevention University, a specialized series of educational
                   sessions for seniors to identify and avoid scams
               •   Cyber security for seniors
          Finally, OAG manages Pennsylvania’s Do Not Call list, which guards against
    unwanted marketing calls.

            Throughout these various efforts, the most common complaints we receive from
    seniors are about violations of the Do Not Call list, including robocalls. The next most
    frequent complaints are about telecommunications and broadcast issues (including
    television and internet service providers), home improvement contractor issues, and
    scams like IRS impersonation.

    IRS impersonation scams

            IRS impersonation scammers call people and falsely claim to represent the
    Internal Revenue Service. The callers will claim that back taxes are owed by the
    recipient, threaten to have them arrested, and demand payment (usually via wire transfer).
    Last year, my office received 881 complaints about and IRS impersonation scams, 62
    percent of which were from seniors.

            Fortunately, most Pennsylvanians are able to recognize these calls as fraudulent.
    In the past, it helped to know that the IRS did not call people about their taxes, and that
    they only sent letters; however, as of April, Congress authorized the IRS to begin
    contracting out some of its debt collection work to private debt collectors who do make
    phone calls, which takes this defensive knowledge away. While there are some safety
    measures in place, like a passcode sent by mail that the caller must provide to a senior, I
    fear that ending the simple rule that the IRS will not call opens the door to more
    successful scams by sophisticated con artists.

    John’s story

            In May of this year, agents in my office received a complaint from a man from the
    Pittsburgh area. I will call him “John” to protect his identity, as this investigation is
    ongoing. John received a call from a 1-866 number who claimed to be an IRS employee.
    The caller said that an arrest warrant had been issued for John because he sends money to
    his wife and child in a foreign country. The purported IRS employee said that John would
    soon receive a call from the local police department and instructed him on how to merge
    the calls. Shortly thereafter, John received a call from a number that his caller ID showed
    as coming from Pennsylvania State Police Headquarters.

           The callers threatened John and said that his only way out of the situation was to
    send money to help pay for the investigation to clear his name. The money, they said,
    would be refunded to John after the investigation was complete.

            John believed them, since they appeared to be calling from legitimate phone
    numbers. He was instructed to send six different payments from four different
    locations—Walmart, CVS, Western Union, and Rite Aid—over two days. In total, he lost

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    $13,500 because he truly believed he was speaking with tax authorities and wanted to
    clear his name. John’s story demonstrates just how manipulative and devastating IRS
    impersonation scams can be.

    OAG’s efforts – grassroots education

             Unfortunately, cases like John’s can be difficult to prosecute. Anonymous
    criminals hiding behind spoofed phone numbers using shady financial transactions leave
    little for law enforcement to work with. That’s why one of the best approaches to battling
    scams like this is preventative education.

            My office takes a grassroots approach to educating seniors on how to identify and
    avoid scams like the IRS impersonation scam. Each year, we hold around 250 events all
    across Pennsylvania, reaching 14,000 seniors. Additionally, we hold 50 events on
    identify theft for people of all ages that reach approximately 5,000 additional seniors.
    These presentations teach seniors about a wide variety of scams and how to recognize
    and avoid them. We have also begun to incorporate materials on how to be safe while
    using the internet, as more and more seniors go online each year.

           Many seniors are aware of the most well-known scams. As a result, these scams
    have very low success rates. This Committee estimated that last year one million
    Americans were targeted with the IRS impersonation scam, yet only 5,000 were
    victimized—a 0.5 percent success rate. However, many scams are not well-known, and
    new scams are popping up on a regular basis. So during our info sessions, we focus on
    communicating two crucial strategies for avoiding scams.

            The first is an easy way to remember how to recognize a scam. Our agents have
    developed a pneumonic around the word “scam” itself: Sudden Contact, Act now, Money
    or information required. We tell seniors that if they are suddenly contacted by someone
    that they weren’t expecting, and that person is demanding that they act immediately by
    sending money or information, then it is likely a scam.

            The second is a simple, yet effective technique. If you don’t recognize a phone
    number that’s calling you, let it go to voicemail or your answering machine. Especially
    for seniors with diminished mental faculties, taking the time to listen to a message a
    couple of times, think about it, and even ask someone else for their advice can be the
    difference between avoiding a scam and losing thousands of dollars to a criminal.

    Pennsylvania’s Do Not Call list and robocalls

           Under Pennsylvania’s Telemarketer Registration Act, my office administers a free
    Do No Call list service for both landlines and mobile phones. Pennsylvanians can sign up
    by completing a simple form on our website. We collect those numbers into a list that
    businesses must reference before placing solicitation calls.

            There are currently 3.5 million Pennsylvanians registered on the Do Not Call list
    out of a population of 12.5 million, nearly 30 percent. The list contains 2.8 million phone


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    numbers. The number of registered numbers is lower than registered individuals because
    multiple people from the same household can register the same phone number.

            Despite the wide use of Pennsylvania’s Do Not Call list, we receive thousands of
    complaints each year alleging unlawful telemarketing, robocalls, and scam calls. Last
    year, we received over 7,000 complaints, nearly 4,000 of which were from seniors. Many
    seniors that we talk to feel that the Do Not Call list is ineffective because they still
    receive unwanted marketing calls.

             The Do Not Call list is not a panacea. While nearly every business complies with
    its restrictions, there continue to be a handful of bad actors who ignore it. There are also
    some major exceptions to the restrictions: political campaigns and nonprofits are not
    subject to the Do Not Call list, and any business that has had a business relationship with
    an individual in the last 12 months may disregard their placement on the Do Not Call list.
    Scammers also ignore the Do Not Call list; after all, it’s often the least of the many
    crimes they’re committing.

          Still, the fact is that the Do Not Call list drastically reduces the number of
    unwanted calls that seniors receive and makes it easier for them to ignore calls from
    unknown numbers.

             Again, our office recommends that seniors let any unknown number go to
    voicemail. This strategy lets them assess the validity of the call. Answering a call also
    lets the company calling know that the number is still active, and they’ll keep it on their
    list to call again. Devices that screen calls automatically are also helpful in reducing
    seniors’ vulnerability to scams.

    OAG’s efforts

             In 2016, my office received 4,473 consumer complaints specifically relating to
    the Do Not Call list. Since then, my office has issued 2,141 subpoenas to phone carriers
    to try to locate calling parties. However, this resulted in only four legal actions,
    highlighting how difficult it is to pursue these cases. When we are able to build a
    complaint, though, we can build strong cases and obtain meaningful relief for those
    affected.

            For example, last year my office took action against a man from Oregon named
    Richard Paul, alleging violations of Pennsylvania’s Unfair Trade Practices and Consumer
    Protection Law and Pennsylvania’s Telemarketer Registration Act. Our office alleged
    that Mr. Paul obtained telephone numbers for the purposes of conducting marketing calls.
    Many of the people he called were on Pennsylvania’s Do Not Call list; our office
    received several complaints about his conduct as a result, including from seniors. This
    case is still pending; we are currently seeking remittances of $100 per affected consumer
    and civil penalties of $1,000 per violation or $3,000 per violation against a senior.




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    Steps the Federal Government can take to protect seniors

    Prevent IRS private debt collectors from calling

            As mentioned earlier, we used to be able to tell seniors that if someone was
    calling claiming to be from the IRS, then it was a scam—period—because the IRS does
    not call anyone. However, with the IRS’s new private debt collection practices that began
    in April, it is possible for people to receive legitimate calls seeking to collect on debts to
    the IRS. This is causing confusion in our communities, and has removed a crucial method
    of self-defense.

             Congress should look closely at the effects of permitting debt collectors working
    on behalf of the IRS to make telephone calls to people from whom they are collecting
    debt. The IRS has used other means for decades and never felt the need to turn to phone
    calls. I believe their debt collectors should adhere to the same practices.

    Give telephone companies the tools to block scammers

             According to the Consumer Sentinel Network Data Book for January-December
    2015, 75 percent of consumers who filed fraud-related complaints and reported how the
    fraud was perpetrated indicated they were contacted by telephone. This is more than nine
    times the number reporting fraud initiated by e-mail (eight percent) and more than 12
    times the number of those reporting fraud triggered by the internet (six percent). This
    statistic reveals that the telephone remains a potent instrument for criminals who are
    intent upon defrauding consumers.

            I appreciate and applaud the efforts of the telecom industry to try to stop
    scammers in their tracks. I recognize the difficult balance that they must achieve between
    maintaining free and open lines of communication for all Americans and closing off
    avenues for harassment and scams. As is the nature of nearly every criminal activity, it is
    a constant battle to keep up with new methods and new technologies used by bad actors
    to circumvent the systems in place to protect us.

             That’s why the federal government needs to give telephone service providers the
    ability to block several kinds of “spoofed” calls (in which scammers mimic the phone
    numbers of legitimate businesses on the receiving party’s caller ID). In July, I joined a
    bipartisan coalition of 29 attorneys general from across the country to submit a formal
    comment to the Federal Communications Commission asking them to allow telephone
    companies to block certain robocalls and spoofed calls.

            As we said in our FCC comment, telephone companies should be able to block
    calls originating from “spoofed” or invalid numbers, unallocated numbers, and numbers
    whose owners have requested be blocked. For example, phone providers would be able to
    block a scammer that is using a telephone number that clearly can’t exist because it
    hasn’t been assigned. Legitimate businesses do not need to use any of these spoofing
    methods to contact consumers. Allowing providers to block these calls would stymie
    scammers without burdening businesses.


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             I know Senator Casey shares my views on this issue. He and I are sending a joint
    letter to the FCC today to implement their proposed rule without further delay. It has
    been nearly eight months since the FCC first proposed the rule. During that time, it is
    likely that 19 billion calls have been placed using robocalling technology. We need the
    FCC to help us put a stop to these harassing and predatory calls.

    Conclusion

           Thank you Chairman Collins, Ranking Member Casey and all the members of this
    committee for holding this hearing and highlighting the issue of scams and fraud against
    our seniors. This is a top priority for my office and I appreciate your focus on it here in
    Washington. I look forward to answering any questions you may have.




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                                                           CASE NUMBER: 2021CV30074




     APRIL 18, 2018


     On April 18th I testified before the U.S. Senate Committee on Commerce,
     Science, and Transportation this week on the issue of robocalls. During
     the testimony, I emphasized the increasing number of tools available to
     consumers to label and block robocalls, including many deployed by
     USTelecom's member companies.


       Testimony of Kevin Rupy, Vice President, Law and Policy, USTelecom

                                          before the


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         The U.S. Senate Committee on Commerce, Science, and
                            Transportation

     "Abusive Robocalls and How We Can Stop Them" April 18, 2018




 Chairman Thune, Ranking Member Nelson, Members of the Committee,
 thank you for giving me the opportunity to appear before you today.


 My name is Kevin Rupy, and I serve as Vice President of Law and Policy
 at USTelecom. Over the last several years, USTelecom and our member
 companies have been tremendously focused on the robocall issue, and
 we share the Committee's concern about the problems associated with
 phone-based impostor scams targeting consumers. Scammers can use
 Caller ID spoofing to mask their identity and location, giving their target a
 false sense of confidence about who is calling.


 In this ongoing battle against criminal robocallers, there have been four
 important developments over the last year that are particularly
 significant.


 First, the industry-led, ecosystem-wide Robocall Strike Force issued its
 report to the Federal Communications Commission on October 26,
 2016. Comprehensive follow-up reports by the industry groups
 continuing the work started by the Strike Force were delivered to the
 FCC last year on April 28, 2017. These reports, taken together, catalogue
 industry's substantial efforts to advance the battle against illegal
 robocalls. These reports hold a significant amount of good news for
 consumers. For example, the reports note that the SHAKEN/STIR
 standards development for the next generation of robocall mitigation
 tools that the industry had initiated prior to the Robocall Strike Force,
 were accelerated by six months. These standards, which incorporate
 caller-ID authentication capabilities into the network and consumer
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 devices, have entered the industry testing phase. In addition, the North
 American Numbering Council (NANC) - a Federal Advisory Committee
 that counsels the FCC on numbering issues - is nearing completion of its
 recommendation to the FCC on the SHAKEN governance framework.
 Some of the initial testing of the SHAKEN standard is expected to
 complete later this year, with potential deployments anticipated later this
 year and in 2019.


 T he reports also highlight the increasing number of tools that are being
 developed and actively deployed to consumers, by a growing number of
 national voice and device providers. Finally, the reports detail the efforts
 of USTelecom's Industry Traceback Group, which is comprised of a broad
 range of network providers from the cable, wireline, wireless and
 wholesale industries, who are working collaboratively in order to identify
 the origin of these calls at their source. Industry's strong commitment to
 this effort can be seen its significant growth over the last year, from just 3
 carriers in July, 2016, to 22 providers as of today.


 Second, the reports shows that USTelecom member companies,
 independent application developers and a growing number of diverse
 companies offer services today that can help older Americans reduce
 unknown and potentially fraudulent calls. For example, AT&T has
 launched its 'Call Protect' service that allows customers with iPhones
 and HD Voice enabled Android handsets to automatically block
 suspected fraudulent calls. AT&T also offers AT&T Digital Call Protect for
 IP wireline phones. Verizon's new Spam Alerts service provides its
 wireline customers who have Caller ID - whether they are on copper or
 fiber - with enhanced warnings about calls that meet Verizon's spam
 criteria by showing the term "SPAM?" before a caller's name on the
 Caller ID display. And on the wireless side, Verizon has deployed and
 continues to expand robocall mitigation features as part of its Caller
 Name ID service, including a spam filter that automatically forwards to

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 voicemail any calls corresponding to the spam risk level selected by the
 customer.


 And various carriers have worked with Nomorobo to facilitate their
 customers' ability to use that third-party blocking service, such as
 Verizon's "one click" solution that simplifies customers' ability to sign up
 for the service. In fact, at a recent joint FCC and FTC robocall workshop,
 it was noted that since 2016, there has been a 495% increase in
 smartphone applications alone for addressing robocalls.


 Third, the FCC recently adopted rules allowing voice providers to block
 certain types of calls. USTelecom supported adoption of the rules and
 participated fully in the proceeding. One issue the FCC raised is what
 protections legitimate callers should have if their calls are blocked due to
 the inappropriate scoring of their call. That is an important topic both for
 situations where voice providers block numbers directly, and for blocking
 services that consumers may opt into in order to block or filter potentially
 unwanted calls. It is an issue USTelecom and its members, and other
 parts of the robocall labeling/scoring ecosystem, have been wrestling
 with for years, and this fall we hosted a workshop aimed at helping
 develop "best practices" for the scoring and labelling of calls. A follow­
 up workshop is scheduled next month.


 Finally, we applaud our federal government partners in the robocall fight,
 who have engaged in a series of enforcement actions against bad actors
 that have reinvigorated efforts to curb this illegal activity. For example,
 the FCC last year initiated enforcement actions against three entities that
 have resulted in more than $200 million in proposed fines targeting
 perpetrators of illegal robocalling. The FTC also continues to engage in
 a series of complementary enforcement actions that target the worst of
 the worst bad actors in this space. These civil enforcement actions
 brought by both agencies send a strong and powerful message to illegal
 robocallers that they will be located and brought to justice. USTelecom
                                                                   EXHIBIT
 and its industry partners stand ready to further assist in these efforts to A
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 bring this bad actors to justice. Indeed, the ultimate goal of USTelecom's
 Industry Traceback Group is to identify the source of the worst of these
 illegal calls, and further enable further enforcement actions by federal
 agencies.


 While current federal enforcement efforts are laudatory, they are mostly
 limited to civil enforcement. We believe there is an acute need for
 coordinated, targeted and aggressive criminal enforcement of illegal
 robocallers at the federal level. As a result, bad actors currently
 engaged in criminal robocall activities are - at most - subject only to civil
 forfeitures. Given the felonious nature of their activities, criminal
 syndicates engaged in illegal robocalling activity should be identified,
 targeted and brought to justice through criminal enforcement efforts. We
 believe, in particular, that U.S. Attorneys' offices across the country
 should prioritize enforcement where federal statutes, such as the Truth in
 Caller ID Act, are implicated, and should work closely with the FCC and
 FTC and international partners in enforcement cases, particularly when
 the calls originate outside of the United States. While a holistic approach
 is essential to broadly address the issue of robocalls, robust
 enforcement efforts targeting illegal robocallers are most effective since
 they address the activity at the source. For example, consumer-centric
 tools may stop a series of calls from reaching tens of thousands
 consumers, whereas root-cause removal stops millions of calls from ever
 being sent.


 All these recent developments further demonstrate the essential
 commitment from a broad range of stakeholders that will be necessary
 to effectively mitigate and defeat these scammers. Indispensable
 industry stakeholders from a wide range of companies - including cable,
 wireline, wireless, and wholesale providers, as well as standards
 organizations, equipment manufacturers and apps developers - have
 advanced a concerted, broad-based, effort focused on developing
 practices, technologies and methods for mitigating phone-based attacks
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 and scams. This coalition has also expanded its cooperation with
 equally important stakeholders within the federal government and with
 consumer groups. While our partners in government play a crucial
 enforcement role, our partners in consumer organizations are vital to
 raising awareness about the tools available to consumer to help mitigate
 illegal robocalls.


 Industry efforts to address the illegal robocall issue remain ongoing and
 extremely energized. Importantly, these efforts are being undertaken by
 the necessary broad range of industry stakeholders, including
 representatives from the wireline, wireless, wholesale, cable and app
 developer community, as well as critically important standards
 organizations. The results of these comprehensive industry efforts are
 detailed in the industry-led Strike Force report submitted to the Federal
 Communications Commission in April of last year. The collaborative
 efforts outlined in the report are highly detailed, extremely
 comprehensive and warrant more than a brief summary. In order for the
 Committee to gain a better and complete understanding of these efforts,
 USTelecom is submitting the April Strike Force Report as an addendum
 to this written testimony.


 In closing, let me again thank the Committee for holding this timely
 hearing. We share the Committee's concerns, and we look forward to
 our continued work together to address this constantly evolving
 challenge.




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                            PREPARED STATEMENT

                                       of

                                  Genie Barton
                                    President
                       BBB Institute for Marketplace Trust

                                  Hearing on
                                Robocall Scams

                                   Before the
                United States Senate Special Committee on Aging

                          Wednesday, October 4, 2017




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 Chairman Collins, Ranking Member Casey, Members of the Committee, thank you
 for giving me the opportunity to appear before you today.

 My name is Genie Barton, and I serve as President of the BBB Institute for
 Marketplace Trust (BBBI).

 I appreciate the opportunity to describe for the Committee BBBI’s ongoing work to
 fight scams. In the United States, 50 billion dollars are lost to scams every year. 1
 Data collected through our new, crowd-sourced BBB Scam Tracker tool has greatly
 enhanced our understanding of the nature of this intractable problem and how to
 combat it. In this testimony, I will summarize our recent work, including relevant
 insights from our research and reports, and provide data focused on scams that
 prey on seniors, including scams initiated by robocalls.

 BBBI is the 501(c)3 educational arm of the Council of Better Business Bureaus, the
 national umbrella organization of the more than 100 local Better Business Bureaus
 serving communities across North America. BBBI partners with and leverages the
 reach of the BBB network. Every BBB in North America participates in Scam
 Tracker, reviewing and screening each consumer report before it is entered in the
 central data base, which is powered by BBBI. 2 BBBI then publishes the reports.

 BBBI equips BBB staff with resources and training programs that help them to
 better serve their communities, particularly seniors. Grassroots senior educational
 programs have long been an important focus of BBB educational outreach, with
 scams being a major part of this outreach. Local BBB offices often have
 relationships with state agencies working to address the interests of seniors and
 relationships with senior centers in their communities. For example, the BBB
 located in Pittsburgh, Pennsylvania works through the Pennsylvania Department of
 Aging, and many of its over 90 presentations last year took place at senior
 community centers in its service area. BBBs power BBB Scam Tracker by reviewing
 each scam report, and they routinely field inquiries and share data with state and
 local law enforcement, especially Offices of State Attorneys General.

 For more than 100 years, BBB has been working to build a trustworthy marketplace
 where consumers and responsible businesses can prosper. In the United States, 50
 billion dollars are lost to scams every year. 3 There is, we believe, no greater threat
 to consumers and legitimate businesses than the fraud perpetrated by con artists.

 1
   Martha Deevy and Michaela Beals, The Scope of the Problem: An Overview of Fraud Prevalence Measurement,
 Financial Fraud Research Center, 2013. http://longevity.stanford.edu/wp-content/uploads/2016/07/Scope-of-
 the-Problem-FINAL_corrected2.pdf at 28.
 2
   The over 100 BBBs in North America vet the scam reports that originate in their service area, using both software
 and staff review to determine whether the consumer is reporting an event that a reasonable person would
 consider to be a scam or fraud. Only those reports are passed on to BBBI for publication in BBB Scam Tracker.
 Please note that we are not able to investigate and independently verify that an actual fraud has occurred, only
 that the allegations of fraud appear well-founded.
 3
   Martha Deevy and Michaela Beals, The Scope of the Problem: An Overview of Fraud Prevalence Measurement,
 Financial Fraud Research Center, 2013. http://longevity.stanford.edu/wp-content/uploads/2016/07/Scope-of-
 the-Problem-FINAL_corrected2.pdf at 28.

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 It not only robs both consumers and legitimate businesses, but it does far more
 harm. It humiliates the individual scam victim. It damages the reputation of ethical
 businesses whose identities scammers assume. Finally, scams erode consumer trust
 and engagement in the marketplace.

 BBB Scam Tracker

 BBB Scam Tracker (www.bbb.org/scamtracker) gave BBB a crowd-sourced, digitally
 powered, 21st-century tactical weapon to fight the age old battle against fraud and
 deception. Launched throughout the U.S. and Canada in September 2015, BBB
 Scam Tracker is an interactive tool for consumers to report scams and fraud and
 warn others of malicious activity. Consumer reports capturing the scam in the
 consumer’s own words are collected online and presented in a searchable online
 “heat map,” showing consumers the number and types of scams reported in their
 communities. The tool provides a window on the scam landscape, enabling data-
 driven consumer alerts and tips based on current information. Reports are shared
 with the Federal Trade Commission for inclusion in its Consumer Sentinel database,
 with the National Cyber Forensics and Training Alliance, and with law enforcement
 agencies on request for investigative purposes.

 Scam Tracker is well-positioned to operate as the pre-eminent consumer reporting
 tool about scams. Respondents to our 2016 survey of more than 2,000 individuals
 said they were more likely to turn to BBB to report scams than to anywhere else
 (including the police). A subsequent study by FINRA Foundation and Stanford
 Center for Longevity also found that BBB is the first organization the public thinks
 of to report a scam, providing independent verification. 4 To date, approximately
 83,000 5 scam reports have been published, and the rate of reporting per day has
 increased by 54% from 2016 to the end of September this year.

 BBB Scam Tracker’s crowd-sourced approach taps the altruistic impulse that
 frequently motivates consumer reporting activity of scams and fraud. When
 consumers are asked what would drive them to report a scam, nearly 50% indicate
 that they would do so to help make sure it did not happen to someone else. 6 When
 the report is published, the consumer who has reported the scam often feels
 empowered by having taken action and less like a mere “victim”. The consumer
 narratives drive home an important lesson—ordinary people like me get scammed.
 All of us are vulnerable. The impact of this reporting in warning others is amplified
 by our ability to connect reporters with individuals who are willing to be interviewed
 about their experiences.




 4
   Findings From a Pilot Study to Measure Financial Fraud in the United States, at 22,
 http://162.144.124.243/~longevl0/wp-content/uploads/2017/02/SCL-Fraud-Report-Feb-2017_Draft2.pdf.
 5
   See generally, Better Business Bureau, BBB Scam Tracker, https://www.bbb.org/scamtracker/us (last visited Sep.
 27, 2017).
 6
   Cracking the Invulnerability Illusion: Stereotypes, Optimism Bias, and the Way Forward for Marketplace Scam
 Education at 5, https://www.bbb.org/globalassets/shared/media/truth-about-scams/bbb-scamprogram-
 whitepaper-08-digital-0630.pdf

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 Figure 1: Motives for Reporting a Scam




 The data and stories we gather and share through BBB Scam Tracker also have
 given us the power to fight scams through new evidence-based research. This
 research gives us insight to better target and message our outreach to the general
 public and engages national and local media, boosting our effectiveness in raising
 public awareness. The reach and searchability of the Scam Tracker database also
 provides valuable assistance to law enforcement and regulators, and spurs
 academic researchers to add to our body of knowledge about scams.

 Our 2016 study, Cracking the Invulnerability Illusion: Stereotypes, Optimism Bias,
 and the Way Forward for Marketplace Scam Education, shattered previous
 stereotypes about vulnerability to scams. In the study we demonstrated that that
 negative stereotypes around scam victimization predominate. When asked to
 describe a scam victim, consumers’ responses were dominated by pejorative
 adjectives such as “naïve,” “stupid,” “gullible,” “uninformed,” and “old.” We found
 that 83% percent of respondents believed that they were less at risk of being
 scammed than others.

 Unfortunately, the belief that scams only happen to other people poses one of the
 biggest personal risks of all. Those who believe that it can’t happen to them are less
 likely to heed warnings about scam activity and are not alert to the possibility that
 a seemingly legitimate phone call or email was actually from a scammer. One proof
 point is that the age group most likely to fall for a scam is actually millennials, a
 fact not widely recognized before this study. However, while on the whole seniors
 recognize their vulnerability and are therefore more cautious, when they are
 scammed they are most likely to suffer the largest financial loss.

 While a number of studies have sought to understand the scope of the problem and
 the behavioral or psychological markers that distinguish scam victims, less has

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 been done to identify the knowledge and information that might be effective in
 preventing scam targets from becoming scam victims. With this in mind, our
 research was crafted to explore the contours of what a successful education and
 awareness campaign might look like. Nearly 80% respondents cited general
 knowledge of scam tactics and scam types as being most important in avoiding
 scams. 7 The insights about scam victimization that Scam Tracker provides are
 helping us to better focus educational efforts to more effectively alert consumers.

 In speaking to millennials and seniors alike, we strive to counter negative
 stereotypes with stories of real people that collectively convey the message that
 this can happen to anyone. We are all at risk and, by talking about our experiences,
 we help protect others with essential information about scam tactics and types. We
 empower ourselves, and we begin to chip away at some of the shame and stigma
 surrounding this issue.

 The statistical insights we have derived from Scam Tracker data are important, but
 the value of individual stories is immeasurable, as they make the problem real and
 convey the critical message that this can happen to anyone. These reports also help
 us to understand what messaging will be most likely to best alert consumers to
 common traps.

 BBB Risk Index

 In March of last year, BBBI release its first annual report of data gathered through
 BBB Scam Tracker, the 2016 BBB Scam Tracker Annual Risk Report. 8 With this
 report we introduced the BBB Risk Index, a new, more nuanced conceptualization
 of risk. Prior to the introduction of the Index, attempts to compare scam types by
 relative risk, including by BBB, have generally consisted of simple rankings by
 frequency of exposure. This volume-based approach failed to acknowledge the
 multifaceted nature of scam risk. In fact, the risk posed to a given population by a
 particular scam type can best be understood by considering three dimensions:
 exposure, susceptibility, and monetary loss. By combining all three, as we have
 done with the BBB Risk Index, we are able to gain a far more meaningful measure
 of the relative risk of a given scam type. In our Risk Report, we applied the Index
 formula to various subgroups, including seniors, to identify the scams that present
 the greatest risk to each group.

 To better understand the rationale for the Index, consider the broad spectrum of
 techniques employed across the scam landscape. On one end of the spectrum, a
 fraudster may employ a “wide net” approach. Robocalls, the subject of the hearing
 today, are an example of this technique. A scammer can inexpensively utilize
 robocalling technology to reach perhaps hundreds of thousands of individuals to
 find those few who would succumb to the ploy. While these scams reach a wide
 swath of the population, the susceptibility of those exposed is typically quite low.



 7
  Id at 12.
 8
  2016 BBB Scam Tracker Annual Risk Report: A New Paradigm for Understanding Scam Risk
 www.bbb.org/riskreport.

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 At the other end of the spectrum is the far more intensive “high-touch” approach,
 as is commonly seen with romance and investment scams. These scams reach
 fewer individuals, but those exposed are often more likely to be successfully
 conned. Monetary loss is a final critical element. A con that separates mere pennies
 from its victims may do tremendous overall harm if it impacts a large portion of the
 population, while a scheme with relatively few victims may be of even greater
 concern if median losses are extremely high. The Index captures these real-world
 elements by representing the intersection of exposure, susceptibility, and monetary
 loss.

 No law enforcement or regulatory agency has the resources to fight every scam.
 The Risk Index can help establish policy priorities and suggest resource allocation.
 The Risk Index can determine what are the greatest risks to a particular cohort of
 interest. In this testimony, we use the Risk Index to define the top 10 riskiest
 scams for seniors.

 Approximately 16% of reports to BBB Scam Tracker are from individuals over the
 age of 65. 9 By applying the BBB Risk Index discussed earlier, we are able to identify
 the following scam types as being the top 10 most risky for this cohort.

     1. Family/Friend emergency
     2. Tech Support
     3. Sweepstakes/Lottery/Prizes
     4. Travel/Vacations
     5. Investment
     6. Nigerian/Foreign Money Exchange
     7. Home Improvement
     8. Online Purchase
     9. Tax Collection
     10. Fake Check/Money Order




 9
   Data reported in this testimony is based on U.S. reports submitted to BBB Scam Tracker and published from the
 inception of Scam Tracker on February 13, 2015 through September 27, 2017, a period of approximately 20
 months, except where otherwise indicated. These data updates result in statistics that differ from data reported in
 the 2016 BBB Scam Tracker Annual Risk Report.


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 Figure 2 –Chart representing susceptibility, loss and exposure for top 10 risky
 scam types for the 65+ age category.




 For seven out of these top ten scam types, the method of initial contact was a
 telephone call. In fact, 71% of all scams reported by seniors age 65+ began with a
 call. However, when we only look at reports that involved a monetary loss (i.e.,
 where the target avoided the con), just 33% were initiated by telephone. This
 variance reflects the relatively low susceptibility levels common with telephone
 scams, particularly telephone scams that tend to be high-volume. For example,
 only 1 in 278 reports by seniors of the tax collection scam involved a dollar loss.
 Nonetheless, these scams are among the most risky to seniors due to high
 exposure levels and serious monetary losses.

 Our data show that when a senior loses money to a scam, the dollar loss is typically
 nearly 56% greater than losses incurred by younger individuals. The median
 reported loss by seniors is $390, while the median loss reported by those under the
 age of 65 is $250. The harm to retirees is further exacerbated because they are
 likely living on a fixed income.


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 Robocall Data

 While we ask individuals reporting a scam to indicate if the scam was initiated by
 telephone, we do not currently ask if a robocall was involved. We are therefore
 unable to provide precise information on the percentage of all scams reported to us
 that were initiated by robocalls. We will consider revising this question to shed
 greater light on the impact of scams initiated by robocalls.

 Fortunately, we do have the ability to search by keyword and have done so with
 respect to robocalls. The more than 400 mentions of the keyword “robocall” in
 consumer narratives about their experiences serve as a marker to help us
 understand which scams are most common among those perpetrated using this
 technology. The distribution of keyword “robocall” across scam types is represented
 in Figure 3.

 Figure 3 – Scam type distribution of reports with keyword “robocall” during the
 period of January 1st 2016 to June 20th 2017.




                                              Other
                                              11%
                                                          Tax Collection
                                                               20%
                                                                                             Credit Cards
                                                                                                 4%

                                Can You Hear Me?           Travel/Vacations
                                      34%                        12%


                                                                                       Sweepstakes,
                                                                                     Lotteries & Prizes
                                                                                            3%
       Healthcare/Medicaid                                                    Credit Cards
            /Medicare      Debt Collections                   Credit Repair       4%
               3%                7%                                2%




 There were no reports of the “family and friend emergency” scam that included the
 word “robocall,” and tech support scams were grouped in the “other” category as
 just five of these reports included this keyword. These two common and high-risk
 telephone scams thus appear to be infrequently perpetrated using robocall
 technology.

 However, we caveat this conclusion based on the fact that a high number of scams
 are initiated by telephone and not all consumers will highlight the fact that some
 form of autodialer may have been used to initiate contact.

 IRS Tax Collection Scam


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 Given that seniors are more vulnerable to the tax scam as compared to other
 demographics and tend to suffer greater financial losses, I would like to expand
 here on the information available to us on this scam type as gathered through BBB
 Scam Tracker reports.

 In 2016, approximately 27% of all scams reported to us by seniors and 16% of
 scams across all age groups were classified as tax collection scams. The police raid
 on a call center in Mumbai, India in October 2016 resulted in an immediate 95%
 drop in reports of tax collection scams to BBB Scam Tracker, a decrease that
 continued through December of 2016, as shown in Figure 4. By January of 2017,
 reports of the tax scam were on the rise again, but much more slowly than in 2016.
 The steep drop in reports in fall 2016 is suggestive of a correlation. Today, our
 volume of tax scam reports has risen but is approximately 30% of the volume seen
 at the peak in 2016. While our data cannot explain why reports have not risen to
 2016 highs, our ability to immediately detect these shifts shows the power and
 sensitivity of BBB Scam Tracker to take the pulse of the scam marketplace.

 Figure 4: Evolution of Reports of Tax Collection Scams from January 2015 to
 September 2017.




 As was set forth in Figure 3 above, we estimate that the IRS scam represents 20%
 of all robocall scams. While susceptibility levels are low, median losses are very
 high relative to other scam types. The median loss reported by seniors is more than
 $3,000. Payment is typically collected by directing victims to read the numbers
 from prepaid cards, often iTunes cards, or to wire funds. Scammers often provide
 specific instructions about retail locations to complete these transactions, and are
 known to direct consumers to move from one location to another to reduce the risk
 of intervention by agents of the wire transfer services.

 The statistical data we are able to derive from BBB Scam Tracker yield valuable
 insights. In addition, consumer narratives are highly instructive and help us to

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 understand the way scammers are working, how consumers are “falling for” the
 scam, and what educational approaches might be helpful. The following is an
 account reported to BBB Scam Tracker by a senior in Indiana who lost $10,000:

 “I received a phone call from a man claiming to be with IRS stating that I owed
 money. If I didn't pay they would send me to prison. He stated I would need to go
 to Walmart (4 different locations) to send money to them. I did wire money to them
 as requested. I figure that I sent approx. $10,000 total via wire transfer. I sent the
 money . . . I did this because I didn't want to go to prison. I thought they were
 honest people. I now know this was a scam.”

 BBB has found simple, unambiguous consumer fraud prevention messages to be
 the most effective. For years BBB had a simple message for consumers: the IRS
 will never call to demand immediate payment. However, in light of the fact that
 now that the IRS is using four private collection agencies (PCAs) to call consumers
 about outstanding debt, BBB has retooled our consumer fraud messaging to focus
 instead on pressure techniques and payment methods. We now emphasize that the
 IRS or its representatives will never ask you to pay over the telephone and that
 payments can be made in only one of two ways: Online at IRS.gov or by check or
 money order made out to the U.S. Treasury. We also make sure that consumers
 know that the IRS will never threaten them with arrest. 10

 Fraud prevention messages emphasizing that the IRS or its PCA representatives will
 never call you without first sending at least two letters are less helpful and may be
 problematic because individuals who receive these letters may also receive tax
 scam calls. Consumers who did not receive letters may assume that the letters
 simply got lost in the mail. We also know that scammers have learned to reference
 letters, even using the identifying codes for legitimate IRS notices, as we see in this
 recent report from a woman in New York who lost nearly $11,000:

 “‘Agent Teresa Moss’ and ‘Agent Richard Watson’ called me and told me I had a
 warrant for my arrest for tax evasion . . . . they were the IRS and had sent me
 letters (which I never received). They asked me if I lived at my address (I
 confirmed that they had the correct address), but I told them I was certain I never
 received these notices (they called them the ‘CP 200 notice,’ and the ‘CP 11A
 notice’) . . . . throughout the day they instructed which stores around my home I
 could visit to purchase $50 and $100 iTunes gift cards. I was then to immediately
 scratch off the sticker on the back and recite the serial code to them. I was to buy
 only a few at a time and not attract suspicion within the various stores . . . For
 eight hours I walked around and purchased these gift cards.”

 The threat of arrest is a common intimidation tactic and is characteristic of many of
 the IRS scam reports where consumers suffered a monetary loss. Therefore anti-
 fraud messaging that states that the IRS or PCAs acting on behalf of the IRS will
 never threaten you with arrest may also be useful and may help prevent consumers
 from getting rattled and panicking.

 10
   BBB runs scam alerts on the Scam Tracker website and also provides consumer tips on scams, including the IRS
 scam. See, e.g. BBB tips explaining the tax scam in the U.S. and Canada at https://www.bbb.org/taxscam/.

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 “Can you hear me?” Scam

 Beginning in early 2017, BBB began to receive large numbers of reports involving
 interactive robocalls where consumers are asked “Can you hear me?” or some
 variant apparently intended to solicit a “yes” response. A staggering one third of all
 published reports to BBB Scam Tracker this year to June 30th, 2017 can be
 classified as “Can you hear me?” calls. 11 As shown in Figure 3, 34% of all reports
 with keyword “robocall” are “Can you hear me?” calls. Often, these calls terminate
 immediately following a response. In other instances, the calls continue with
 additional recorded content and questions. Some are transferred to a live operator.
 The purported intent of these calls varies, and includes free vacations,
 sweepstakes, and government grants. Interestingly, only a tiny fraction of these
 reports (fewer than 1 in 1,000 reports) relate to tax collection. We believe the
 volume of reports is, at least in part, attributable to significant media coverage
 around this problem, but it also suggests a concerning trend toward more
 sophisticated uses of interactive robocall technology by con artists.

 The example of a report below shows an individual who reported a $199 dollar loss
 due to a Robocall scam scenario.

 “[T]hey call you saying that you have been approved for a loan. they are going to
 ask if you are able to hear them, say no...do not say yes. they more then [sic]
 likely have all your information already. they [sic] will go through all that with you.
 and then they tell you that they are not able to use your accounts due to fees, and
 say that they can western union the money to you as long as you pay the fees first.
 if [sic] you decided to cancel your decision, they will say that you now owe them
 $199 cancellation fees. and they will take it directly from your account”
 The example of a report below shows an individual who encountered a robocall
 scam scenario but did not incur a financial loss.
 “I received a call asking if I wanted to follow up on an inquiry for employment.
 Seeing as I've been applying for jobs, and honestly a bit desperate for one being a
 college student, I immediately fell into "interview mode" and said "yes" only for
 them to hang up. Nothing has actually happened yet, however with the sheer
 amount of scammers going around I felt like others should know about this method
 in case something does happen. I already had anxiety about answering the phone
 for numbers I'm not familiar with, and this is only making it much worse.”
 Of the nearly 10,000 published “Can you hear me?” reports, fewer than 20 involve
 a reported dollar loss, and those losses cannot be definitively connected to a “yes”
 response. We remain uncertain as to precisely what is the endgame of these scams.
 Cramming may be one possible outcome, but it is also possible that the “Can you
 hear me?” question is intended simply to confirm a live person has answered. The
 information we have on the volume and substance of these calls suggests an intent

 11
   “Can you hear me?” is not one of the 30 scam types used in BBB Scam Tracker. The vast majority of these
 reports are classified as “phishing” or “travel/vacations.” For purposes of Figure 3, we have reclassified reports as
 needed to create a “Can you hear me?” category.

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 to perpetrate a scam, but there are a large number where the caller simply
 disconnects, perhaps suggestive of a nasty, annoying prank.

 Conclusion

 In conclusion, we stand ready to assist this Special Committee, other congressional
 committees, the FTC, the IRS, the FBI, and any federal, state, or local agency with
 efforts to protect consumers from scams. As we have learned through our data
 collection and through our research, everyone is at risk. Everyone is vulnerable. We
 believe that government, media, consumer stakeholder groups, industry
 associations, and individual businesses both large and small, all have a role to play
 to fight back effectively against scams. BBB offers tools to help empower
 consumers to identify the common tactics and to learn to recognize the “red flags”
 that indicate a scam. We welcome the opportunity to share our data, our
 messaging, and our outreach capabilities to help put a halt to this immense
 problem.

 Thank you very much for inviting me to be here today, and I would welcome the
 opportunity to answer any questions you may have.




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 1    September 29, 2020 – Recording of JKQ’s call to Auto Renewal Center to cancel auto warranty
 2    purchased on September 4, 2020:
                                                                          DATE FILED: July 21, 2021 11:50 AM
 3    VSC: Good morning, Vehicle Service Center answering service. How can I help
                                                                     FILING       you?
                                                                              ID: C3D9F8F684EAD
                                                                          CASE NUMBER: 2021CV30074
4     JKQ: Uh…who am I speaking to?

5     VSC: Ahh…Vehicle Service Center answering service. How can I help you?

 6    JKQ: Um. My name’s Jane Keener-Quiat. I purchased a warranty…uh…September the 4th. I’m looking at
 7    my contract…studying that… and I…it…it…it appears that this contract is with CarGuard Administrator,
 8    but you’re saying Vehicle Service. I’m confused about that.

 9    VSC: There’s no incoherence with that ma’am. Vehicle Service is the name of this company. (inaudible)
10    But the company that provides the warranty…CarGuard…there are other names…there are other
11    companies such as Matco, CarGuard and (inaudible). But yeah, there’s no incoherence in that.

12    JKQ: Ok. Can you give me the phone number of CarGuard?

13    VSC: Well, ahh what exactly do you need? Because depending on what you need, I can ask them to call
14    you back.

15    JKQ: Well, I..I just think that if I have a contract with a company, I ought to be able to have their phone
16    number.

17    VSC: Ma’am, what exactly do you need?

18    JKQ: Well, right now, I just want to ask more questions and clarify some things. And also, this is an
19    expensive warranty, I…I think I ought to be able to…ah…know a lot about the company.

20    VSC: Ok, ma’am, let me explain you this because this is gonna be something you have to keep in mind.
21    You…you always have to go through us, the Vehicle Service Center, because (inaudible) we have an
22    alliance with CarGuard, so we are the link between them and you. So, umm…if you want to file a claim, if
23    you want to cancel the contract, if you want to make a payment, if you have questions, we ask to go
24    through us and we ask them to call you back. That’s the process.

25    JKQ: Ok well, so what if I want to cancel?

26    VSC: You have to do that through us as well.

27    JKQ: Ok. Well, let’s do so. Let’…let’s cancel this.

28    VSC: So, you no longer have the questions? You just…you want to cancel?

29    JKQ: Right, now…now I just want to question…I want to cancel. Thank you.

30    VSC: Ok. Can I have your first and last name again please?

31    JKQ: Jane. J-A-N-E. And the last name is K-E-E-N-E-R. And then it’s Quiat. Q-U-I-A-T. You have it as Jane
32    Keener-Quiat.

33    VSC: Thank you. And what’s your call back number?

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34    JKQ: My phone number? Is 970-309-9334. And I can give you the contract number.

35    VSC: Yes, please.

36    JKQ: Contract number…CGC24413034

37    VSC: Thank you very much, Jane. Ah…now…let me explain to you how the process for cancellation
38    works. Ah….You leave the cancellation request with me. I will submit it right now. It will take between 1-
39    2 business days to complete the cancellation. So that means that after the…ah…2 business days or 1
40    business day, they will call back to confirm the cancellation with you and to proceed with your refund if
41    that’s the case. Ok?

42    JKQ: Yes, so this is the day…ah the 29th, right? Of September that we’re doing this.

43    VSC: I’m sorry what’s the question

44    JKQ: So, we are cancelling this as of September 29th today.

45    VSC: Um…no. I mean, as soon as they will receive the message print out that I’m about to send and I
46    don’t know exactly what time they will cancel it, but after 1 or 2 business days they will call you back to
47    confirm the cancellation.

48    JKQ: Ok. Alright.

49    VSC: Ok?

50    JKQ: Yes.

51    VSC: Great, then I’ll send the message for now.

52    JKQ: And what is your name?

53    VSC: Ok. You have a nice day.

54    JKQ: What is your name?

55    (end of call)




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              ■ Complete items 1, 2, and 3.
              ■ Print your name and address on.the reverse
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           SENDER: COMPLETE THIS SECTION                                         COMPLE:TE THIS SE:CT/ON ON DELIVERY                  ,.

           ■ Complete items 1, 2, and 3.
           ■  Print your name and address on the reverse                                                                         D Agent
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                                                Violation Chart - Count I

   Call No.   Date of Call     Phone Number           No. of       Amount of     Total Damages per         Treble Damages
                                                    Violations Statutory Damages Violation for Each            per Call
                                                     per Call     per Violation         Call
     1         9/5/2020                                 2                  $500.00            $1,000.00        $3,000.00
     2         9/4/2020         949-538-5912            2                  $500.00            $1,000.00 DATE FILED:
                                                                                                               $3,000.00
                                                                                                                      July 21, 2021 11:50 AM
     3         9/4/2020         303-649-9978            2                  $500.00            $1,000.00 FILING ID:
                                                                                                               $3,000.00
                                                                                                                   C3D9F8F684EAD
     4         9/8/2020                                 2                  $500.00            $1,000.00 CASE NUMBER:
                                                                                                               $3,000.00 2021CV30074
     5         9/25/2020        303-353-0879            2                  $500.00            $1,000.00        $3,000.00
     6         9/28/2020        910-407-8590            2                  $500.00            $1,000.00        $3,000.00
     7        10/12/2020        719-295-5539            2                  $500.00            $1,000.00        $3,000.00
     8        10/22/2020        725-600-6129            2                  $500.00            $1,000.00        $3,000.00
     9        11/16/2020        970-557-2675            2                  $500.00            $1,000.00        $3,000.00
     10       11/25/2020        970-832-0388            2                  $500.00            $1,000.00        $3,000.00
     11        12/8/2020        475-212-4746            2                  $500.00            $1,000.00        $3,000.00
     12       12/16/2020        520-463-7091            2                  $500.00            $1,000.00        $3,000.00
     13        1/8/2021         585-479-3752            2                  $500.00            $1,000.00        $3,000.00
     14        1/8/2021         585-479-3752            2                  $500.00            $1,000.00        $3,000.00
     15        1/21/2021        719-364-0844            2                  $500.00            $1,000.00        $3,000.00
     16        1/28/2021        303-605-7518            2                  $500.00            $1,000.00        $3,000.00
     17        2/17/2021        303-446-0461            2                  $500.00            $1,000.00        $3,000.00
     18        2/25/2021        303-869-5768            2                  $500.00            $1,000.00        $3,000.00
     19        3/10/2021        914-529-8139            2                  $500.00            $1,000.00        $3,000.00
     20        4/2/2021         303-769-3056            2                  $500.00            $1,000.00        $3,000.00
     21        4/7/2021         303-344-3572            2                  $500.00            $1,000.00        $3,000.00
     22        4/12/2021        970-859-4670            2                  $500.00            $1,000.00        $3,000.00
     23        4/13/2021        478-394-8844            2                  $500.00            $1,000.00        $3,000.00
                              (call at 1:04 p.m.)
     24        4/13/2021        478-394-8844            2                  $500.00            $1,000.00            $3,000.00
                              (call at 1:45 p.m.)
      25      4/15/2021         884-273-9727              2                   $500.00           $1,000.00            $3,000.00
      26      4/29/2021         970-512-7284              2                   $500.00           $1,000.00            $3,000.00
      27      5/28/2021         970-718-3681              2                   $500.00           $1,000.00            $3,000.00
  TOTALS:                                                54                                    $27,000.00           $81,000.00
  COUNT I: Violations of the Telephone Consumer Protection Act, Restrictions on Use of Automated Telephone
  Equipment, 47 U.S.C. § 227(b)(1)(iii), specifically: (1) initiated the telephone call without prior express written consent
  using an automatic dialing system or (2) an artificial or prerecorded voice.
  a. Before COCCA/RICO treble damages and non-monetary relief;
  b. Before Civil Theft treble damages;
  c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
  d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including moratory interest.           EXHIBIT
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                                                                                                                       Violation Chart - Count II


Call    Date of Call    Phone No.        Failure to     AND       Failure to      OR        Failure to AND             Failure to      PLUS    Number Provided Did   Caller ID   Total    Total Monetary Total Monetary
No.                                      Transmit              Transmit Name             Transmit Name             Transmit Seller's            Not Permit Do-Not- Information Number       Amount of        Amount of
                                        Calling Party                 of                     of Seller             Customer Service            Call Requests During was Blocked of CID       Statutory    Treble Damages
                                             No.                Telemarketer                                              No.                    Regular Business              Violation Damages Per Call     Per Call
  1       9/5/2020                            X                        X                        X                           X                                            X         5         $2,500.00       $7,500.00
  2       9/4/2020     949-538-5912                                    X                        X                                                                        X         3         $1,500.00       $4,500.00
  3       9/4/2020     303-649-9978          X                         X                        X                          X                             X               X         6         $3,000.00       $9,000.00
  4       9/8/2020
  5      9/25/2020     303-353-0879          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
  6      9/28/2020     910-407-8590          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
  7     10/12/2020     719-295-5539          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
  8     10/22/2020     725-600-6129          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
  9     11/16/2020     970-557-2675          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 10     11/25/2020     970-832-0388          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 11      12/8/2020     475-212-4746          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 12     12/16/2020     520-463-7091          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 13       1/8/2021     585-479-3752                                    X                        X                                                                       X          3        $1,500.00       $4,500.00
 14       1/8/2021     585-479-3752                                    X                        X                                                                       X          3        $1,500.00       $4,500.00
 15      1/21/2021     719-364-0844          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 16      1/28/2021     303-605-7518          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 17      2/17/2021     303-446-0461          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 18      2/25/2021     303-869-5768          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 19      3/10/2021     914-529-8139                                    X                        X                                                                       X          3        $1,500.00       $4,500.00
 20       4/2/2021     303-769-3056          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 21       4/7/2021     303-344-3572          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
 22      4/12/2021     970-859-4670          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00


 23     4/13/2021      478-394-8844          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
                        (call at 1:04
                           p.m.)



 24     4/13/2021      478-394-8844          X                         X                        X                          X                            X               X          6        $3,000.00       $9,000.00
                        (call at 1:45
                           p.m.)
 25     4/15/2021      884-273-9727          X                         X                        X                          X                            X               X          6         $3,000.00      $9,000.00
 26     4/29/2021      970-512-7284          X                         X                        X                          X                            X               X          6         $3,000.00      $9,000.00
 27     5/28/2021      970-718-3681                                    X                        X                                                                       X          3        $1,500.00       $4,500.00
                                      TOTALS:                                                                                                                                     140       $70,000.00     $210,000.00
COUNT II: 47 C.F.R. 64.1601 (e)(1) and (2) provides the requirements of caller identification for those persons or entities engaged in telemarketing.
Each BLUE column above represents one (1) potential violation of the regulation.

a. Before COCCA/RICO treble damages and non-monetary relief;
b. Before Civil Theft treble damages;
c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including
moratory interest.




                                                                                                                                                                                                                           EXHIBIT A
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                                              Violation Chart - Count III

  Call No.   Date of Call    Phone Number           No. of       Amount of     Total Damages per        Treble Damages
                                                  Violations Statutory Damages Violation for Each           per Call
                                                   Per Call     per Violation         Call
    1         9/5/2020                                1                 $500.00              $500.00            $1,500.00
    2         9/4/2020        949-538-5912            1                 $500.00              $500.00            $1,500.00
    3         9/4/2020        303-649-9978            1                 $500.00              $500.00            $1,500.00
    4         9/8/2020                                1                 $500.00              $500.00            $1,500.00
    5        9/25/2020        303-353-0879            1                 $500.00              $500.00            $1,500.00
    6        9/28/2020        910-407-8590            1                 $500.00              $500.00            $1,500.00
    7        10/12/2020       719-295-5539            1                 $500.00              $500.00            $1,500.00
    8        10/22/2020       725-600-6129            1                 $500.00              $500.00            $1,500.00
    9        11/16/2020       970-557-2675            1                 $500.00              $500.00            $1,500.00
    10       11/25/2020       970-832-0388            1                 $500.00              $500.00            $1,500.00
    11       12/8/2020        475-212-4746            1                 $500.00              $500.00            $1,500.00
    12       12/16/2020       520-463-7091            1                 $500.00              $500.00            $1,500.00
    13        1/8/2021        585-479-3752            1                 $500.00              $500.00            $1,500.00
    14        1/8/2021        585-479-3752            1                 $500.00              $500.00            $1,500.00
    15       1/21/2021        719-364-0844            1                 $500.00              $500.00            $1,500.00
    16       1/28/2021        303-605-7518            1                 $500.00              $500.00            $1,500.00
    17       2/17/2021        303-446-0461            1                 $500.00              $500.00            $1,500.00
    18       2/25/2021        303-869-5768            1                 $500.00              $500.00            $1,500.00
    19       3/10/2021        914-529-8139            1                 $500.00              $500.00            $1,500.00
    20        4/2/2021        303-769-3056            1                 $500.00              $500.00            $1,500.00
    21        4/7/2021        303-344-3572            1                 $500.00              $500.00            $1,500.00
    22       4/12/2021        970-859-4670            1                 $500.00              $500.00            $1,500.00
    23       4/13/2021        478-394-8844            1
                            (call at 1:04 p.m.)                         $500.00              $500.00            $1,500.00
    24        4/13/2021       478-394-8844            1
                            (call at 1:45 p.m.)                            $500.00              $500.00          $1,500.00
     25        4/15/2021      884-273-9727               1                 $500.00              $500.00          $1,500.00
     26        4/29/2021      970-512-7284               1                 $500.00              $500.00          $1,500.00
     27        5/28/2021      970-718-3681               1                 $500.00              $500.00          $1,500.00
 TOTALS:                                                27                                   $13,500.00        $40,500.00
 Count III: Violations of the Telephone Consumer Protection Act, Protection of Subscriber Privacy Rights, 47 C.F.R. §
 64.1200(c)(2) and 47 U.S.C. § 227(c): Initiating a Call for Telemarketing Purposes to a Telephone number Listed on the
 National Do-Not-Call Registry
 a. Before COCCA/RICO treble damages and non-monetary relief;
 b. Before Civil Theft treble damages;
 c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
 d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including moratory interest.




                                                                                                                             EXHIBIT A
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                                                  Violation Chart - Count IV

      Call No.   Date of Call     Phone Number           No. of         Amount of          Total Damages per Treble Damages
                                                       Violations Statutory Damages Violation for Each                per Call
                                                        Per Call      per Violation                Call
          1          9/5/2020                               2                  $500.00               $1,000.00            $3,000.00
          2          9/4/2020       949-538-5912            2                  $500.00               $1,000.00            $3,000.00
          3          9/4/2020       303-649-9978            2                  $500.00               $1,000.00            $3,000.00
          4          9/8/2020                               2                  $500.00               $1,000.00            $3,000.00
          5          9/25/2020      303-353-0879            2                  $500.00               $1,000.00            $3,000.00
          6          9/28/2020      910-407-8590            2                  $500.00               $1,000.00            $3,000.00
          7         10/12/2020      719-295-5539            2                  $500.00               $1,000.00            $3,000.00
          8         10/22/2020      725-600-6129            2                  $500.00               $1,000.00            $3,000.00
          9         11/16/2020      970-557-2675            2                  $500.00               $1,000.00            $3,000.00
         10         11/25/2020      970-832-0388            2                  $500.00               $1,000.00            $3,000.00
         11          12/8/2020      475-212-4746            2                  $500.00               $1,000.00            $3,000.00
         12         12/16/2020      520-463-7091            2                  $500.00               $1,000.00            $3,000.00
         13          1/8/2021       585-479-3752            2                  $500.00               $1,000.00            $3,000.00
         14          1/8/2021       585-479-3752            2                  $500.00               $1,000.00            $3,000.00
         15          1/21/2021      719-364-0844            2                  $500.00               $1,000.00            $3,000.00
         16          1/28/2021      303-605-7518            2                  $500.00               $1,000.00            $3,000.00
         17          2/17/2021      303-446-0461            2                  $500.00               $1,000.00            $3,000.00
         18          2/25/2021      303-869-5768            2                  $500.00               $1,000.00            $3,000.00
         19          3/10/2021      914-529-8139            2                  $500.00               $1,000.00            $3,000.00
         20          4/2/2021       303-769-3056            2                  $500.00               $1,000.00            $3,000.00
         21          4/7/2021       303-344-3572            2                  $500.00               $1,000.00            $3,000.00
         22          4/12/2021      970-859-4670            2                  $500.00               $1,000.00            $3,000.00
         23          4/13/2021      478-394-8844            2
                                  (call at 1:04 p.m.)                          $500.00               $1,000.00            $3,000.00
         24          4/13/2021      478-394-8844            2
                                  (call at 1:45 p.m.)                          $500.00               $1,000.00            $3,000.00
         25          4/15/2021      884-273-9727            2                  $500.00               $1,000.00            $3,000.00
         26          4/29/2021      970-512-7284            2                  $500.00               $1,000.00            $3,000.00
         27          5/28/2021      970-718-3681            2                  $500.00               $1,000.00            $3,000.00
     TOTALS:                                               54                                       $27,000.00           $81,000.00
     Count IV: Violations of the Telephone Consumer Protection Act ("TCPA"), Protection of Subscriber Privacy Rights, 47
     U.S.C. § 227 (c) and 47 C.F.R. § 64.1200(d)(1) and (2): No person or entity shall inititate a telemarketing call unless they
     have instituted proceedures for maintaining a list of persons who do not want to received calls by or on behalf of the
     person or entity. The proceedures must meet certain minimum standards, specifically:
     (1) Telemarketers must have a written policy, available upon demand, for maintaining a do-not-call list.
     (2) Personnel engaged in any aspect of telemarketing must be informed and trained in the existence and use of the do-
     not-call list.
     a. Before COCCA/RICO treble damages and non-monetary relief;
     b. Before Civil Theft treble damages;
     c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
     d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including moratory interest.




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                                                             Violaton Chart - Count V


        Call No.     Date of Call       Phone Number             No. of         Amount of Statutory Total Damages per     Treble Damages per
                                                               Violations         Damages Per       Violation for Each            Call
                                                                Per Call            Violation              Call
            1         9/5/2020                                              3              $500.00            $1,500.00              $4,500.00
            2         9/4/2020          949-538-5912                        3              $500.00            $1,500.00              $4,500.00
            3         9/4/2020          303-649-9978                        3              $500.00            $1,500.00              $4,500.00
            4         9/8/2020                                              3              $500.00            $1,500.00              $4,500.00
            5         9/25/2020          303-353-0879                       3              $500.00            $1,500.00              $4,500.00
            6         9/28/2020          910-407-8590                       3              $500.00            $1,500.00              $4,500.00
            7        10/12/2020          719-295-5539                       3              $500.00            $1,500.00              $4,500.00
            8        10/22/2020          725-600-6129                       3              $500.00            $1,500.00              $4,500.00
            9        11/16/2020          970-557-2675                       3              $500.00            $1,500.00              $4,500.00
           10        11/25/2020          970-832-0388                       3              $500.00            $1,500.00              $4,500.00
           11         12/8/2020          475-212-4746                       3              $500.00            $1,500.00              $4,500.00
           12        12/16/2020          520-463-7091                       3              $500.00            $1,500.00              $4,500.00
           13         1/8/2021           585-479-3752                       3              $500.00            $1,500.00              $4,500.00
           14         1/8/2021           585-479-3752                       3              $500.00            $1,500.00              $4,500.00
           15         1/21/2021          719-364-0844                       3              $500.00            $1,500.00              $4,500.00
           16         1/28/2021          303-605-7518                       3              $500.00            $1,500.00              $4,500.00
           17         2/17/2021          303-446-0461                       3              $500.00            $1,500.00              $4,500.00
           18         2/25/2021          303-869-5768                       3              $500.00            $1,500.00              $4,500.00
           19         3/10/2021          914-529-8139                       3              $500.00            $1,500.00              $4,500.00
           20         4/2/2021           303-769-3056                       3              $500.00            $1,500.00              $4,500.00
           21         4/7/2021           303-344-3572                       3              $500.00            $1,500.00              $4,500.00
           22         4/12/2021          970-859-4670                       3              $500.00            $1,500.00              $4,500.00
           23         4/13/2021          478-394-8844
                                       (call at 1:04 p.m.)                  3              $500.00            $1,500.00              $4,500.00
           24         4/13/2021          478-394-8844
                                       (call at 1:45 p.m.)                    3              $500.00           $1,500.00               $4,500.00
            25          4/15/2021        884-273-9727                         3              $500.00           $1,500.00               $4,500.00
            26          4/29/2021        970-512-7284                         3              $500.00           $1,500.00               $4,500.00
            27          5/28/2021        970-718-3681                         3              $500.00           $1,500.00               $4,500.00
       TOTALS:                                                               81                              $40,500.00              $121,500.00
       Count V: Violations of the TCPA, Protection of Suscriber Privacy Rights, 47 U.S.C. § 227 (c)(1) and (2) and 47 C.F.R. § 64.1200 (b) All
       artificial or prerecoded voice telephone messages shall:
       47 C.F.R § 64.1200(b)(1): At the beginning of the message, state clearly the identity of the business, or individual, or other entity
       that is responsible for inititaling the call. If it is a business, they must provide the name under which the entity is registered to
       conduct business with the state.
       47 C.F.R § 64.1200(b)(2): State clearly the telephone number (other than that of the autodialer or prerecorded message player
       that placed the call) of such business, other entity, or individual.
       47 C.F.R § 64.1200(b)(3) In every case where the artificial or prerecorded vocie telephone message includes or introduces an
       advertisement or constitutes telemarketing it should provide an automated, interactive voice- and/or key press-activated opt-out
       mechanism for the called person to make a do-not-call request, including brief expanatory instructions on how to use such
       mechanism, within two (2) seconds of providing the identification required in (b)(1).

       a. Before COCCA/RICO treble damages and non-monetary relief;
       b. Before Civil Theft treble damages;
       c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
       d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including moratory interest.




                                                                                                                                                   EXHIBIT A
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                                                     Violation Chart - Count VI

    Call No.   Date of Call     Phone Number            No. of     Amount of Statutory       Total Damages per     Treble Damages
                                                      Violations Damage w/ Penalty (C.R.S. Violation for Each          per Call
                                                       Per Call 6-1-305(1)(c)) per Violation        Call

      1         9/5/2020                                  2                      $2,500.00            $2,500.00            $7,500.00
      2         9/4/2020         949-538-5912             2                      $2,500.00            $2,500.00            $7,500.00
      3         9/4/2020         303-649-9978             2                      $2,500.00            $2,500.00            $7,500.00
      4         9/8/2020                                  2                      $2,500.00            $2,500.00            $7,500.00
      5         9/25/2020        303-353-0879             2                      $2,500.00            $2,500.00            $7,500.00
      6         9/28/2020        910-407-8590             2                      $2,500.00            $2,500.00            $7,500.00
      7        10/12/2020        719-295-5539             2                      $2,500.00            $2,500.00            $7,500.00
      8        10/22/2020        725-600-6129             2                      $2,500.00            $2,500.00            $7,500.00
      9        11/16/2020        970-557-2675             2                      $2,500.00            $2,500.00            $7,500.00
      10       11/25/2020        970-832-0388             2                      $2,500.00            $2,500.00            $7,500.00
      11        12/8/2020        475-212-4746             2                      $2,500.00            $2,500.00            $7,500.00
      12       12/16/2020        520-463-7091             2                      $2,500.00            $2,500.00            $7,500.00
      13        1/8/2021         585-479-3752             2                      $2,500.00            $2,500.00            $7,500.00
      14        1/8/2021         585-479-3752             2                      $2,500.00            $2,500.00            $7,500.00
      15        1/21/2021        719-364-0844             2                      $2,500.00            $2,500.00            $7,500.00
      16        1/28/2021        303-605-7518             2                      $2,500.00            $2,500.00            $7,500.00
      17        2/17/2021        303-446-0461             2                      $2,500.00            $2,500.00            $7,500.00
      18        2/25/2021        303-869-5768             2                      $2,500.00            $2,500.00            $7,500.00
      19        3/10/2021        914-529-8139             2                      $2,500.00            $2,500.00            $7,500.00
      20        4/2/2021         303-769-3056             2                      $2,500.00            $2,500.00            $7,500.00
      21        4/7/2021         303-344-3572             2                      $2,500.00            $2,500.00            $7,500.00
      22        4/12/2021        970-859-4670             2                      $2,500.00            $2,500.00            $7,500.00
      23        4/13/2021        478-394-8844
                               (call at 1:04 p.m.)        2                      $2,500.00            $2,500.00            $7,500.00
      24        4/13/2021        478-394-8844
                               (call at 1:45 p.m.)          2                      $2,500.00          $2,500.00              $7,500.00
       25         4/15/2021      884-273-9727               2                      $2,500.00          $2,500.00              $7,500.00
       26         4/29/2021      970-512-7284               2                      $2,500.00          $2,500.00              $7,500.00
       27         5/28/2021      970-718-3681               2                      $2,500.00          $2,500.00              $7,500.00
   TOTALS:                                                  54                                       $67,500.00            $202,500.00
   Count VI: Violations of the CCPA, Prevention of Telemarketing Fraud, C.R.S. § 6-1-304 and C.R.S. § 6-1-305(1)(c), Unlawful
   Telemarketing Practices, specifically;
   (1) C.R.S. 6-1-304(1)(a): Conducts business as a commercial telephone seller without having registered with the attorney
   general;
   (2) C.R.S. 6-1-304(1)(h): Engages in any deceptive trade practice defined in section 6-1-105 or part 7 of this article.
   (3) C.R.S. 6-1-305(1)(c): A person who engages in any unlawful telemarketing practice as defined in section 6-1-304 (4) shall be
   liable in a private civil action to the owner of the cellular telephone for consequential damages, court costs, attorney fees, and
   a penalty in the amount of at lease three hundred dollars and not more than five hundred dollars for a first offense and at
   lease five hundred dollars and not more than one thousand dollars for a second or subsequent offense.

   a. Before COCCA/RICO treble damages and non-monetary relief;
   b. Before Civil Theft treble damages;
   c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
   d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including moratory interest.

                                                                                                                                         EXHIBIT A
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                                                      Violation Chart - Count VII

   Call No.       Date of Call         Phone Number             No. of      Amount of Statutory     Total Damages per      Treble Damages per
                                                              Violations      Damages per           Violation for Each             Call
                                                               Per Call         Violation                  Call
      1           9/5/2020                                         5               $500.00               $2,500.00               $7,500.00
      2           9/4/2020              949-538-5912               5               $500.00               $2,500.00               $7,500.00
      3           9/4/2020              303-649-9978               5               $500.00               $2,500.00               $7,500.00
      4           9/8/2020                                         5               $500.00               $2,500.00               $7,500.00
      5           9/25/2020             303-353-0879               5               $500.00               $2,500.00               $7,500.00
      6           9/28/2020             910-407-8590               5               $500.00               $2,500.00               $7,500.00
      7          10/12/2020             719-295-5539               5               $500.00               $2,500.00               $7,500.00
      8          10/22/2020             725-600-6129               5               $500.00               $2,500.00               $7,500.00
      9          11/16/2020             970-557-2675               5               $500.00               $2,500.00               $7,500.00
      10         11/25/2020             970-832-0388               5               $500.00               $2,500.00               $7,500.00
      11          12/8/2020             475-212-4746               5               $500.00               $2,500.00               $7,500.00
      12         12/16/2020             520-463-7091               5               $500.00               $2,500.00               $7,500.00
      13          1/8/2021              585-479-3752               5               $500.00               $2,500.00               $7,500.00
      14          1/8/2021              585-479-3752               5               $500.00               $2,500.00               $7,500.00
      15          1/21/2021             719-364-0844               5               $500.00               $2,500.00               $7,500.00
      16          1/28/2021             303-605-7518               5               $500.00               $2,500.00               $7,500.00
      17          2/17/2021             303-446-0461               5               $500.00               $2,500.00               $7,500.00
      18          2/25/2021             303-869-5768               5               $500.00               $2,500.00               $7,500.00
      19          3/10/2021             914-529-8139               5               $500.00               $2,500.00               $7,500.00
      20          4/2/2021              303-769-3056               5               $500.00               $2,500.00               $7,500.00
      21          4/7/2021              303-344-3572               5               $500.00               $2,500.00               $7,500.00
      22          4/12/2021             970-859-4670               5               $500.00               $2,500.00               $7,500.00
      23          4/13/2021             478-394-8844
                                      (call at 1:04 p.m.)          5               $500.00               $2,500.00               $7,500.00
      24          4/13/2021             478-394-8844
                                      (call at 1:45 p.m.)          5               $500.00                 $2,500.00              $7,500.00
       25           4/15/2021           884-273-9727               5               $500.00                 $2,500.00              $7,500.00
       26           4/29/2021           970-512-7284               5               $500.00                 $2,500.00              $7,500.00
       27           5/28/2021           970-718-3681               5               $500.00                 $2,500.00              $7,500.00
  TOTALS:                                                         135                                     $67,500.00             $202,500.00
  Count VII: Violations of Colorado Consumer Protection Act - Deceptive Trade Practices C.R.S. § 6-1-105:
  (1) C.R.S. § 6-1-105(1)(a): Either knowingly or recklessly passes off goods, services, or property as those of another;
  (2) C.R.S. § 6-1-105(1)(b): Either knowlingly or recklessly makes a false representation as to the source, sponsorship, approval, or
  certification of goods, services, or property;
  (3) C.R.S. § 6-1-105(1)(c): Either knowingly or recklessly makes a false representation as to its affiliation, connection, or association with
  or certification by another;
  (4) C.R.S. § 6-1-105(1)(d): Uses deceptive representations or designations of geographic origin in connection with goods or services;
  (5) C.R.S. § 6-1-105(1)(cc): Engages in any commercial telephone solicitation which constitutes an unlawful telemarketing practice as
  defined in C.R.S. § 6-1-304.


  a. Before COCCA/RICO treble damages and non-monetary relief;
  b. Before Civil Theft treble damages;
  c. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
  d. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including moratory interest.

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                                         Violation Totals

           Count               Total No. of    Total Damages Per Count Treble Damages Per Count
                              Violations Per
                                  Count
             I                      54                 $27,000.00                  $81,000.00
             II                    140                 $70,000.00                 $210,000.00
            III                     27                 $13,500.00                  $40,500.00
            IV                      54                 $27,000.00                  $81,000.00
            V                       81                 $40,500.00                 $121,500.00
            VI                      54                 $67,500.00                 $202,500.00
            VII                    135                 $67,500.00                 $202,500.00
  Subtotal Before COCCA            545                $313,000.00                 $939,000.00
     Treble Damages
   Subtotal With COCCA                                                           $2,817,000.00
     Treble Damages
    Total with Civil Theft                                                       $8,451,000.00
      Treble Damages


 a. Before pre-judgment attorneys fees, post-judgment attorneys fees, and all costs of collection;
 b. Before pre-judgment interest and post-judgment interest, as provided by Colorado law, including
 moratory interest.




                                                                                                      EXHIBIT A
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                                           Exhibit 16
                                       Screenshots FILING
                                                              DATE FILED: July 21, 2021 11:50 AM
                                                          ID: C3D9F8F684EAD
                                                   CASE NUMBER: 2021CV30074
 This is a compilation of screenshots of auto warranty robocalls received by Plaintiffs JKQ and
 ALQ on their cell phones between September 4, 2020 and May 28, 2021 as referenced in the
 Complaint, ¶¶ 68-91.
 1. Call #2, Complaint ¶ 68:




                                Redacted




 2. Call #3, Complaint ¶ 69:




           Redacted




           Redacted

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 3. Call #5, Complaint ¶ 71:




          Redacted




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 4. Call #6, Complaint ¶ 72:




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 5. Call #8, Complaint ¶ 74:




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 6. Call #11, Complaint ¶ 77:




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 7. Call #12, Complaint ¶ 78:




               Redacted




               Redacted




 8. Calls #13 and #14, Complaint ¶ 79:

    Call #13                    Call #14




          Redacted




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 9. Call #17, Complaint ¶ 82:




           Redacted




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 10. Call #19, Complaint ¶ 84:




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 11. Call #21, Complaint ¶ 86:




          Redacted




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 12. Call #22, Complaint ¶ 87:




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 13. Calls #23 and #24, Complaint ¶ 88:

    Call #23:




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    Call #24:




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 14. Call #25, Complaint ¶ 89:




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                                 Redacted




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 15. Call #26, Complaint ¶ 90:




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 16. Call #27, Complaint ¶ 91:




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